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 4   SELECT COMMITTEE TO INVESTIGATE THE

 5   JANUARY 6TH ATTACK ON THE U.S. CAPITOL,

 6   U.S. HOUSE OF REPRESENTATIVES,

 7   WASHINGTON, D.C.

 8

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11   DEPOSITION OF:    JOHN MCENTEE

12

13

14

15                                  Monday, March 28, 2022

16

17                                      Washington, D.C.

18

19

20          The deposition in the above matter was held via Webex, commencing at 10:02

21   a.m.

22          Present:   Representatives Schiff, Cheney, and Kinzinger.
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 1

 2   Appearances:

 3

 4   For the SELECT COMMITTEE TO INVESTIGATE

 5   THE JANUARY 6TH ATTACK ON THE U.S. CAPITOL:

 6

 7                           INVESTIGATIVE COUNSEL

 8                    INVESTIGATIVE COUNSEL

 9                          SENIOR INVESTIGATIVE COUNSEL

10                      PROFESSIONAL STAFF MEMBER

11                  SENIOR INVESTIGATIVE COUNSEL

12                  SENIOR INVESTIGATIVE COUNSEL

13                  INVESTIGATIVE COUNSEL

14                   RESEARCHER

15                   , CHIEF CLERK

16                        PROFESSIONAL STAFF MEMBER

17                     INVESTIGATIVE COUNSEL

18                        INVESTIGATIVE COUNSEL

19                      PROFESSIONAL STAFF MEMBER

20                  OF COUNSEL TO THE VICE CHAIR

21

22   For JOHN MCENTEE:

23

24   DAVID A. WARRINGTON

25   MICHAEL COLUMBO
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 1

 2                             This is a deposition of John McEntee conducted by the House

 3   Select Committee to Investigate the January 6th Attack on the United States Capitol

 4   pursuant to House Resolution 503.

 5          My name is                          I'm a senior investigative counsel here on the

 6   committee.

 7          With me in the room today i s - also senior investigative counsel,_

 8   -1111--state your name.

 9                            _ , also investigative counsel.

10                             And                is in the room.

11          And I see on the video present from the House select committee, Ms. Cheney.

12          Good morning.

13          Ms. Cheney.     Good morning.    Thank you.

14                                                                      And I believe that's it

15   from the House select committee.

16          Mr. McEntee, I'd ask you to state your name for the record.

17          And, counsel, if you can introduce yourselves.

18          The Witness.    John McEntee.

19          Mr. Warrington.     David Warrington, Mike Columbo, and Gary Lawkowski on

20   behalf of Mr. McEntee.

21                             During this interview -- I'd also identify                 who's

22   also counsel with the committee, is also present for this interview.

23          During the course of this interview, Mr. McEntee, other members of the select

24   committee may join, and we will do our best to recognize them at the time and to

25   announce it for the record.
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 1           At this time, I'd like to ask the court reporter to swear in the witness.

 2          The Reporter.       Do you solemnly declare and affirm under the penalty of perjury

 3   that the testimony you are about to give will be the truth, the whole truth, and nothing

 4   but the truth?

 5          The Witness.       Yes, I do.

 6                                Great.    Thank you.

 7           Before we begin, I just have a couple ground rules to go over.

 8          There is an official reporter, as you saw, transcribing the record of this deposition.

 9   You and your attorney will have an opportunity to review the transcript and suggest any

10   corrections before it's finalized.

11           As I mentioned, this is being videotaped and audio recorded, but I will note that

12   the court reporter's transcript is the official record of the proceeding.

13           Please wait until each question is completed before you begin your response and

14   we will try to wait until your response is complete before we ask our next question.      The

15   court reporter cannot record nonverbal responses.

16           I want to make sure that you understand you are appearing here pursuant to a

17   subpoena from the select committee dated January 25th, 2022, which is in the materials

18   and has been provided to your counsel and will be included as part of this record.

19           As you know, you're under oath, meaning that any knowingly false statement that

20   you make can constitute perjury, as well as a violation of 18 U.S.C. 1001.     So it is

21   important that you tell the truth at all times.

22           It's also important that you understand our questions, and if you don't understand

23   a question, please ask us to rephrase it.    And if you need to take a moment with your

24   attorney, please do so.

25           You can only refuse to answer a question to preserve a privilege recognized by the
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                                                                                                           5




 1   select committee.      If you refuse to answer a question based on a privilege, the staff may

 2   either proceed with the deposition or seek a ruling from the chair on the objection.            If

 3   the chair overrules such an objection, you are required to answer the question.

 4          Under the House deposition rules neither committee members nor staff may

 5   discuss the substance of testimony you provide today unless the committee approves the

 6   release of that information.

 7          Do you have any questions before we begin?

 8          The Witness.        No, I don't.

 9                                 Okay.       I'd like to also recognize that Representative Schiff has

10   joined us.

11          Good morning, sir.

12                                               EXAMINATION

13                  BY
14          Q     As I mentioned, you are here pursuant to a subpoena, which we have

15   marked as exhibit 1.       Do you have a copy of that subpoena, Mr. McEntee?

16          A     Yes, I do.

17          Q     And you understand that you're appearing here today pursuant to it,

18   correct?

19          A     Yes.

20          Q     Part of that subpoena requires you to produce documents and information,

21   including electronically stored information.         Did you understand that?

22          A     Yes, I did.

23          Q     Did you search for your records that are responsive to the subpoena

24   schedule?

25          A     Yes, I did.
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                                                                                                         6




 1          Q     And I understand you only produced one document.              Is that correct?

 2          A     Yes.

 3          Q     So did that search include your personal emails?

 4          A     Yes.

 5          Q     Did it include your personal cell phone as well?

 6          A     Yes.

 7          Q     And as a result of that search you produced one document?

 8          A     Yes.

 9          Q     And what was the time frame of the search that you conducted?

10          A     I believe it was the last 2 years.

11          Q     So have you produced to the select committee all the documents and

12   communications in your possession, custody, or control that are responsive to the

13   request of the subpoena?

14          A     Yes, I have.

15          Q     Other than your attorneys, have you spoken or coordinated with anyone

16   else with respect to the subpoena?

17          A     No, I haven't.

18          Q     Also marked is exhibit No. 2, which is a March 25th letter from Deputy

19   Counsel to the President Jonathan Su to your counsel informing him that President Biden

20   has determined that an assertion of executive privilege is not in the national interest with

21   respect to your testimony.

22          Have you seen that letter, Mr. McEntee?

23          A     Yes, I have.

24          Mr. Warrington.        Also, I would like to point out that that letter is pretty specific

25   as to the topics on which the government is not or which the White House is not asserting
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 1   executive privilege.   It's not a broad waiver of executive privilege.

 2                                 Understood.      I just read a portion of it.    But you're correct.

 3   The entire letter will be part of the record.

 4                  BY

 5          Q     Other than your attorneys, have you received any other guidance or

 6   instructions with respect to asserting executive privilege?

 7          A     No, I haven't.

 8          Q     And I asked you briefly about your personal email, but did you have a White

 9   House email account during your time with the Trump administration?

10          A     Yes.

11          Q     And has that been provided to the National Archives?

12          A     I believe so.

13          Q     Did you have an email account with the Trump campaign?

14          A     In 2016, yes.     Not for 2020.

15          Q     And I asked you about your personal email account.               What was your

16   personal email account?

17          A     I have a few.     I believe the one I had during that time period w a s -

18

19          Q     And did you use it for work at all?

20          A     Not that I'm aware of, but if I forwarded myself something to print at home,

21   you know, maybe something like that.

22          Q     Did you have a White House-issued cell phone?

23          A     Yes, I did.

24          Q     And did you use that for calls and text messages?

25          A     Yes, I did.
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 1           Q     And did you provide that phone when you departed?

 2           A     Yes.

 3           Q     Do you remember the phone number?

 4           A     Something -- it might have been xxx -- I don't know, I think it ended in xxxx ,

 5   xxxxxxxx , perhaps?

             Q     Did you use your personal phone for work?

             A     Only if the other phone was dead or -- you know, not frequently.

             Q     And what was that number?

 9           A

10           Q     Is that the only personal phone that you had that you may have used for

11   work?

12           A     Yes.   I have another phone now, but that was in the last few months.

13           Q     Did President Trump send or receive text messages at all to you?

14           A     No.    I mean, I think he could physically receive them on his phone, but he

15   never used text messages.

16           Q     Did you ever speak to the President over the phone?

17           A     Just in my life?   Yes.

18           Q     Oh, did you ever use -- call or receive -- did you ever receive calls from his

19   cell phone?

20           A     Yes.

21           Q     Do you remember what that number was?

22           A     No, I don't.

23           Q     And was that a White House-issued phone or a personal phone?           Do you

24   remember?

25           A     I believe it was White House issued.
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                                                                                                     9




 1           Q      Did you ever use any messaging applications, like Signal or Whatsapp, on any

 2   of those devices?

 3           A      My personal phone has Signal and Whatsapp.        I didn't use it frequently

 4   during that period.       I do use it now, though.

 5           Q      Did you use those applications for work --

 6           A      No.

 7           Q      -- on your personal phone?

 8           A      Not that I'm aware of.

 9           Q      And you didn't have it on your work phone?

10           A      No.

11           Q      Did you keep any handwritten notes during your time with the Trump

12   administration?

13           A      Yes.     Just, you know, personal things or, you know -- I have some things he

14   signed like, you know, commission of mine or a father -- a picture of my father and me,

15   stuff like that.

16           Q      You have those in your possession?

17           A      Yes.

18           Q      And have you collected and produced all relevant communications on those

19   personal accounts as well?

20           A      Yes.

21

22                                            EXAMINATION

23                      BY
24           Q      Yes.     You mentioned the personal cell phone ending in -         You still

25   have that phone?
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                                                                                                        10




 1                 A    Yes, I do.

 2                 Q    Okay.     And do you have any texts going back to the time period covered by

 3   the subpoena?

 4                 A    No, I don't.

 5                 Q    Okay.     Can you explain what happened?          Did you routinely delete those?

 6   Or how did they get deleted?

 7                 A    Yeah.     Ever since the feature's been available, I'm pretty sure I -- you have a

 8   setting on your phone where your texts delete after 30 days, and that's been my practice

 9   for years.

10                 Q    Okay.     So just follow up on that.      You have not deleted anything in

11   response to this subpoena?

12                 A    No, I haven't.

13             -                  Okay.

14                                      Okay.    Great.

15                 Mr. McEntee, we just want to start kind of from the beginning of your career here

16   in D.C.

17                 I understand that you graduated from the University of Connecticut.         What year

18   was that?

19                 The Witness.      2012.

20                                       2012?   Is that what you said?     Sorry.

21                 The Witness.      2012.

22                                      Okay.    Did he freeze?

23                                Yeah, sorry.   There seems to be a little disconnect here between

24   the audio and the video, but we'll keep going.

25                 The Witness.      Oh, okay.
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 1                      BY
 2           Q     2012.      And then did you move to D.C. immediately after graduation?        Or

 3   just walk us through your career up until the White House?

 4          A      No.       I moved home to California.     I was there a few years.   And then I

 5   moved to New York.         And when I was living in New York, I started with the Trump

 6   campaign.    Worked on the Trump campaign, obviously in New York, and then after

 7   President Trump won, moved down to D.C.

 8           Q     So that would have been the fall of 2016?

 9          A      I moved to New York January 2015, started working for the Trump campaign

10   in July of 2015.

11           Q     I'd like to say good morning to Mr. Kinzinger, who's joined us.

12           In July of 2015, what was your job with the Trump campaign, Mr. McEntee?

13          A      I started as a volunteer.

14           Q     And then what?

15          A     Then I believe I had the title of trip director, so it was coordinating travel --

16           Q     I think we're going to have to fix the audio on your side, Mr. McEntee.

17   There's a delay.

18          -                 Let's go off the record briefly.

19           [Discussion off the record.]

20                                 Great.

21                      BY
22           Q     So I think we ended you were the trip director, I believe, July 2015 you said.

23   At some point, did you become what's colloquially known as the body man for President

24   Trump?

25          A      Yeah, I sort of morphed into that role in June of 2016.
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                                                                                                   12




 1          Q     June of 2016?      Okay.

 2          A     Yeah.

 3          Q     So while on the campaign?

 4          A     Yes.

 5          Q     And what were some of your duties there in that role?

 6          A     Well, the President at that time still had a longtime assistant with him, so I

 7   was more like his backup.    But it would just consist of traveling with the candidate,

 8   making sure, you know, everything was in order at each event we went to, working with

 9   the advance team, you know, making sure they knew our arrival time, where we were

10   going, what the plan was, stuff like that.

11          Q     Was that longtime assistant Keith Schiller at that time?

12          A     Yes.

13          Q     Okay.     So you worked with him or under him?

14          A     I worked under him during the campaign in 2016, yep.

15          Q     Okay.     So then what happened once President Trump was elected in

16   November of 2016?       Did your role change?

17          A     No, it stayed the same, but I guess I was just doing more and more as Keith

18   was doing less and less, you know.

19          Q     So when you moved to the White House, what was the job come

20   January 2017?

21          A     It was the same.     It was the same until Keith left that summer and then I

22   took over full time.

23          Q     So Keith left summer of 2017?

24          A     Yes.

25          Q     And how long did you stay in that position?     What's the actual title of that
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 1   job, by the way?

 2           A       Personal aide.

 3           Q       Okay.    And how long were you the personal aide for?

 4           A       Until March of 2018.

 5           Q       What happened then?

 6           A       Then I resigned.

 7           Q       Okay.     Why?

 8           A       All I was told at the time was there was an investigation and they needed me

 9   to resign until they resolved it.    So I did that.

10           Q       Was that about your security clearance, Mr. McEntee?

11           A       Yes.

12           Q       And was that around the time that Mr. Kelly also left the administration?

13           A       No.     It was at the time when he was running the White House, but I think

14   he left a year later or something.

15           Q       Okay.    And was he the one who asked you to resign?

16           A       It was White House counsel, but it was, I think, under his direction.

17           Q       And it looks like you got rehired in February of 2020.    What did you do

18   between those 2 years?

19           A       So immediately after, I went to work for the reelection, but this was in 2018,

20   so there wasn't much of a reelection yet.       So I did that for a few months while living in

21   D.C.   And then I decided just to move home after it didn't seem like anything was really

22   going on yet.

23           So I moved home to California, did some lobbying work.           Not much.   And then I

24   actually got hired in January of 2020, but took over in the personnel role in February,

25   which you're referring to.
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                                                                                                  14




 1          Q     What did you come back in January as?

 2          A     Again, as the personal aide.

 3          Q     And at that time had the security clearance issue been resolved?

 4          A     Yes, it had.

 5          Q     What was going on in the White House at that time, January 2020?          Would

 6   that have been the first impeachment?

 7          A     Yes.

 8          Q     And now it's fair to say that -- how would you describe your relationship with

 9   the former President during this, I guess we've described, over 2016 until 2020 when you

10   come back?

11          A     We had a good relationship, but I would say we weren't necessarily close

12   during that time period.    It wasn't until I came back again that, you know, my role grew.

13   And I think that was because a lot of the people that had worked previously in 2016 that

14   he knew had moved on.       So it was like a familiar person back in the orbit kind of a thing.

15          Q     And how did it grow?

16          A     Just because I was doing two jobs, so I had to interact with him frequently.

17          Q     So that would be the personal aide job as well as the PPO job?

18          A     Yes.

19          Q     And because of that kind of dual hat, how often would you interact with the

20   President?

21          A     Every day.

22          Q     Where was your office located?

23          A     In the EEOB across the, you know, West Exec from the White House.

24          Q     As a personal aide, did you have a desk in the Oval?

25          A     When I first came back I had a desk in the outer Oval.      And then as I moved
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 1   on to doing more personnel stuff, they brought in another young aide to sort of fill that

 2   role.   And at that point then I just had a chair that I would sit in if I had to go over there,

 3   but no desk.

 4           Q      So in February 2020, can you just kind of describe how you came to be in the

 5   role of the assistant -- of the director of PPO?

 6           A      Yes.    So I was, as his aide, going through the schedule for the next day.

 7   We were talking about, you know, 10 a.m. this, 11 a.m. that.        And then I said, you know,

 8   you have your PPO meeting.        He's, like, what?   You know, personnel.     Those guys are

 9   coming over to meet with you.

10           And then he explained that we'd had so many problems in that department and

11   he had always heard that, you know, we weren't getting the right people in.         And

12   looking ahead, if he were to win an election and have a second term, he wants to do it

13   differently.

14           And then he asked, do you think you could ever do that role?        And I said, yeah, I

15   could do that role.     And he said, you know what?      Why don't you just do that.

16           So I think he had a few discussions with then the chief of staff, who was Mick

17   Mulvaney, and some others.        And there was some pushback, but within a week or so I

18   had that role.

19           Q      Who was leading it at the time?

20           A      Who was leading personnel?

21           Q      Yeah.

22           A      Sean Doocey.

23           Q      And what kind of problems was he having running that office?        Or what

24   was the dissatisfaction with him running it?

25           A      Yeah.    I mean, I think -- I think he was in a tough spot because you wouldn't
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 1   view him as like a Trump person.        And it wasn't really his fault.    But, you know, there

 2   were people working in the administration that didn't agree with the President's agenda.

 3   So as political appointees that doesn't really make sense.

 4             Q    So when not viewed as a Trump person, can you just explain that a little bit?

 5   Isn't it the role -- was he appointed by President Trump for that role back when he started

 6   in 2017?

 7             A    He was one of the deputies, and then when the person appointed to that

 8   role -- I think it was Destefano -- when he left, he sort of just moved up in the ranks.

 9   don't think the President or anyone had a problem with him, but they thought he was

10   getting pushed around a little bit, I think.

11             Q    Who do you get pushed around by in that job?

12             A    Just, you know, the entire D.C. network.

13             Q    Can you explain that?

14             A    Well, there's just so many positions.      There's a lot to do.    It's 4,000 people,

15   you know.      So you have Members on the Hill lobbying for their people, you have

16   campaign people lobbying for their people.         You know, it's a lot of incoming.      So you

17   have to be able to navigate that.      And then you have to be able to tell some people no.

18   So that's tough for them.

19             Q    Did you have experience navigating that before you took over the job?

20             A    No, I just -- I witnessed it, but I didn't -- I didn't have to do it myself.

21                                1111?
22         -                  When you talk about some of those disagreements, did that include

23   with regard to executive branch, agency positions, disagreements between agency head

24   or Cabinet-level officials and White House officials about appointments?

25             The Witness.    Oh, yeah.    For sure.
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                                                                                                    17




 1                   BY
 2           Q     So February 2020 you take this job over at, it sounds like, the personal

 3   request of the former President, right?

 4           A     Yes.

 5           Q     And up until that point you have worked in the campaign and you were a

 6   personal aide to the former President and now you're taking over a position

 7   where -- responsible for over 4,000 appointments.       Is that right?

 8           A     Yes.

 9           Q     How big was your staff?

10           A     It was somewhere between 25 and 35, depending on the time.

11           Q     And how many appointments were still open at that time when you took

12   over?

13           A     That's tough to say.    Depends if you include, like, board appointments.

14   Staffing positions, very few, you know.      Maybe we moved around a hundred, which

15   is -- that's just a guess, and that's out of 4,000.

16           Q     So, I mean, across the board, this is a pretty powerful office to lead, right,

17   Mr. McEntee?

18           A     Yes.

19           Q     And when the President had that initial conversation with you, what did you

20   believe your qualifications were to be able to run that office?

21           A     Well, I just knew all the different people in the Trump network, so -- and

22   then having witnessed it for so many years, you know, I knew sort of the President's view

23   on pretty much every issue, you know.

24           So where someone else coming new into the role would be, like, yeah, you sound

25   like you're a great fit for the Department of Treasury, you don't know even know, you
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 1   know, what the President's view of that is, you know, or what he sees that Department

 2   should be doing.

 3          Obviously, having known him for so many years, I had a pretty good

 4   understanding of that, so I thought, you know, I'll be able to navigate this network of

 5   people that we know over the years and then also make sure the people that agree with

 6   you are, you know, share your vision are in these roles.

 7          It was more looking ahead at a potential second term, of course, but we did do

 8   some work in that year, in the 2020 year.

 9          Q     How important was it to recruit people and then ultimately vet them that

10   shared Mr. Trump's vision?

11          Mr. Warrington.      Can I interrupt for a moment?

12                               Sure.

13          Mr. Warrington.      I'm not sure what this has to do with January 6th or

14   election-related matters.    I mean, some of the stuff is just general background, but I

15   think the further afield we get from that, we are outside the scope of what the

16   committee's asked him to be here for.

17                               Sure.   We are heading into some of the

18   decisionmaking-involved appointments at the DOD, so this is the background before we

19   get there.

20          Mr. Warrington.      During what time frame?

21                               This would be November 11th, the appointment of Secretary

22   Miller as well as Kash Patel, which then leads directly into January 6th.

23          So Mr. McEntee's role in this position kind of has impact over those jobs.    We're

24   getting there.

25          Mr. Warrington.      Well, I would suggest we move a little quicker --
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 1                               Sure.

 2          Mr. Warrington.      -- because I think a lot of this is just not pertinent.

 3                               Great.   What was my last question?        Do you know?   If the

 4   court reporter can read back my last question.

 5                   BY

 6          Q     Oh, I think it was how important was it, Mr. McEntee, how important was it

 7   to have people with a shared vision in these positions?

 8          A     Yeah.    Obviously, it's very important.     You have a short time period you're

 9   working with.     So in order to get the most done, you all kind of have to be in lockstep,

10   like any organization.

11          Q     Are you familiar with Josh Whitehouse?

12          A     Yes.

13          Q     Who was he?

14          A     He was a political appointee at DOD and DHS, but I knew him from the

15   Trump campaign.      In 2015, he worked in New Hampshire.

16          Q     Did you -- was he first on the White House liaison to DHS?

17          A     I believe he started there and then was moved to Defense, yeah.

18          Q     Did you have a role in moving him to be the White House liaison to the

19   Department of Defense?

20          A     Yes.

21          Q     Why did you make that move of Mr. Whitehouse?

22          A     Yeah, we thought he was good, but the person in that role, Dane, wanted

23   to -- liaison is a good job, but I think he wanted to, you know, have somewhat of a

24   promotion, so he was going like assistant secretary or deputy assistant secretary or

25   something.      Dane Hughes was the DOD liaison.
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 1           So when he was -- when he made that known to us that he wanted to leave, we

 2   thought Josh was the best replacement.

 3           Q     Was there any expectation of Mr. Whitehouse as the DOD liaison in terms of

 4   what was happening at the Department of Defense at that time and their leadership?

 5           A     Not at that time.   I think this was -- I mean, maybe you have the

 6   information, but I believe Whitehouse went over before what you're referring to in

 7   November.

 8           Q     Yes.

 9           A     Okay.

10           Q     I think it was --

11           A     At that time, no, he didn't.

12           Q     Were you aware of certain questions that were asked administration

13   employees to identify their loyalties to the former President?

14           A     I know what you're referring to, yes.

15           Q     A, quote, loyalty test?   Are you familiar with that?

16           A     Yes, I am.

17           Q     Can you describe it?

18           A     This is pretty standard practice, especially leading up to a second term,

19   which is like a review of each appointee.

20           I guess what you're referring to is because people were asking very specific

21   questions -- which policies do you like of the President, stuff like that -- so they viewed it

22   a little threatening.

23           But it seems like previous administrations had done very similar things.      And

24   mostly conducting those, it gives you a better idea of just moving people around.

25           A lot of people are, you know, I've been at this department for 3 years, I've always
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 1   wanted to move here, you know, like that sort of -- it gets you really valid information

 2   that you can work off of when you're trying to place people in what would be a fresh

 3   term.

 4           Q    Who came up with the list of questions?

 5           A    The entire team, that was a collaborative effort, the personnel team.

 6           Q    You described some of them?        Can you describe more of what these

 7   questions were?     Was it policy oriented or priorities of the administration?

 8           A    I don't remember specifically.     I do remember one was, what's your

 9   favorite policy President Trump has pushed, something like that.

10           Q    And you said other administrations had done things similar?

11           A    Maybe not that specific question, but they'd all conducted mass interviews

12   with appointees and especially in between a fresh term.

13           Q    So before we get into some of the firings and appointments, could you just

14   describe generally how a firing process occurs and what the role of PPO is?       Are you

15   submitting people you think should be let go?       Is it coming from the White House?         Is it

16   collaborative?    Just describe how that works.

17           A    Yeah, it's definitely collaborative.   I mean, usually if there's a problem with

18   someone you'll speak to them or you'll have their immediate supervisor, like their

19   immediate boss speak to them.       And then it usually goes away.    If it doesn't, then it

20   gets escalated to an agency head who will have to speak to them.

21           If they're still pushing back, they're usually asked to resign, which most would just

22   resign, which I'm familiar with because I had to resign.    And then if for some reason they

23   refused to resign, then they're sent a termination letter, and that comes from my office.

24           Q    But you're involved throughout that entire process, is that right, Mr.

25   McEntee?
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 1            A       Not in the actual -- not in a lot of the actual interactions with the person.        If

 2   there was an issue, we would let the agency head know or, you know, their immediate,

 3   you know, superior know and let them kind of work it out, but --

 4            Q       Okay.    I want to shift gears and talk a little bit about the firing of Secretary

 5   Esper.       But just to kind of give the backdrop here, were you aware of the tensions

 6   between the former President and Secretary Esper?

 7            A       Yes.

 8            Q       And when did they begin?

 9            A       Spring/summerish of 2020.

10            Q       Is it fair to say they kind of rose around the summer 2020 protest response

11   after the death of George Floyd?

12            A       Yeah, that's fair to say.

13            Q       Were you aware of any of the discussions within the White House about

14   invoking the Insurrection Act?

15            A       I knew those discussions were being had, but I wasn't in any meetings where

16   they were discussed.

17            Q       Who was having those discussions?

18            A       I vaguely remember -- I guess it was -- I actually don't remember.

19            Q       Were you aware that there was considerable push back by leadership at

20   DOD, including Secretary Esper --

21            A       Yes.

22            Q       -- to invoke the Insurrection Act?

23            A       Yes.

24            Q       How did you become aware of that?

25            A       I think he gave a news conference about it or was asked a question at a press
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 1   conference.

 2           Q     Well, did you have any discussions with the former President about kind of

 3   the two diametrically opposed positions between the White House and DOD leadership

 4   about invoking the Insurrection Act during this time?

 5           A     I don't remember doing that, but I know that he was, you know, frustrated

 6   with him coming out publicly -- which is why I think it was a press conference -- and

 7   basically going against something that he had mentioned was on the table and basically

 8   taking it off the table, which his standard, like, negotiating for him would be everything's

 9   always on the table, you know, you're not the person to say what's on and off the table.

10   So I think he was kind of frustrated with that.

11           Q     Meaning, the President thought the Insurrection Act should still be on the

12   table and not just be dismissed by DOD.     Is that what you're saying?

13           A     I don't know specifically about the Insurrection Act, but I do know generally

14   that's how he views it, yes.

15           Q     Are you familiar with the events of June 1st at Lafayette Square when the

16   President walked to the church with General Milley, Secretary Esper, Attorney General

17   Barr, Chad Wolf?

18           A     Yes.

19           Mr. Warrington.    Can you lay the predicate for me as to how that's relevant to

20   the topics of the subpoena and the scope of the House resolution?

21                              Sure.   This goes to the firing of Secretary Esper on

22   November 11th, which goes to the aspect of the inquiry regarding the stability of the

23   government during the Trump administration and decisions that were made during that

24   time.

25           Mr. Warrington.    Well, according to this letter from the White House, I don't see
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 1   that they've -- to the extent that there were conversations that the President or other

 2   staff members had in the executive branch relating to activities in the summer of 2020.

 3            Number one, I don't see how it's pertinent to the issues contained in the House

 4   resolution and the topics of the subpoena.        But, more importantly, it does not appear to

 5   be something that the White House has said that they're waiving executive privilege on.

 6                               Yeah.    Are you invoking the privilege about the question?

 7            Mr. Warrington.    I don't think it's our position to invoke our position of

 8   privilege -- our position to invoke privilege.     But the fact that the White House hasn't

 9   waived it, I think, you know, this is a topic of conversation that there should be

10   government counsel here for.

11                               Well, I believe it goes through the broad topic -- this would fall

12   under obstruct the transfer of power.

13            In any event, we can move on.        If there is a question where you assert the

14   privilege, we can go back to this.    But I think we're getting into the firing of Secretary

15   Esper.

16            Mr. Warrington.    Well, why don't we just get there.




                     B-
17                               Okay.    Great.

18

19            Q    So I think I just asked about the June 1st.     And, Mr. Warrington, so you're

20   aware, the June 1st appearance of Secretary Esper led to an apology by General Milley for

21   his appearance there, as well as an internal apology by Secretary Esper within DOD, which

22   Mr. McEntee can answer I believe had a direct impact on increasing the tension between

23   President Trump and Secretary Esper.

24            Is that fair to say, Mr. McEntee?

25            A    Yeah, that's fair to say.
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 1          Q     And I'm going to direct you now to exhibit 3.

 2          Do you have that in front of you or can we put it up on the screen?      Are you

 3   familiar with that document?

 4          A     Yes.

 5          Q     Who drafted this?

 6          A     This was drafted in the personnel office.

 7          Q     Did you personally draft it?

 8          A     I didn't personally draft it, but I worked on it with others.

 9          Q     And do you know when this was drafted?

10          A     I don't.   Some time in 2020, but I don't remember specifically.

11          Q     If we could just go through some of these reasons, as far as -- it appears to

12   be a list of reasons as to why Mr. Esper should be -- Dr. Esper should be fired, correct?

13          A     Yes.

14          Q     So the first one is, "Consistently breaks from POTUS' direction, has failed to

15   see through his priorities."   Just generally -- do you know what that -- what were the

16   priorities that Dr. Esper was not following through on?

17          A     I think most had to do with troop movement, like, withdraws from certain

18   countries.

19          Q     Which countries?

20          A     Germany, and then obviously Afghanistan.

21          Q     And was that something that had been -- you had conveyed as a priority to

22   Secretary Esper?

23          A     He was aware it was one of the President's priorities, yeah.

24          Q     Bullet point 4 there is, "Publicly opposed the President's direction to utilize

25   American forces to put down riots just outside the White House in the Nation's capital,
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 1   limiting the President's decision space."    And the footnote there is, "Esper opposes the

 2   Insurrection Act."

 3          That's just -- that's the events that we just described in the summer, correct?

 4          A     Correct.

 5          Q     "Issued a policy that bars the display of the Confederate flag on military

 6   installation, after the President supported such displays as freedom of speech."      And

 7   there's a number of other issues here.

 8          Now, I'm just wondering, when this is drafted, obviously it's drafted after the

 9   summer events, was there a discussion that you were involved that conveyed the

10   frustration the White House was having with Secretary Esper?

11          A     Was there -- sorry.     What's the question?

12          Q     Was there a conversation with the Secretary about these frustrations that

13   are laid out here in this memo?

14          A     Not by me, no.

15          Q     Who would've had that conversation?

16          A     I knew many -- I know this conversation happened many times on all of

17   these different issues, but I wasn't -- I wasn't in any of those meetings.   I just know it's

18   been discussed.

19          Q     So if a memo comes out of your office such as this, what's the purpose of it,

20   who would ask for it, and where does it go?

21          A     This was -- this was probably something we drafted for the chief of staff, I

22   would imagine.

23          Q     At his request?

24          A     No.     It didn't have to be.   Sometimes things were requested or sometimes

25   people wanted to be proactive.
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 1             Q    While you're drafting this, was there a consideration of who the replacement

 2   would be?

 3             A    While we were drafting this?     Not that I'm aware of, no.

 4             Q    When did the name Chris Miller come into play in terms of a replacement for

 5   Secretary Esper?

 6             A    Very close to the time Esper was asked to resign it was -- Chris Miller had

 7   just been confirmed by the Senate for the counterterrorism role, so it seemed like he was

 8   one of the few people with Senate confirmation that was capable of doing the job.

 9             Q    Did you have any discussions with him about taking over the position of the

10   Secretary of Defense during the time period between August through November or

11   September?

12             A    Between August and September, no, I don't recall ever doing that.

13             Q    So you're saying it was closer to -- let me just understand what you're saying.

14             You're saying Chris Miller's name was floated closer to the actual firing --

15             A    Yes.

16             Q    -- of Secretary Esper?   And understand that was November --

17             A    Sometime in November.

18             Q    -- November 11th.

19             A    Uh-huh.

20             Q    You may be aware Secretary Miller -- Acting Secretary Miller did speak to the

21   committee, and when asked when the discussions started about him potentially taking

22   over the Secretary of Defense position he responded, quote, "And as you said, it was the

23   worst kept secret about some of the tensions between former [sic] Trump and Secretary

24   Esper."

25             "Could you give a time estimate as" -- question:    "Could you give a time estimate
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 1   as to when it was brought to your attention, whether it's through John McEntee or

 2   somebody else that you were being considered?"

 3           Answer:    "You know, how -- we all know how Washington, D.C., is with a lot of

 4   gossip and the rumors going around.      So it was the summer, probably August through

 5   September, it became pretty clear.     That was -- but I don't recall exactly when I realized

 6   that I was in consideration, but it was in that summer that the conversation became more

 7   developed."

 8           Does that sound accurate that there were summer conversations between you

 9   and Acting Secretary Miller?

10           A     I don't remember having a conversation about him being the Secretary of

11   Defense that early on, but it's very possible.

12           Q     And did you also -- who -- how did the name come about?        Did you float

13   Chris Miller's name or did it come from the White House?

14           A     For the role of Defense Secretary?

15           Q     Correct.

16           A     Our office floated it.

17           Q     Why?

18           A     We had met with him when he was being nominated and we thought he

19   was -- thought he was excellent.

20           Q     Did you think he had the qualifications to be the Secretary of Defense?

21           A     We thought he had the qualifications to be the Acting Secretary of Defense,

22   yeah.

23           Q     What does that mean?

24           Mr. Warrington.     Again, I'm going to raise the issue here.

25           The Witness.     That was the role we were filling.
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 1           Mr. Warrington.       Hang on a second, John.

 2           I'm going to raise the issue here.     We're now talking about personnel decisions

 3   with regard to the Department of Defense.         Again, the White House letter does not

 4   waive executive privilege with regard to personnel discussions or personnel decisions at

 5   any other agency other than what it seems to me the Department of Justice.

 6           So getting into the details of asking why, what were the qualifications, how the

 7   process undertook the discussions around that, first of all, I still don't see the pertinence

 8   of that, the fact that he was made Acting Secretary of Defense.

 9           Once that's done, you can ask questions about that going forward, how that

10   impacted the post-election period.       It's the topic, the time frame covered in the

11   subpoena.       But, again, we're just getting into sort of a free for all of, what were your

12   personnel decisions at various agencies, why did you choose certain people, and there's

13   just no linkage other than a generic linkage that they were in the Trump administration

14   during that particular period of time post-election to January 6th.       And I don't think

15   that's sufficient.

16           You know, I think it's outside the scope of the subpoena.       I also think it's

17   problematic from the White House's perspective.

18                                I don't believe any of my questions have triggered any assertion

19   of privilege.    So the White House letter should not come into play.       I do understand

20   your concern about the scope of the inquiry.

21           Mr. Warrington.      You're asking about the decision making process about the

22   appointment of the Assistant Secretary or the Acting Secretary of Defense.

23                                I asked about Mr. McEntee's decisionmaking process, not about

24   the President's.

25           Mr. Warrington.      You asked -- he was the director of presidential personnel at
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 1   the time.     So that is exactly the type of question that I think goes into the consideration

 2   for the executive branch for personnel, and that doesn't appear to be covered by this

 3   White House letter.

 4          And I don't think it's necessary to get where you're going.      I mean, if you would

 5   ask questions about the topics in the subpoena, you know, I think we'd be fine, but this,

 6   you know --

 7                                 Understood.     We're moving forward.

 8          Mr. Warrington.        [Inaudible] we're so far in this.

 9                    BY
10          Q       Mr. McEntee, did you have any conversations with Chris Miller about the

11   Insurrection Act prior to him becoming the Secretary of Defense?

12          A       Not that I recall.

13          Q       Do you remember kind of calling him and asking about the import of it and

14   him explaining to you the history of the Insurrection Act and when it's used?

15          A       The way you say it, I do remember possibly having a conversation about

16   that, but vaguely remember.         I don't know if I asked him at the time when it was being

17   talked about or -- it sounds familiar the way you phrased it that he had -- maybe he called

18   me and explained something to me about it.          I don't remember.

19          Q       He said it was during the same time frame between August to September

20   that you were, quote, "information gathering" about -- to try and attempt to understand

21   the Insurrection Act.

22          Do you remember why you were having that conversation?

23          A       No, I don't.

24          Q       Did you have a similar conversation with Colonel Douglas Macgregor about

25   the Insurrection Act?
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 1           A     I had a few different discussions with Macgregor, so it's very possible.         But I

 2   don't remember specifically asking him about it.       But he could've mentioned it, yeah.

 3           Q     I'm going to go back to -- Secretary Esper's firing was November 9th of 2020.

 4   Can you just describe what your involvement was on that day?

 5           A     Yeah.     I just -- I told Chris Miller to come to the White House.      I believe it

 6   was that same day.      And I think he met with the President.     He told him, you know,

 7   good luck, you'll be great in this role, that kind of a thing.

 8           I think the President tweeted a statement about Esper being terminated.             And I

 9   just know we were deciding how we were going to get Chris over to the Department of

10   Defense.    And I forget who, but some staffer went with him over there.            And that's all I

11   remember.

12           Q     Mr. McEntee, just going back to exhibit 3, the Mark Esper memo there, it's

13   our understanding that was drafted October 19th.         And as I just mentioned, Secretary

14   Esper wasn't fired until November 9th.        Do you have any insight into why he wasn't -- he

15   was fired on that day?

16           A     No.     I think a lot of the big changes were going to happen in a potential

17   second term, so that's what everyone was waiting for.        At that time, I don't know where

18   we were at with the election, but it seems like it was pretty close to the election still, so --

19           Q     Well, actually, November 7th, Joe Biden was declared the President-elect

20   and this firing occurred 2 days after that.

21           A     Uh-huh.     Yeah.    So I think beforehand the reason it wasn't moved on was

22   because we were thinking more second term, you know, why would we need to do that

23   now.    And then if the time frame you're giving -- so I think the President and everyone

24   agreed that if he did somehow only have a short period of time to work with, you know, if

25   there wasn't going to be a second term, he should make a change sooner rather than
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 1   later to see if some of his priorities could get done before we left in January.

 2             Q    So was the expectation for Chris Miller to be a second term Secretary of

 3   Defense or to really carry out the administration for the last 70 days?

 4             A    Yeah, the latter.

 5             Q    What were those priorities, as you knew them to be, in those last 70 days of

 6   the administration?

 7             A    Yeah.     The only ones I knew for sure were the troop withdrawals from

 8   different countries.

 9             Q    Did you also discuss the appointment of Kash Patel as chief of staff with

10   Secretary -- with Mr. Miller?

11             A    Yes.

12             Q    And did you know Mr. Patel before?

13             A    I only knew him since the second run at the White House.       I didn't know

14   him before that.       But I knew him before his role as chief of staff, yeah, because he

15   worked at the NSC.

16             Q    And how familiar were you with him when he was at the NSC?

17             A    Pretty familiar, yeah.    We spoke pretty frequently.

18             Q    How would you describe his relationship with the President at that time,

19   before taking on the chief of staff role?

20             A    They had a good relationship.      I mean, he was in, you know, some of the

21   national security meetings and stuff.       So he knew him.    He knew who he was.

22             Q    Whose idea was it for Kash Patel to become Mr. Miller's chief of staff?

23             Mr. Warrington.     Again, we're getting into personnel decisions at the

24   Department of Defense.         I don't see how this connects to January 6th or any of these

25   topics.
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 1                               Mr. Warrington, it's been publicly reported that there were key

 2   appointments made during this time after President Joe Biden was declared the incoming

 3   President January 20th.     Kash Patel is one of these key appointments that has to do with

 4   obstructing the transfer of power, which is part of the House Resolution 503 mandate.

 5                    BY

 6          Q     Mr. McEntee?

 7          A     So what's the question?

 8          Q     Whose idea was it to recommend Kash Patel for the role of chief of staff?

 9          A     From what I remember, it was all three.      Kash wanted to do it, Chris

10   wanted it to happen, and our office thought it was a good idea.     So it was, like,

11   collaborative.

12          Q     But there were some other appointments that were considered for Kash

13   Patel after he took over as chief of staff.   Are you aware of the White House considering

14   him for the position of Deputy Director at the FBI?

15          A     I'm not aware of that actually being seriously considered, no.

16          Q     Whether it was serious or not, were you aware that it was discussed?

17          A     I don't remember that being discussed, no.

18          Q     A White House official told the committee that on more than one occasion

19   Mark Meadows spoke with administration officials about appointing Kash Patel to be the

20   Deputy Director, including yourself about that.

21          Were you familiar with any conversation with --

22          A     I'm familiar with a -- I'm familiar with conversations happening where he was

23   going to be potentially appointed as the deputy to a different agency.

24          Q     To the CIA?

25          A     Yes.
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                                                                                                34




 1          Q     And who did you have those conversations with?

 2          A     I believe that was Mark Meadows, yeah.

 3          Q     Just going back to the FBI Director position, Mr. Patel also spoke to the

 4   committee and said that he spoke to you about a potential appointment to be Deputy

 5   Director to the Bureau and to the CIA.

 6          So let's just take the Bureau position first.   You don't have any memory of having

 7   any conversation about that?

 8          A     I remember him talking about that was his dream job, but I don't remember

 9   it ever seriously being considered.

10          Q     The Bureau job or the CIA job?

11          A     The Bureau.    The CIA one was actually considered.

12          Q     The same White House official said that election fraud was one of the factors

13   that was evaluated in the consideration of Mr. Patel's appointment to --

14          Mr. Warrington.     Can you identify the official that made that statement, please?

15                              Not at this time, no.

16          Mr. Warrington.     Is that from the investigation or is that a press report?

17                              No, that's from the investigation.   The White House official

18   told the committee.

19                  BY

20          Q     Do you remember putting a priority of investigating election fraud claims as

21   one of Mr. Patel's priorities if he were appointed to either position?

22          A     No, I don't remember that.

23          Q     Whether it's foreign election interference at the CIA or any type of election

24   interference at the Bureau, were you involved in any of those discussions?

25          A     I don't remember ever hearing that, no.
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 1          Q     And just to get back to the CIA position.    You do remember having a

 2   conversation with Mark Meadows about that position, correct?

 3          A     Yes.

 4          Q     And you were aware that he called Ms. Haspel, who threatened to resign if

 5   that appointment would occur?

 6          A     That sounds familiar, yeah.

 7          Q     And did you have a conversation with Mr. Patel after that?

 8          A     Probably.

 9          Q     Well, were you aware -- did you provide reasons as to why that appointment

10   did not happen?

11          A     Oh, I see.   Yeah, if Meadows called or whoever -- were you saying

12   Meadows called Haspel?

13          Q     That's publicly reported, yeah.

14          A     Yeah.   Then I would have been the one to, yeah, let Kash know that it

15   wasn't happening, yeah.

16          Q     So your role there was kind of to take whatever guidance Mr. Meadows

17   provided you about following through on such an appointment.        Is that fair to say?

18          A     Yeah, that's fair to say.   Yeah.

19          Q     So Mr. Patel, again, spoke to the committee and he said that he spoke with

20   you after not receiving the FBI and CIA appointments and he recalled that you said in

21   passing that, quote, "The President just decided not to do it."

22          Do you remember having a conversation with the President about these

23   appointments?

24          A     I don't remember, no.       I think it was Meadows relaying that message to me,

25   from what I remember.
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 1          Q     And did you push back at all with Mr. Meadows in the sense of still believing

 2   that Mr. Patel was the -- should be considered for a potential appointment?

 3          A     At that particular time, I don't remember pushing back, no.

 4                                Okay.   I want to move on to another -- do you have anything?

 5                         I have a question.

 6                                Oh, yes, go ahead.

 7                  B~

 8          Q     Going back to the possibility of Kash Patel being appointed as Deputy

 9   Director of the FBI, do you know whether Attorney General Barr had a position on that?

10          A     I know Barr did not like Kash Patel, yeah.

11          Q     Okay.     And how do you know that?

12          A     That was -- that was -- I don't know if it was somebody in counsel's office or

13   that was just a known -- that was a known thing.

14          Q     And do you know what his reason was for not liking Kash Patel?

15          A     No.     I think he viewed him as being a little too aggressive, perhaps, but I

16   don't -- I was never given an actual reason, no.

17          Q     Okay.     In the book "Peril" by Bob Woodward and Robert Costa the authors

18   state that Attorney General Barr told Mr. Meadows that the appointment of Kash Patel as

19   Deputy Director of the FBI would happen, quote, "over my dead body.          Do you think

20   that son of a bitch is going over there and command respect from these guys?        They'll

21   eat him alive," end quote.

22          Do you know whether that's accurate?

23          A     I don't, but I know that sentiment is accurate.

24                                Okay.

25                  BY
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 1          Q     I wanted to go back to some other DOD appointments, Mr. McEntee, to

 2   understand your involvement in those.

 3          Ezra Cohen was prior -- was already at DOD and then received, I believe, a

 4   promotion at the same time Mr. Patel went over there.

 5          Are you familiar with Ezra Cohen?

 6          A     Yes.

 7          Q     Were you involved with that internal movement within DOD?

 8          A     Yes.

 9          Q     And why did that happen?

10          A     I don't remember if that was a vacancy he was filling or if we moved

11   somebody out from the position.       But he was -- it was around the same time when Chris

12   Miller went over there.    There were just different opportunities that happened, and we

13   moved some people around.

14          Q     What about Tony Tata?

15          A     Yeah.    Yeah, he was --

16          Q     What position did he take over?

17          A     I don't know if he was a senior adviser or if he was -- because I think he was

18   in an acting capacity as well.   And I know we wanted him to do something with policy

19   because he had interviewed for that position, but I don't know if he ended up doing that

20   in an acting capacity or not or was just an adviser.

21          Q     So these were the four -- oh, I'm sorry, I forgot to mention.   We talked a

22   little bit about Douglas Macgregor.     Can you describe how he took on a position within

23   DOD?

24          A     Yeah.    Like Tony, he was another one who came in to interview for a

25   position and everyone liked him, and so he was sort of in the back of our mind.
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1           I think he was -- at that time his nomination for an ambassadorship was still up

2    with the Senate.   So while that was -- I mean, the Senate wasn't doing any nominations

3    at that time.   So we asked Chris or the team over there if they wanted to use him or if

4    they could use him, and I think he was also put in, like, an advisory role.
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                                                                                                   39




 1

 2   [11:02 a.m.]

 3                               Did you discuss any of DOD's priorities with Colonel Douglas

 4   McGregor?

 5           The Witness.    Yes.

 6                               And what was the priorities you --

 7           The Witness.    It was the --

 8           Mr. Warrington.     Hang on a second.       Are you talking about priorities with

 9   regard to election fraud and election-related materials, or are you talking about general

10   fraud policy, defense-related issues?

11                               Within DOD, what the priorities were as to -- this goes into why

12   he was appointed into that position.

13           Mr. Warrington.     Well, if it has nothing to do with the election, then I fail to see

14   the pertinence of this policy decision, whether they were --

15                               Sure.   I mean, it --

16           [Cross-talk.]

17           Mr. Warrington.    -- support the development of missile systems, ships, you know,

18   some policy decision.     I just don't see how that connects to the election-related matters

19   here.

20                               Sure.   So I believe Mr. McEntee's answer would be that they

21   discussed that a shared priority that they had was getting troops out of Afghanistan and

22   Somalia, which then directly relates to the November 11th order that I believe Mr.

23   McEntee has a role in drafting.     And that has to do with, again, maintaining the power

24   within the government that is part of the mandate or obstructing the transfer of power.

25           [Cross-talk.]
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                                                                                                    40




 1            Mr. Warrington.   -- the policy positions of an administration with regard to

 2   defense policy ipso facto becomes part of obstruction of the peaceful transfer of power?

 3                              No.     That's not what I said.

 4            Mr. Warrington.   Well, that seems to be precisely what you said.

 5                              Well, I can explain it to you.

 6            Mr. Warrington.   If the issue was, does this individual support the development

 7   of a particular missile system, how does that connect to -- that might be the priority of

 8   the administration.   How does that connect the election-related issues that are the topic

 9   of this subpoena and within the mandate of the government's -- the House resolution?

10                              So, Mr. Warrington, the committee is aware that Colonel

11   Douglas McGregor was interviewed by Mr. McEntee for 30 minutes on November 9th.

12   On that same day, they discussed the priority of withdrawing troops from Afghanistan

13   and Somalia.

14            Later that day, a memo was drafted with exactly that purpose, to withdraw troops

15   from Afghanistan and Somalia.       That memo, from our understanding, was not vetted by

16   any anyone within DOD or within NSC and landed in the hands of General Milley on

17   November 11th.

18            Mr. Warrington.   Okay.     And what is the election-related connection?

19                              This is not an election-related question.

20            Mr. Warrington.   Okay.     Well, where is that connected to the interference with

21   the peaceful transfer of power?

22                              Well, an order from the White House that has not gone through

23   any particular type of process within DOD impacts the actual maintenance and transfer of

24   power.     Other witnesses have answered this question --

25            Mr. Warrington.   I don't really care what other witnesses have answered.       I'm
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 1   here representing Mr. McEntee.       And I don't care how you stretch it; I don't see how

 2   that connects to anything in this House resolution or anything in this subpoena.       So I

 3   don't think that's a proper topic, and I don't think he should answer that question.

 4           You can move on -- the fact that McGregor was appointed or not is a fact you can

 5   certainly ask about.   You can certainly ask about what he did after he was appointed

 6   that is connected to this.

 7           But if you want to ask questions about did Mr. McGregor support this policy or

 8   Mr. McGregor support that policy that's unconnected to any of this stuff, you're asking

 9   about an administration's political decisions that is not relevant to the subject matter of

10   this committee.

11                                These aren't questions about administration's political

12   considerations.   It's the actions Mr. McEntee took concerning the drafting of an

13   unvetted order to withdraw troops from Afghanistan and Somalia and Mr. McGregor's

14   role in that.

15           Mr. Warrington.      And, again, how does the withdrawal of troops, the support of

16   or the opposition to, connect to anything related to January 6th or interference with the

17   peaceful transition of power?

18                                Mr. Warrington, there's a number of press reports about orders

19   that were drafted during this crucial time period after it was clear President Trump was

20   not going to stay in power.     Vet and still, orders were drafted and did not go through a

21   normal process.    That --

22           Mr. Warrington.      Are you suggesting that immediately after President Biden was

23   declared the winner that the Trump administration had no power to act as the

24   Government of the United States?

25                                I'm not suggesting that, Mr. Warrington.
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 1            Mr. Warrington.    Okay.    So then the policy decisions by the then-in-power

 2   administration that has nothing to do with the election or obstructing the peaceful

 3   transfer of power, it's not just not germane to this topic -- or, germane to this hearing.

 4   And --

 5                              Well --

 6            Mr. Warrington.    -- I would suggest that you move on.

 7                              I'm not going to move on.        I would like to know Mr. McEntee's

 8   role in drafting the November 11th order.

 9            Mr. Warrington.    Again, please lay the predicate of how that is actually

10   connected to the topics of this subpoena or the House resolution.

11                              Mr. Warrington, if an order goes out that has not gone through

12   a normal process within DOD, it could impact the transfer of power.

13            Mr. Warrington.    How?

14                         We get to ask the questions, not answer them.

15                              I'm not going to go into that further with you.      I'm --

16            Mr. Warrington.    You're asking a question --

17                              I'm repeating myself.

18            Mr. Warrington.    Yeah, you're repeating yourself and saying the same thing

19   that's not satisfactory, because you cannot connect that memorandum, those decisions,

20   to anything to do with a top -- this is not an inquiry into, hey, the policy positions of the

21   guy that we don't like or the administration we don't like, that we replaced,

22   whatever -- it's not a general inquiry into those things.

23            We're happy to sit here and talk about the things that are germane to the subject

24   matter of this subpoena and the House resolution.         But I've given you quite a bit of

25   latitude in going far afield, you know, running down gossip and things like that, and I think
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 1   this is just a waste of time, and I think it's improper.

 2           So, unless you have some other -- you know, you have failed -- I've asked you

 3   three times.    You've failed to connect it.   I suggest you move on.

 4           And if we have to have this debate, you know, in another place, we can have it.

 5   can talk t o - ·          But I fail to see the pertinence of this entire line of questioning

 6   about this McGregor thing to the topics of this House resolution or this subpoena.

 7                         So you referenced me; I am here.       I just want to understand, are

 8   you instructing your client not to answer?      And if so, what's your basis for instructing

 9   him not to answer?

10           Mr. Warrington.     It's outside the scope of the subpoena, and it's outside the

11   scope of the House resolution.

12           I have asked three times for the pertinence of this topic to be connected to one of

13   those two things and have yet to receive a satisfactory answer, other than some

14   platitudes about, you know, if they issue a policy that's not perfectly done within the

15   administrative procedures, that that somehow impacts the peaceful transition of power.

16          -              Well, clearly --

17           Mr. Warrington.     And I think you would agree that that's sort of just some words

18   without meaning.

19          -              I would not agree to that.     And it's not up to you or the witness to

20   determine whether it's relevant to our investigation.

21           If necessary, we can seek a ruling from the chair.    So I just want to understand

22   before we do that, are you instructing your client not to answer?

23           Mr. Warrington.     Yes.

24

25                               So let me just be clear what the question is.
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 1          Mr. McEntee, what was your role in the drafting or discussion about the

 2   November 11th order to immediately withdraw troops from Afghanistan and Somalia?

 3          That is the question you're instructing your client not to answer?

 4          Mr. Warrington.       That's different than what you -- your previous question.

 5                                Okay.    Well, if he can answer that question.

 6          Mr. McEntee?

 7          The Witness.       Dave?

 8          Mr. Warrington.       I think you can answer if you drafted it.

 9          The Witness.       If I drafted a memo?    What was the question again?

10                                What was your role in drafting or discussing a November 11th

11   memo to withdraw troops from Afghanistan and Somalia?

12          The Witness.       Yeah, it was drafted in our office.   Yeah.    I mean --

13                                And describe how that happened.

14          Mr. Warrington.       Okay.    That's where I'm going to object.     It's not pertinent to

15   anything in the House resolution or in the subpoena.

16                                Did you provide it to DOD?

17          Mr. Warrington.       Again, these are communications between officials within the

18   executive branch which are not pertinent to the House resolution nor the subpoena.

19          And it's not a topic that has been waived by the White House Counsel with regard

20   to executive privilege.    So, at a minimum, I think you've got to get an, you know,

21   executive-branch lawyer in here if you're going to start asking these questions.

22                                Let me understand that objection.     So he's not -- you're

23   instructing him not to answer because why?         He can respond to the question of --

24          Mr. Warrington.       I am suggesting that, outside of my objection and instruction

25   not to answer, you're also going into questions about policy decisions and
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 1   communications between executive-branch members on matters that are not relevant to

 2   the topics either in the subpoena or in the House resolution and are not topics that were

 3   explicitly waived as far as executive privilege.    I think you ought to check with the White

 4   House about that.

 5                              We have checked with the White House about this.             This topic

 6   has been waived.

 7          Mr. Warrington.      Okay.    You've got the letter.     Can you point to me where it's

 8   waived and when?

 9                              I'm sorry, it's not explicitly in the letter.   As I stated, it would

10   have to do with the transfer of power, which -- that phrase is in the letter.

11          Mr. Warrington.      So -- well, if you read that letter, that's not in it.   This is talking

12   about widespread voter fraud and other efforts to alter the election results or obstruct

13   the transfer of power.

14          Whether to pull out of Afghanistan or not and how that was communicated

15   between executive-branch members still has no connection to any of those three topics.

16                              I think you're missing the key fact that Mr. McEntee drafted it

17   out of the Presidential Personnel Office and it did not go through any vetting of the actual

18   decisionmakers within DOD.

19          Mr. Warrington.      I'm not missing that.     I still fail to see how that's connected.

20                              Okay.     Let's just go through what your client is not answering

21   so we can then take it up with the chair, okay?

22          Mr. Warrington.      Well, I thought you already did that, but let's do it again.

23                              He is not answering was it delivered to DOD, correct?

24          Mr. Warrington.      Yes.

25                              What was Colonel Douglas McGregor's role in drafting this
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                                                                                                  46




 1   order?

 2            Mr. Warrington.   Well, that's a question you haven't asked, but I'll object to that

 3   too.

 4                              Based on?

 5            Mr. Warrington.   Same thing.      It's not pertinent.

 6                              Okay.      So, as the answer stands now, Mr. Warrington, Mr.

 7   McEntee alone drafted the order.

 8            Is that correct, Mr. McEntee?

 9            Mr. Warrington.   I believe he said his office did.

10                              Okay.      Who was in his office that drafted the order?

11            The Witness.   Yeah, it was -- it was myself and one of my assistants.

12                              Under -- is it typical for the Presidential Personnel Office to

13   draft orders concerning troop withdrawal?

14            The Witness.   Probably not typical, no.

15                              Was it a signed order?

16            The Witness.   Was it signed?

17                              Correct.

18            The Witness.   Yes.

19                              How was it signed?

20            Mr. Warrington.   Do you have a copy of the document?

21                              We don't, actually.

22            The Witness.   It was signed like a normal memo would be.       Like, I don't --

23                              Was it by auto-pen, or was it the President himself signing it?

24            The Witness.   It was the President.

25                              And who obtained that signature?
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 1           The Witness.    I did.

 2                              And then did it go to DOD?

 3           Mr. Warrington.     Again, now you're getting into --

 4                              Okay.    Let me ask this.    When you obtained the signature

 5   from the President, had you consulted with anyone within DOD or NSC about the order to

 6   withdraw?

 7           Mr. Warrington.     Again, this is regarding the decision making process.

 8                              Okay.    So, as the record stands now, Mr. Warrington, the head

 9   of the --

10           Mr. Warrington.     Well, the record is all jacked up because --

11                              -- Presidential Personnel Office drafted an order and went to

12   the President to sign off on withdrawing troops.       So it went from the PPO to the

13   President.   If that's how you want the record to stand, that's fine.

14           Mr. Warrington.     No, look, you're -- the record's all messed up because you're

15   asking questions that have nothing to do with the topic of this subpoena.      You're just on

16   some grand fishing expedition to talk about policy decisions that have nothing to do with

17   this January 6th committee.

18           So, to the extent the record's confused, that's the reason for it.   If you would

19   stick to what's pertinent here, you wouldn't hear a peep out of me.

20                               Does anyone want to ask any questions on this?

21           Mr. Warrington.     Actually, you know what?      I think we need to take a break.

22                              Okay.    Sounds good.

23           Mr. Warrington.     And we'll come back at 11:30.

24                              Great.

25           [Recess.]
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 1

 2   [11:36 a.m.]

 3                               Back on the record then.      Thank you.

 4                    BY

 5           Q      Mr. McEntee, I believe you said that the November 11th memo was drafted

 6   out of your office.

 7           A      Yes.

 8           Q      What happened next?

 9           A      Got the President to sign it, and then I emailed it to the Department of

10   Defense.

11           Q      Who did you email it to at Department of Defense?

12           A      Most likely Kash Patel.   But I couldn't say definitively.   I believe it was

13   Kash, who was the chief of staff.

14           Q      Did you discuss the language of the memo with Douglas McGregor?

15           A      Yes.

16           Q      And anyone else?

17           A      Just the assistant that helped me put it together.

18           Q      And was this a -- was this memo something that came out of your office, or

19   were you directed to do so?

20           A      No, it came out of our office.

21           I mean, the directives to McGregor that I handwrote were given by the President.

22   When he went over to the Department of Defense, he then called, let us know, hey,

23   they're not going to do anything we want, or the President wants, without a directive.

24   So we asked, okay, so what do you need?         He gives us the information, we type it up

25   exactly as he says it, get the President to sign it, send it over.
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 1          Q     Understood.

 2          So, on November 9th, when you first interviewed and met Colonel Douglas

 3   McGregor, is it fair to say you discussed this decision of withdrawing from Somalia and

 4   Afghanistan, correct?

 5          A     Yeah, I'm sure that was part of it.   Yeah.

 6          Q     And that was -- the position that he was taking over there was senior advisor

 7   to the Secretary of Defense.   Is that correct?

 8          A     Yes.

 9          Q     So, on that same day, just so I'm clear, he responded back to you that they,

10   meaning DOD leadership, was not going to take any of those steps without an order.

11          A     Without a directive, yeah.

12          Q     Did he indicate who he spoke to?

13          A     No, he didn't.

14          Q     And is that what occurred prior to you drafting this?

15          A     Yes.

16          Q     Did you speak to anybody at the White House about that?

17          A     Well, it had been talked about for months, about the President's priorities

18   and that they weren't moving on them.      But, at that particular moment, no.

19          Q     And just the timing of this, Mr. McEntee.     Why was it important at that

20   time, again, November 9th, after -- you're kind of in the last 70 days of the

21   administration -- to execute on this type of massive withdrawal?

22          A     Well, I think some of these were the President's priorities -- I mean, he

23   talked about them in 2015 and 2016, and they were some of his, you know,

24   early-in-the-administration agenda items that he wanted to see through.         So I think,

25   knowing that, you know, we may not have more than 70 days left, he wanted to try to
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 1   achieve some of them.

 2           But he had been -- they had been talked about, obviously, for many years, you

 3   know.      So I think when we appointed a new person to the position, they needed to be

 4   made known what the top priorities were.        So that's what we relayed.

 5           And then, when it was relayed back that no one's going to move on these

 6   priorities, then we sent over a memo.

 7           Q      And I think you said before we broke that it was not typical for the Personnel

 8   Policy Office to issue such a decision about withdrawing troops, correct?

 9           A      Yeah, that's correct.

10           Q      Did you have any discussion with DOD leadership about this other

11   than -- and I'm not saying Colonel Douglas McGregor was leadership, but did you have

12   any discussion with anyone other than Douglas McGregor about this?

13           A      About these priorities, yes, with Chris Miller and everyone.     About this

14   directive, this memo, no.     Sending it over would've been the --

15           Q      And when you sent it over to Kash Patel, did you discuss it with him?

16           A      No.

17           Q      Now, obviously, there was pushback to this.      At that time, did you become

18   aware that General Milley -- Secretary Miller came to the White House in response to

19   receiving this order that you sent to Kash Patel?

20           A      Yes.   I think -- I think, even going in, we knew that's what would happen.

21           Q      And, then, ultimately what occurred after they said, no, we're not going to

22   do this?

23           A      No, I think it was, like, a very direct memo, and, at least in our mind, it was a

24   good starting point and would get them all to come to the President and talk about what

25   they actually could do and work through things, instead of just blowing it off, you know.
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 1   So, in that sense, it did work.

 2           I mean, I don't know -- I wasn't in the meetings, but I think they might've achieved

 3   the Somalia withdrawal or -- you know, there was some -- something that came out of it.

 4   But I wasn't in those meetings.

 5           Q     So is it fair to say, Mr. McEntee, you knew that sending this order over

 6   outside the normal channels could trigger at least a conversation about the actual

 7   priorities of former President Trump with DOD?

 8          A      Yeah.

 9           Q     And, as you said, there was a withdrawal from Somalia at that time.            Did

10   you have any direct -- later that year, actually.

11           Did you have any direct conversations with Robert O'Brien about the impact of

12   this directive?

13          A      He called me shortly after, after I sent it to DOD.

14           Q     Did he express his frustration with --

15          A      No.       He made it, like, a lighthearted -- you know, like, a lighthearted

16   comment and that we're going to talk to the President about it and we're going to get it

17   done, you know, we're going to -- something like that.

18           Q     So let me just go back to you sending the memo, then.          Was that -- did you

19   believe at the time you sent it to Kash Patel that it ultimately could be acted upon?          Or

20   were you aware that this was never going to be acted upon?

21          A      No, I wasn't aware it would never be acted upon, but I assumed that this

22   would trigger them all coming to the White House to see the President.

23           Q     Got it.

24                                -       do you have anything you want to ask?

25                     BY-:
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                                                                                                     52




 1                Q    Did this memo go through any kind of Staff Secretary process?

 2                A    No.

 3                Q    Why not?

 4                A    At the time, I think that we were just -- the urgency of it.   You know, we

 5   had just sent them over to DOD, and we just wanted to do it as quickly as we could.

 6                Q    So did the President ultimately end up revoking the memo?

 7                A    I guess, technically, yes.

 8                Q    Was there any paperwork associated with that, or did he just orally do so?

 9                A    I was not in the meetings for that.     I don't know how that came about,

10   but --

11            -                  See if members have questions.

12                       BY

13                Q    Was the urgency because everyone knew that the administration was ending

14   in less than 70 days?

15                A    No.    I'm just referring to the new team starting there, you know, sort of

16   hitting the ground running.

17                Q    But weren't they hitting the ground running with a clear end of

18   January 20th?

19                A    Everyone knew that was a possibility, yeah.

20                Q    Did you see that as the end date?

21                A    I thought it was -- I thought it was likely.   Yeah.

22            -                  Why did you think it was likely?

23                The Witness.     At that time, I think Biden had already been declared, like you

24   mentioned earlier.          So, once that happened, you know, it didn't seem like there was a

25   mechanism in place where we would stay.
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 1                  BY

 2          Q     I want to go back to one followup question about Mr. Patel's potential

 3   appointment to the CIA.          Did you have any conversations -- I believe you mentioned you

 4   did have conversations with Mark Meadows about that, correct?

 5          A     Yes.

 6          Q     And can you describe those conversations, what the expectation was of Mr.

 7   Patel in that position?

 8          A     I don't remember many details.               Just talking about him in that role and how

 9   he could take it on.     It's not a Senate-confirmed position, so I explained that, and I think

10   we talked about a little bit of a push back.

11                                    Before I move on from this topic, are there any questions from

12   the members?

13           Mr. Kinzinger.     None here.          Thanks.

14           Ms. Cheney.       _ , I've just got one question.

15          -                         Sure.

16           Ms. Cheney.       Mr. McEntee, did you talk to Robert O'Brien before you

17   drafted -- or your office drafted the order?

18          The Witness.       I mean, I talked to him -- about that specific order?        Or about --

19           Ms. Cheney.       Yes.

20          The Witness.       -- what topic?         No.     No.

21           Ms. Cheney.       So, when you talked to him after, could you just describe that

22   conversation, please?

23          The Witness.       Yeah.          He made sort of a lighthearted comment, like -- I think he

24   addressed me as his, you know, National Security Advisor or, you know, something like

25   that, and then said, don't worry, we're going to meet with the President and we're going
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 1   to work it all out.

 2           Ms. Cheney.      And the "don't worry" was in what context?

 3           The Witness.      Like, we're going to -- we're going to get some of these priorities

 4   done.      That kind of context.

 5           Ms. Cheney.      All right.   Thanks.

 6                    BY

 7           Q      Mr. McEntee, are you familiar with Chris Krebs --

 8           A      Yes.

 9           Q      -- the former CISA Director?

10           Ultimately, he was fired on November 17th.         Were you aware of any

11   dissatisfaction with Mr. Krebs during the summertime?

12           A      During the summertime?         I don't recall anything during the summer, no.

13           Q      When did you first become aware that there was frustration with Mr. Krebs

14   by the White House?

15           A      When his office sent out a statement about the election.

16           Q      And that statement, are you referring to the November 12th statement?

17           A      Something about the "securest election in history."      I don't know the date.

18           Q      Before we get into that, though, was there any discussion within your office

19   or within the White House itself about the messaging by CISA of the security of mail-in

20   ballots?

21           A      The messaging -- is this post-election?

22           Q      This would be pre-election.      In the summertime, CISA put a number of

23   products and Mr. Krebs was in the public view a lot talking about the efforts they were

24   taking to make sure this was a secure election.

25           A      That sounds familiar, but I don't remember having a particular interest in
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                                                                                                  55




 1   that.

 2           Q     Were you aware of any efforts to fire Bryan Ware, the Assistant Director of

 3   CISA, during the summer?

 4           A     Sounds familiar, but I don't remember that.

 5           Q     Chris Krebs spoke to the committee and mentioned that there was a desire

 6   by PPO to fire Ware, to fire Bryan Ware, but he convinced people there to wait until at

 7   least the election occurred.

 8           Are you familiar with those conversations?

 9           A     No.     The name sounds familiar, though.     It could've come up in one of the

10   interviews or -- and, like most things, we were waiting till a potential second term to

11   move any people around.

12           Q     Did you at any point pose questions to Chris Krebs along those, kind of,

13   loyalty questions we talked earlier?

14           A     I did not, but, in the position he was in, he probably did an interview with

15   our office.

16           Q     Okay.     And was there a sense that there were certain CISA appointees,

17   Chris Krebs included, that were more aligned with Kirstjen Nielsen and not necessarily

18   placing President Trump's priorities?

19           A     Yeah, DHS in general had a lot of that.   But, pre-election, I don't remember

20   ever really knowing about Chris Krebs.

21           Q     I'm going to show you on the screen -- I believe it's exhibit 46.

22           Thanks,_

23           Have you seen this document before, Mr. McEntee?

24           A     It looks like something that would've come from our office.         Yeah.

25           Q     Okay.     It looks like --
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 1          A     But I don't remember this particular one.

 2          Q     It looks like, similar to the Esper memo, it's a number of -- there are some

 3   reasons there in terms of Chris Krebs' dismissal.

 4          A     Uh-huh.

 5          Q     Do you remember how this memo was generated by your office?

 6          A     No.    This would be similar to the Esper one.        The Esper one I remember

 7   looking at beforehand.    This one I don't remember.        I mean, I'm sure I've seen it, but I

 8   don't remember creating it or anything.       But it's definitely from our office.   I mean, this

 9   is the format we would use.

10          Q     The fourth-to-the-last bullet there says, "Wife posted a family photo on

11   Facebook with the Biden-Harris logo watermarked at the bottom."

12          Is that something that would cause concern within your office --

13          A     Yes.

14          Q     -- one of your -- why is that?

15          A     Well, I don't think the Biden administration would expect a Trump supporter

16   to be a political appointee of the President, so --

17          Q     Even if they're married to --

18          A     It seems odd, you know.

19          Q     "Permitted a Black Lives Matter town hall to take place in June."        Did that

20   cause concern to the PPO?

21          A     Yeah, that would probably cause concern.

22          Q     And why is that?

23          A     That doesn't seem like something that should be taking place at the

24   Department of Homeland Security.

25          Q     A Black Lives townhall matter?       Is that right?
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                                                                                                        57




 1          A     Yeah.

 2          Q     And the bullet point before that, "Has protected never-Trump appointees

 3   like Bryan Ware and pushes other appointees to the side."

 4          A     Okay.      What about that?

 5          Q     What -- and Bryan Ware is the person that I mentioned.            Does that refresh

 6   your recollection at all?

 7          A     No.     But the name is familiar.

 8          Q     And do you know -- do you have any idea of when this was drafted?

 9          A     I don't.

10          Q     And, just, we've talked a little bit about the process of the firing and how it

11   comes -- how PPO gets involved.      But now that we've seen two of these memos, is this

12   something that you direct your staff to do once somebody -- you become aware of

13   somebody who might not be loyal to the Trump administration?

14          A     This is something typical -- if there is some problem that's brought up

15   multiple times, we'll have whatever person at PPO who's in charge of this portfolio -- so

16   this would be, like, the national security portfolio.    We'll have to, like, look at something

17   and have it broken down to base our decision off of or to, you know, at least have in the

18   back of our mind when we're meeting about this particular person.             You know, it's not

19   enough, just the hearsay stuff.    So they'll draft things like this, yeah.

20          Q     And one other one on here:          "Employs Matt Masterson as the senior

21   advisor and lead on election security.     Masterson was the head of Oba ma's Election

22   Assistance Commission as an appointment then."

23          So that was a red flag also to PPO about Mr. Krebs?

24          A     Usually, being an appointee in a Democrat administration would -- we'd

25   have to look into it, yeah.
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                                                                                                  58




 1          Q     So what problems were you aware of regarding Mr. Krebs that prompted the

 2   drafting of this memo?

 3          A     I don't remember any.        I don't know the timeframe of this.   And this

 4   could've been closer to his firing, or this could've been while we were conducting the

 5   interviews, which would've been the summer.         But probably closer to the firing, I would

 6   imagine.

 7          Q     Okay.

 8          So you mentioned a statement that was put out, and I think we have that to show

 9   you.   That's November 12th of 2020, where CISA put out a joint statement from the

10   Election Infrastructure Government Coordinating Council and the Election Infrastructure

11   Sector Coordinating Executive Committee that stated, "The November 3rd election was

12   the most secure in American history."

13          A     Uh-huh.

14          Q     "There is no evidence that any voting system deleted or lost votes, changed

15   votes, or was in any way compromised."

16          So when did you become aware of this statement that was issued?

17          A     Once it was released.

18          Q     And what was your reaction?

19          A     I don't remember my particular reaction, but I know there were people

20   upset with it that worked in the White House.

21          Q     Who were those people?

22          A     Well, I know the President and Mark Meadows were talking about it for sure.

23   Others, but I don't recall exactly who.

24          Q     Did you have any discussions with the President or Mark Meadows about the

25   impact of this statement?
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 1          A       I don't remember doing that at the time, no.

 2          Q       Or was the dissatisfaction essentially because it said it was a secure election

 3   and President Trump had indeed lost the election?

 4          A       I think the dissatisfaction was more the timing.   This was still November,

 5   and they thought it was too early to put out a statement like that when it appeared things

 6   were still up in the air, or at least investigating the portion that he's saying was so secure.

 7          Q       Were you involved in the decision to fire Chris Krebs?

 8          A       The termination letter came from me, but it was collaborative.      I know

 9   Meadows, the President, and the Agency head were all made aware of it and discussed it

10   a few times.

11          Q       The Agency head would've been Chad Wolf at the time?

12          A       Yes.

13          Q       When you say they discussed it, did they discuss it before President Trump

14   tweeted the firing of Chris Krebs?

15          A       Yes.

16          Q       Was it conveyed to Chris Krebs prior to the President's tweet?

17          A       I think that he was being talked about was conveyed to him.      I don't know if

18   that he was actually going to be fired was ever conveyed to him.        I mean, it was

19   conveyed in the termination letter I sent, but that was simultaneous with the tweet.

20          Q       And what were the reasons for the firing?

21          A       From what I recall, he was not -- there was something asked of him by DHS.

22   I don't recall exactly what it was.   But, aside from this statement, it seemed that he was

23   sort of just on this -- I don't know what you'd call it -- you know,

24   trying-to-be-in-the-limelight kind of a thing, and it didn't seem like he was going to do his

25   job.
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 1          Q     Hadn't he already done his job by securing the integrity of the election?

 2          A     No, because at that time it was still uncertain whether there would be a

 3   second term or not.    Obviously, it was looking like not, but -- again, with somebody like

 4   Mark Esper, like this guy, if you had, like, what we would view as a bad actor or

 5   somebody, I think the idea was to just get them out, you know.      So that was what

 6   happened.

 7          Q     But I'm just trying to understand what you're saying, Mr. McEntee.       If it's

 8   obvious that there wasn't going to be a second term, as you just said, how does Mr. Krebs

 9   get painted as a bad actor?

10          A     Well, from that memo that you showed, I mean, there were a number of

11   things that he was not in line with -- or, aligned with.

12          But I wasn't part of a lot of those discussions.    I remember having one

13   conversation with Chad Wolf about this, and that's it.

14          Q     Was that conversation with Chad Wolf closer to the firing or before?

15          A     It was closer to the firing.

16          Q     And back when we kind of discussed the firing process, you discussed how

17   the frustrations would be voiced to an immediate supervisor or to an agency head.

18   Were those concerns about Mr. Krebs ever discussed with his immediate supervisor or

19   with Chad Wolf prior to his firing?

20          A     Yes.

21          Q     By whom?

22          A     I think our office sent that -- they would have sent that particular memo to

23   Chad, I'm sure.

24          Q     So these don't --

25          A     Or at least -- or at least the liaison there would've made that known.
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 1   don't know.     One of those --

 2            Q    These -- just so I'm clear, these memos that we saw about Secretary Esper

 3   and Chris Krebs, those are internal documents within PPO.         They're meant to kind of be

 4   made -- the subject person to be made aware of those reasons?

 5            A    No.     Their agency head would be.       If you say, "We have a concern with

 6   this person," they'll say, "What's the concern?"        Then somebody will relay those points

 7   to them.

 8            Q    So you're saying at some point these concerns were relayed to Chad Wolf

 9   about --

10            A    They most likely were, yeah.    Not by me, but I'm sure they were.

11            Q    Do you know who the liaison was to DHS at the time?

12            A    Well, at the beginning it was Josh Whitehouse, but when he moved to

13   Defense, I think one of his deputies took over, but I don't recall his name.

14            Q    And I think we have the November 17th letter where you terminate Chris

15   Krebs.

16            Can you show t h a t , ~     It's exhibit 8.

17            A    Yeah.

18            Q    So, just so I'm clear, there was a conversation with President Trump, Mr.

19   Meadows, and Chad Wolf.        Were you part of that conversation regarding the firing?

20            A    It was brought up several times, but yeah -- yes, I was part of that.    Yeah.

21            Q    Several times that day or several times prior to?      Because this letter that

22   you drafted is the same day he was fired by tweet.

23            A    Yeah, no, it was brought up a few different days.      Yeah.

24            Q    And then provided to Mr. Krebs on that day.

25            Did you know that the President was going to tweet his firing before you sent the
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 1   letter?

 2             A    Yes -- not before -- the same time, yeah.

 3             Q    So I'm going to turn it over t~momentarily, but we've just gone

 4   through a number of statements and some firings that all took place, again, during this

 5   time period from November 7th onwards.          And Joe Biden was declared the

 6   President-elect on November 7th, and every person we've discussed was either

 7   appointed after November 7th or, in the case of Mr. Esper or Mr. Krebs, was fired after

 8   November 7th.

 9             I'm just curious whether you had -- you were surprised by the timing of this

10   activity within PPO.    Meaning, you're dealing with new appointments, you're dealing

11   with firings; there's a tremendous amount of activity for a Personnel Office that should

12   effectively be packing up at that time.

13             A    No, I wasn't surprised by it.   No.

14             Q    Why is that?

15             A    We were always one of the more active offices, and -- I don't know.

16   Nothing seemed out of the ordinary.

17             Q    So it didn't seem out of the ordinary to put in a new Secretary of Defense at

18   that time period?

19             A    Actually, no.

20             Q    I asked Secretary Miller -- Acting Secretary Miller the same question.    And

21   the question, I'll read to you, was, "Were you surprised about the timing about your

22   appointment?", essentially.      And his response was, "He was a nontraditional President,

23   and it was somewhat unprecedented."

24             Do you agree with that characterization, that it was unprecedented?

25             A    Yeah, and I guess that would kind of solidify my point of not being surprised,
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 1   right?        A lot of things were kind of untraditional, so, you know, nothing seemed that out

 2   of the ordinary to me in terms of that administration.

 3                                        do you want to take over?    Then I'll come back to the

 4   last part.

 5            -                Sure.

 6                       BY
 7                Q    Are you familiar with somebody named Heidi Stirrup?

 8                A    Yes.

 9                Q    And what was her role in the Trump administration?

10                A    She served in a few different roles -- HHS and then maybe one other.     And

11   then she was the White House liaison at DOJ.

12                Q    Do you remember roughly when she was put in as White House liaison at

13   DOJ?

14                A    No, but it was definitely more towards -- I don't remember, but it was

15   definitely later in 2020, because we were moving a lot of the liaisons around.        You know,

16   White House went to Defense, Heidi went to DOJ.           And that was more around the time

17   of preparing for a second term.

18                Q    And do you recall why her predecessor at DOJ left?

19                A    No, I don't.

20                Q    Okay.    Do you know offhand whether the predecessor was fired?

21                A    They were not fired, no.

22                Q    Okay.

23                And why was Heidi Stirrup selected to be White House liaison at DOJ?

24                A    She had served in an acting capacity and she did a great job, and I think our

25   office just thought she would be good in that role.
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                                                                                                  64




 1          Q      Okay.      Was she eventually removed?

 2          A      I'm not aware of her being removed, no, from that role.

 3          Q      Did she resign prior to the transition to the Biden administration?

 4          A      I assume she resigned when we all resigned, but I don't know.

 5          Q      Okay.      Did you have any conversations with Heidi Stirrup about the Justice

 6   Department's investigation of election fraud?

 7          A      Not that I remember.

 8          Q      Okay.      Are you aware that Attorney General Barr had her -- no pun

 9   intended -- barred from the Justice Department building?

10          A      Yes.

11          Q      Okay.      What were the circumstances that led to that?

12          A      I heard that she was causing a ruckus and that he didn't want her around or

13   something.

14          Q      Do you know what the ruckus involved?

15          A      I don't.    But I remember thinking we had other things to do at the time, and

16   I don't remember giving any pushback to that.

17          Q      Okay.

18          So it's been publicly reported -- and I'm, here, referring to Jonathan Karl's book,

19   "Betrayal."   And this won't necessarily be an exact quote, but he wrote that Stirrup

20   berated a senior official at the Justice Department for not understanding that this

21   election is being stolen.    On another occasion, Stirrup met with Attorney General Barr

22   and told him the same thing.

23          Do you know whether that's accurate?

24          A      I don't know whether or not that's accurate.

25          Q      Okay.      Had you heard anything about that?
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                                                                                                    65




 1          A     I had just heard, like I said, that she was causing a ruckus.    So it could've fit

 2   that narrative, but I don't know the exact details.

 3          Q     Okay.

 4          Are you familiar with somebody named John Lott?

 5          A     Yes.

 6          Q     And who -- what was his role in the Trump administration?

 7          A     John Lott, I believe, is the author of, like, the gun crime statistics?

 8          Q     I believe that's correct.

 9          A     Yeah.      He was put in -- I don't know his exact role.   I think he was at DOJ,

10   maybe --

11          Q     Correct.

12          A     -- in statistics?   Yeah.

13          Q     And do you know roughly when that was?

14          A     Sometime in 2020.

15          Q     Okay.      And do you know why he was selected for that position?

16          A     No, I just -- I think a lot of the people in the Personnel Office thought he was

17   an impressive guy and good for that position.

18          Q     Do you know whether he had any role regarding challenges to the outcome

19   of the 2020 election?

20          A     Yeah, I remember hearing that he drafted something, some memo or

21   something, but I didn't read it.    But I remember hearing about that.

22          Q     Do you remember where you heard about that?

23          A     I don't.

24          Q     Okay.      Did you have any conversations with Mr. Lott about the 2020

25   election?
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                                                                                                          66




 1            A      No, I didn't, not that I -- not that I recall.    I don't know if I've ever spoken to

 2   him.

 3            Q      Okay.

 4            And who's Ken Klukowski?

 5            A      He was a lawyer in the administration.           I don't know if he was in the White

 6   House.       I know he moved around a couple times, from what I remember.               And he was

 7   in the EOB; I would see him.        So he might've worked in the White House.          And I think

 8   he was moved to an agency.          It might've been DOJ.        Since we're on the subject, it

 9   probably was.       But I don't remember his exact position.

10            Q      Okay.    So my understanding is that he worked at the Office of Management

11   and Budget --

12            A      Okay.

13            Q      -- that he took some leave and worked on the reelection campaign, and

14   then, after the election at some point, he was appointed to a political position at the

15   Department of Justice.        Does that sound correct?

16            A      That sounds correct, yeah.

17            Q      Did you have any conversations about Mr. Klukowski about challenges to the

18   2020 election?

19            A      I don't remember if I had any one-on-one specific conversation with him

20   about that.     But I remember him being around in a group of people and talking about

21   something about the election, you know, what we should be doing, shouldn't be doing.

22   Yeah.

23            Q      Do you recall if that's while he was working at the Department of Justice?

24            A      I don't know if it was 0MB or Justice.       I don't know where he was working

25   at the time.
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                                                                                                 67




 1          Q     Do you recall whether it was before or after the November 3, 2020,

 2   election?

 3          A     It was after.

 4          Q     Do you remember who else was in that conversation?

 5          A     No, I don't.

 6          Q     Was he selected for the Justice Department role for any reasons related to

 7   challenges to the 2020 election?

 8          A     Not that I'm aware of.

 9          Q     Okay.

10          Did you have any role in the selection of the Acting Attorney General to replace

11   Bill Barr when Bill Barr resigned?

12          A     No, I didn't.   I mean, the -- whatever you have to sign, you know, that

13   memo to make the person acting, probably went through our office.        But I wasn't in the

14   meeting or had any discussions about who would replace Barr or anything like that.

15          Q     So the Deputy Attorney General, Jeff Rosen, became the Acting Attorney

16   General --

17          A     Oh, in that instance, we probably didn't even have to do paperwork, because

18   by default that's the -- you know, the Deputy becomes the Acting, so -- yeah.     So, no.

19          Q     Do you recall any conversations about whether it should be Jeff Rosen or

20   somebody else?

21          A     I don't remember having any conversations about this, but I know there was

22   some lawyer who was --1 don't know.      There was somebody that people wanted, but it

23   wasn't a very serious candidate, and I don't think it was actually seriously considered,

24   but -- I don't know his name.

25          Q     Do you recall who the people were who wanted somebody else?
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                                                                                                    68




 1           A     Oh, just -- I just mean hearing from, like, the grassroots kind of movement, I

 2   remember hearing, "You need to put this person in," you know.          But anytime I heard it, I

 3   just sort of disregarded it.

 4           But I don't know if the guy was ever actually considered for the role.      He was one

 5   of the appointees.      He was a lawyer.

 6           Q     Was it Jeffrey Clark?

 7           A     Jeffrey Clark.   I think that was it, yeah.   Sounds right.

 8           Q     Okay.

 9           And I just want to clarify here, because at some point -- it's been publicly reported

10   that, at some point, the President considered replacing Jeff Rosen, who was already

11   Acting Attorney General, with Jeff Clark, who was an assistant attorney general.

12           A     Okay.     That sounds --

13           Q     Now, though, I'm asking about the initial selection of who would take Barr's

14   place when Barr resigned.

15           Do you know if Jeff Clark's name came up at that point or only in the later

16   circumstance?

17           A     No, I think -- I think his name did come up.     But I don't think it was ever

18   seriously considered.     But I think it did come up, yeah.    Not with me, but with the

19   people at DOJ.

20           Q     But you don't remember who raised his name?

21           A     No, I don't.

22           Q     Okay.

23           And then, later, as I said, the President considered appointing Jeffrey Clark as

24   Acting Attorney General to replace Jeff Rosen.       Were you involved in any of that?

25           A     This sounds familiar.      I might've been there when a discussion about this
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 1   was happening.         But I don't remember doing any formal thing regarding that, no.

 2          Q       Okay.     So we'll come back to that more later as we go through things a little

 3   bit more chronologically.

 4          So I'd like to talk to you -- actually, I'll pause to see if any members have any

 5   questions before I move on.

 6          Okay.

 7          So now I'll ask you some questions about the period immediately after the

 8   Presidential election, so November of 2020.

 9          In the first few days after the election, what were your understandings regarding

10   the possibility that the outcome of the election would be changed?        Meaning -- and I

11   know you've made some reference to this -- Joe Biden had been declared at least by the

12   media as the President-elect, but the President had not conceded.

13          A       Yeah.     What's the question?

14          Q       So the question is, what was your understanding of the possibility of the

15   outcome of the election being changed?

16          A       At that time, I didn't know anything about any mechanism for an election

17   being changed.

18          Q       Okay.     Were you involved in any discussions about how the outcome of the

19   election could be changed?

20          A       I saw some discussions happening, yes.      But I know there were different

21   sort of milestones over those next 3 months, and every time one was reached, it was sort

22   of, like, becoming less and less likely that anything would change.

23          You know, I think there was something in December where -- I don't remember

24   specifically, but there were two or three different things where, you know, every time

25   that thing happened, it looked like, okay, there was no -- there was no other circumstance
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 1   that was going to, you know, magically come about.

 2           Q     Did you know that just from the media, or were you involved in any

 3   discussions about trying to change the outcome of the election?

 4           A     No, I just -- I mean, I'm just -- just from doing my own research, I mean.

 5   Yeah.

 6           Q     Were you involved in the development of the strategy to challenge the 2020

 7   election outcome?

 8           A     No, I wasn't.

 9           Q     Okay.

10           Did you have any conversations with President Trump about election fraud claims

11   after election day?

12           A     Yes.    There were a lot of people bringing a ton of information.   He knew

13   that the Personnel Office had a whole research team that does vetting, and when people

14   brought him something, there were a handful of times where it was just so much that he

15   said, can you just see if this is valid or not, and we would look into it.

16           Q     By "this," meaning information regarding allegations of election fraud?

17           A     Whatever -- yeah -- whatever people were bringing him about the election,

18   claims of fraud or this or that.   You know, like, for an example, if Sidney Powell walked in

19   with a bunch of documents, you know, it's like, what are we supposed to do with this?

20   So I looked at them.     Most of them were bogus.

21           Q     Do you know why he asked you to look into them?

22           A    Just because I was there at the time, because I was next to him, and because

23   he knew we had a research team.

24           Q     Okay.    And when you said most of them were bogus, to the best of your

25   recollection, what were those allegations and why were they bogus?
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 1            A     Oh, I never actually read them myself, but I basically said, "If there's anything

 2   valid here, bring it to me," and I don't recall anyone ever doing that.

 3            Q     Okay.        Who did you have research these allegations?

 4            A     Just the young staffers that worked in the office there with me.

 5            Q     Do you remember their names?

 6            A     No, but you could -- you could easily get it.    It's the Personnel Office.

 7            Q     Okay.        So these were people who were deputies to you, or what level?       Or

 8   even lower-level than --

 9            A     Even lower, yeah.        Even lower.

10            Q     And did you send the request by email?

11            A     No.     I remember once or twice just being handed physical things and just

12   saying, "Can you look into the validity of this?"

13            Q     Okay.        And then did you give those physical things to somebody on your

14   staff?

15            A     Yes.

16            Q     Did you ever get them back?

17            A     No.

18            Q     Okay.        As far as you know, they would be at the Archives?

19            A     Yes.

20            Q     And you believe that at least some of these were materials from -- given by

21   Sidney Powell to the President?

22            A     I can't say definitively if it was her, but it could've been her or Jenna Ellis or

23   any one of these people that was around.          Yeah.

24            Q     All right.     And do you recall anything about what the substance was of the

25   allegations?
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 1            A    No.

 2            Q    And do you recall whether your staff came back to you and said that they did

 3   not find any merit or you simply never heard anything?

 4            A    I never heard that there was anything valid.      Yeah.

 5            Q    So, meaning, you never heard anything either way?

 6            A    Maybe someone said, "We didn't see anything valid."

 7            Q    Okay.    You don't recall who that was, though?

 8            A    No.

 9            Q    Okay.    But needless to say, if they had found evidence that the election had

10   been stolen, you would've been told that.

11            A    I would've been told that, yeah.     And I would've given it to the chief of

12   staff.

13            Q    Did you ever report back to the President or anybody else about the

14   conclusions of your staff?

15            A    No.

16            Q    Do you know if the President had -- well, let me follow up on that.

17            So why not?    If the President was potentially under the belief that there was

18   election fraud and your staff found the particular allegations not in support, why would

19   you not go back and tell the President that?

20            A    This was probably, like, 1 percent of the incoming he was getting.        And the

21   way he phrased it, "see if any of this is valid," well, none of it's valid, you know, so -- but it

22   wasn't all-encompassing of the information that was coming in.          It was a small fragment,

23   you know.

24            I don't remember what it was.      It could've been dead people voting or -- I don't

25   know what it was.      But it had nothing to do with the larger legal case that they were
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1    making or anything like that.
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 1

 2   [12:19 p.m.]

 3                    BY

 4          Q       Do you recall whether it had anything to do with Dominion voting machines?

 5          A       I don't recall if it had anything to do with that.   It could have.

 6          Q       And did the President give you any indication of whether he thought there

 7   was any merit to these allegations?

 8          A       In this particular instance, no.

 9          Q       Meaning, no, he did not think there was merit, or, no, he didn't give an

10   indication?

11          A       He didn't give an indication.

12          Q       Did he give you any indication as to whether he thought, in general, the

13   voter fraud allegations had merit?

14          A       In general, he did give an indication that he thought it had merit, yeah.

15          Q       Do you recall what he said?

16          A       No, but it was frequently and over the course of over a month.

17          Q       Do you know if anybody was pushing back to the President on his view that

18   the election had been stolen from him?

19          A       It seemed like there was, yeah, a lot of people that just sort of wanted him

20   to move on.

21          Q       Do you recall who?

22          A       White House counsel probably.

23          Q       So Pat Cipollone?

24          A       Yeah.   Philbin, Cipollone.     I think that crew thought, you know, there

25   could have been irregularities, things weren't adding up, COVID presented some weird
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 1   challenges, but that he should be looking ahead to the next fight instead of focusing on

 2   this.   That was the indication I got from them.

 3           Q     Do you know whether they said that to the President?

 4           A     I'm sure they verbalized that, yeah.

 5           Q     Okay.        Were you there when they verbalized it to the President?

 6           A     I was there once when Philbin verbalized something like:          You can come

 7   back from this, instead of focusing on right now, like, you can, you know, you can have a

 8   comeback, you know, looking to the future kind of a thing.          But that's the only one I

 9   distinctly remember.

10           Q     Was Mr. Philbin suggesting that the President should concede the 2020

11   election and then he could come back from that defeat?

12           A     I believe that's what he was implying, yeah.

13           Q     Do you remember when that was?

14           A     I don't.      It was obviously after the election, but I don't remember if it was

15   December or January or when.

16           Q     Do you remember where you were?             Was that in the Oval Office?

17           A     That was in the Oval Office, yeah.

18           Q     Do you recall who else was there?

19           A     There were a few others there, but I don't remember who.

20           Q     Can you remember any of them?

21           A     I'm sure one was Cipollone.        But, again, I can't say absolutely definitively.

22           Q     All right.     And you can't remember anybody else there?

23           A     No.     Meadows might have been there.          A small group in the Oval.     I don't

24   know what I was doing.         Maybe -- I don't know what I was doing there.       But I

25   remember Philbin giving that, you know, speech or whatever you want to call it.
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 1          Q      Okay.     Do you recall whether that was a meeting on this topic, or it just

 2   came up in the context of something else?

 3          A      I don't recall.

 4          Q      So you mentioned Cipollone and Philbin as being people who pushed back.

 5   Do you recall anybody else pushing back on the President's view that the election had

 6   been stolen from him?

 7          A      Pushing back?        No.    I don't remember seeing anyone push back.

 8          Q      Okay.     What about Bill Barr?

 9          A      I was never really in any meetings with him, so I wouldn't have seen it.       He

10   could have.

11                                   Do you mind if I --

12          -               No, go ahead.

13                   BY
14          Q      Mr. McEntee, you mentioned there was a group discussion involving Ken

15   Klukowski.    Do you remember who was involved with that?

16          A      No.     I think it was just people in the personnel office.

17          Q      That were discussing the election challenges?

18          A      It wasn't a meeting about that, but I'd remember it coming up, and he sort of

19   gave a -- I don't know -- a brief overview of his thoughts.     But I don't really remember

20   what they were, but they were related to the election.

21          Q      Well, what do you remember was the brief overview of what his top line was

22   in terms of the validity of the election challenges?

23          A      No, but it -- I mean, it was something to do with the way the Trump team

24   was presenting their legal case or something, but I don't remember.

25          Q      And that was just to folks within your office, it wasn't at the --
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 1           A    Yeah.      It wasn't a meeting for that purpose, but I remember him talking

 2   about it.

 3           Q    And was that part of the interview process that was conducted by your office

 4   before he was --

 5           A     No.      No.   This was like a group of people just sort of hanging out, and he

 6   was just talking.

 7           Q    Got it.

 8           A     I just happened to be in the office, yeah.

 9           Q    Okay.

10                                Thank you.

11                  BY-

12           Q    So, other than the conversation you already mentioned involving

13   Pat Cipollone and Pat Philbin, did you have any conversations with the President about

14   whether he should concede the 2020 election?

15           A     I don't remember ever having a conversation about that, no.

16           Q    Okay.      Did you have a view as to whether he should have conceded?

17           A    At that time, depending on the timeframe, earlier on I was probably less

18   likely to -- my view was to concede.      And then, as we got closer to the end, when it

19   seemed like we knew we were going to be leaving, that we probably should, you know,

20   do it somewhat graciously.

21           Q    Was there something that sort of was a triggering point for you of now it's

22   time to concede?

23           A     No.      No.   But, as he we got closer, it just seemed, you know, less likely

24   that anything was going to change, you know.

25           Q    Okay.      So as a sort of gradually, over time, you became more of the view
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 1   that it was time to concede?

 2          A     Well -- yeah.   I mean, I don't even really know what you mean by concede.

 3   Like give a formal announcement of concession, or just like, you know, let, like, the Biden

 4   transition happen, you know.      As we got closer, I was definitely under the impression we

 5   should allow their transition to happen.

 6          Q     Did you say that to the President?

 7          A     I don't remember ever discussing any of this stuff with him, no.

 8          Q     Did the President ever indicate to you at any time that you should not allow

 9   the transition to the Biden administration to occur?

10          A     I don't remember that, but I do remember the person -- I don't know if it was

11   the GSA or what agency was in charge of starting the transition.        It was discussed with a

12   group of people, including Meadows, that they need to wait until we know, you know,

13   more of what's going on, like she needs to delay this a little while.     I don't know what

14   the date was.

15          And I think she did that up until, again, one of these other milestones was

16   reached, like the States submitted their electors, or whatever it is.     So I think that was

17   sometime in December where she signed the paperwork to start that transition.

18          Q     Yeah.    And I think the paperwork is called ascertainment.       Does that

19   sound correct?

20          A     I don't know.     I don't know what it's called.

21          Q     Okay.    Did the President ever say that the GSA Administrator should not

22   issue the ascertainment?

23          A     I don't remember him saying that, no.

24          Q     Okay.    Did you have any communications with either the Administrator at

25   GSA or anybody else at GSA on this issue?
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 1               A    One time I spoke to her, yes.

 2               Q    And can you describe that conversation for us?

 3               A    Briefly, I remember -- I'm just charging my computer, so I'm moving things

 4   around.

 5               Q    Okay.

 6               A    Briefly, I remember calling her when all this was happening and checking in

 7   on her because she was getting a lot of heat and just saying, like, what's going on?          You

 8   know.        And at the time she was like at home in a different State, like, I don't know,

 9   Kansas or something.

10               And she's was like, Yeah, I'm taking so much heat for this.    I'm in Kansas.

11               And I remember telling her, Well, just stay there as long as you need and we'll see

12   you when you get back kind of a thing.

13               Q    Okay.      Did you express a view as to whether she should issue the

14   ascertainment letter?

15               A    I don't remember expressing a specific view, no.

16                                   Can I?

17           -                   Go ahead.

18                      BY

19               Q    That ascertainment letter was issued on November 24th, so a few weeks

20   after that November 7th declaration by the media.

21               But you mentioned milestones that were being crossed.         Do you remember what

22   those milestones were?

23               A    I don't.    I remember there was, like, two different dates where something

24   with State electors was happening, and people --

25               Q    It would have been mid-December, right?
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 1           A      Right.

 2           Q      Uh-huh.

 3           A      Yeah, that kind of stuff.   But I don't know what it's called or --

 4           Q      Who communicated to the head of the -- of GSA, gave her the green light to

 5   issue that ascertainment letter?

 6           A      I don't know who did that.

 7           Q      Well, was there a sense that one of those milestones -- that meaning it was

 8   more likely that President Trump would not be in power after January 20th, so the green

 9   light was given to the GSA head?

10           A      That -- I mean, that sounds right, yeah.

11           Q      But you weren't involved in that?

12           A      No, I wasn't involved in that, no.     It could have been -- you know, the White

13   House had a team -- I don't know if it was like a board, or what it was -- that was

14   overseeing the transition.     And that was, like, Chris Liddell and some others, so it could

15   have been them who were in coordination.            But I wasn't in coordination with the

16   transition team or the GSA ascertainment letter.

17           Q      Okay.

18                                Go ahead.

19                    BY

20           Q      So, on November 8th, 2020, Jonathan Swan of Axios wrote a story where he

21   wrote -- and I quote -- "One source who recently spoke to the President tells

22   Axios" --   well, this is from Axios, so it says, quote, "One source who recently spoke to

23   the President tells Axios' Jonathan Swan that even Trump has discussed the possibility of

24   not winning.     He has accepted that losing may be an outcome, but insists on pursuing

25   what he claims is mass fraud.      Several of his close advisers, including social media guru
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 1   Dan Scavino and Personnel Director Johnny McEntee, are egging him on," close quote.

 2          So, first, do you recall whether the President at some point around November 8th

 3   accepted that losing might be an outcome?

 4          A       No, I don't recall that.

 5          Q       Okay.    And do you agree with this characterization that you and

 6   Dan Scavino were egging him on?

 7          A       No, I don't agree with that.

 8          Q       Okay.    Why?

 9          A       I mean, me and Scavino had been with him a long time.       But, if anything,

10   most of this was coming from him or the pressure from these outside fringe people, not

11   from, you know, inside, not from inside the White House.

12          Q       And who were the outside fringe people?

13          A       This is like Sidney Powell, General Flynn, Jenna Ellis, those people that

14   weren't actually working in the administration but were very active with all of the stuff

15   that was going on.

16          Q       There have been some public reports that you instructed White House

17   employees not to begin looking for other work after January 20th, 2021.        Is that correct?

18          A       No, that's not correct.

19          Q       Okay.    So there were reports that anybody who started during the

20   transition -- well, that there are reports that between November 3rd, 2020, meaning the

21   election day, and January 20th, the inauguration day, that people who were identified as

22   looking for new jobs would be fired.      Is that accurate?

23          A       No, that's not accurate.

24          Q       Okay.    If we can bring up exhibit 10.

25          Okay.     It's not the easiest thing to read there, but this is a document, a text
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 1   exchange that's been presented to us or produced to us by Alexandra Preate, between

 2   her and you.      So the JM -- and it says Johnny, that we understand that's you --

 3          A       Uh-huh.

 4             Q    -- starting on November 7th, 2020.

 5             First of all, who is Alexandra Preate?

 6          A       That is, like, Steve Bannon's right-hand person.

 7             Q    Okay.      Do you still have this text message?

 8          A       No, I don't.

 9             Q    Okay.      And as we covered earlier, is that because you had an automatic

10   delete function set up on your phone?

11          A       Yes.

12             Q    Okay.      So Ms. Preate wrote on November --

13             Mr. Warrington.      _ , _ , c o u l d you just clarify that this is his

14   personal phone or was it to his government phone?

15         -                   I -- well, I actually don't know.

16                    BY

17             Q    Do you know the answer to that, Mr. McEntee?

18          A       I don't.     I don't know what phone this is, no.

19             Q    Okay.      So, if it was your personal phone, it would have been deleted?

20          A       If it was on personal phone, I don't have any texts longer than 30 days.     If it

21   was the government phone, we handed those in at the end of the administration.

22             Q    Thank you.

23          A       Uh-huh.

24             Q    So Ms. Preate wrote on November 7th, 2020, "Hi, how are you?           Hope you

25   are holding up."       Looks like hands doing a prayer sign.     "Steve wants to talk with POTUS
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 1   about a path here with the media call today."

 2           You responded, "He can call the operators and they'll relay the message.          Boss

 3   will call him back if he's up for it."

 4           Do you recall what -- well, first of all, does the Steve there refer to Steve Bannon?

 5           A     Yes.

 6           Q     And do you know what Mr. Bannon wanted to talk to the President about?

 7           A     No, I don't.

 8           Q     Okay.     Do you know what the "path here with the media call today" refers

 9   to?

10           A     Actually, I don't.

11           Q     When you wrote, "Boss will call him back if he's up for it," do you know what

12   the "if he's up for it" means or meant?

13           A     Usually just the standard kind of practice is, if somebody wants to talk to

14   him, they can call the operator.         They can relay the message and the topic and

15   everything they want to talk to him about.         And then he'll decide, okay, yeah, call that

16   person back, you know, so he can kind of filter it out himself.

17           Q     Yeah.     Do you know whether the "if he's up for it" was in any way a

18   reference to the President's mood 4 days after the election?

19           A     No.     I think it's more a generalization.

20           Q     So, if you recall, what was the President's mood around November 7th, so

21   about 4 days after the election?

22           A     What -- if you tell me the day of the week, I might be able to remember.

23                                November 7th was a Saturday.

24                   BY

25           Q     November 7th was a Saturday, and I believe that's the day that some of the
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 1   media outlets called the election for President-elect Biden.

 2            A    Yeah.     I think he golfed that day.   I think his mood was, I guess, a little

 3   somber.

 4            Q    Let's look at exhibit 11.

 5            And this is, again, a text exchange with Alexandra Preate --

 6            A    Uh-huh.

 7            Q    -- where -- I won't read the whole thing into the record, but the document's

 8   in the record.    Ms. Preate suggested that the President organize a conference on

 9   children's mental health.

10            And then, if we look at the second page of that, you wrote, "Hmmm, let me see."

11   This is December 9th, 2020.      And then the next text, "He's not inclined to do much these

12   days."

13            Why was the -- and emoji that looks like, I guess, a disappointed face, or sad face.

14            Why was the President not inclined to do much those days?

15            A    Oh, I think since his mood was a little down, he didn't want to do a lot of

16   these -- I don't know what this is referring to, you know, like a public appearance of -- I

17   don't know.      I don't know what this is, but -- you know, he wasn't -- he wasn't in the

18   right mood to, like, you know, have the Boy Scouts over or whatever other thing like this

19   they're trying to schedule.

20            Q    Okay.     And what was your understanding of why he wasn't in the mood to

21   do those kinds of things?

22            A    Just like frustration, I guess.

23            Q    And do you know what he was frustrated about?

24            A    Yeah.     The election.

25            Q    And did he indicate in any way that that's because he thought he had lost
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 1   the election?

 2           A       No, he didn't indicate that, no.

 3           Q       Did he indicate that it was at all because the media had been saying he lost

 4   the election?

 5           A    A combination of the media and he felt there were, like, you know, all these

 6   irregularities and fraud and, you know.

 7           Q       Did he say that to you, or are you speculating there?

 8           A       No.   I mean, I heard it over the course of that month or two.

 9           Q       Do you remember what he said?

10           A    Just that we needed to get to the bottom of this, and he thought there were

11   things that needed to be looked into.

12           Q    Okay.        Other than what we've already talked about, did he ask you to do

13   anything with regard to the 2020 election?

14           A       No, he didn't.

15           Q    Okay.        If we turn to exhibit 12.

16           And this is a text exchange between you and Molly Michael, and my

17   understanding is Molly Michael was the President's executive assistant.

18           A       Uh-huh.

19           Q       First one, dated November 8th, 2020, she writes to you, "Working on Sidney

20   at 6.   I'm so upset how that happened ... The valet and five people in the room said he

21   wanted it cancelled," several exclamation points and "ughs".

22           First of all, is Sidney there Sidney Powell?

23           A    Yeah.

24           Q    And what is it -- what was your understanding of what Ms. Michael was

25   upset about when she wrote, "I'm so upset how that happened"?
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 1           A       I don't remember this at all, but let me just read it and see what I can try to

 2   decipher for you.

 3           "Working on Sidney at 6.      I'm so upset."

 4           Okay.     So apparently he -- somebody relayed a message to her to cancel a

 5   meeting.     She cancelled it.    And then I guess he ended up wanting to do it.

 6           Q       Okay.    Do you know why the President wanted to cancel the meeting?

 7           A       No, I don't.

 8           Q       Okay.   And then, a couple of texts later, you wrote, "I'm sure she's a

 9   Jenna Ellis type."

10           What is that -- and then the next one says, "Getting things spun up."       What did

11   that mean?

12           A       Yeah.   I mean, there's some people in the Trump orbit that like to just

13   cause drama, you know.

14           Q       In what way?

15           A       You know, just call the President, "Oh, your assistant's blocking me from

16   seeing you," you know, this kind of stuff it's when, you know, all nonsense.

17           Q       Okay.   Then Ms. Michael wrote, "She is totally psycho actually."

18           And you wrote, "Yeah, I could see it."

19           What made you think she was totally psycho?

20           A       Just the combination of the stuff that she was bringing up and the way she

21   was conducting herself.

22           Q       What do you mean by that?

23           A       She was just being overly aggressive.

24           Q       Overly aggressive in terms of making allegations of election fraud?

25           A       Yeah, and also with the staff and trying to bully everyone, you know.      It got
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 1   a little -- it got a little crazy.

 2            Q      So did you disagree with some of her more aggressive assertions of election

 3   fraud?

 4            A      At the time, I don't remember thinking long and hard about them, but I

 5   definitely disagreed with the way she was, like, conducting herself.

 6            Q      Meaning what?

 7            A      Just, you know, showing up at the White House at all different times,

 8   demanding to see the President at all different times, you know, going after staff, saying

 9   they weren't doing enough, you know, stuff like that.

10            Q      Was she saying the staff wasn't doing enough to try to change the outcome

11   of the election?

12            A      Yeah.

13            Q      Okay.      Anybody in particular?

14            A      Not that I recall.

15            Q      Okay.      Do you know what she thought the staff should have been doing?

16            A      No, I don't.     But she definitely thought they needed to be more active.

17            Q      Okay.      So November 8th, 2020, at 12:30 p.m., you wrote, "Newt at 5,

18   Sidney at 6."

19            Does the Newt refer to former Speaker Newt Gingrich?

20            A      Most likely.         I don't know another Newt, I don't think.

21            Q      Yeah.      Do you know what Speaker Gingrich was meeting with the President

22   about?

23            A      I don't.

24            Q      The Sidney at 6, did you attend that meeting?

25            A      No, I didn't.
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 1           Q    If you scroll -- if we -- we will scroll down a little bit to where Ms. Michael

 2   wrote, "Chief added Jim Jordan and Scott Perry to Newt's meeting."

 3           Do you know anything about why Jim Jordan and Scott Perry, two Members of the

 4   House of Representatives, were added to the Newt Gingrich meeting?

 5           A    No, I don't.

 6           Q    Okay.      Do you know anything about Congressman Scott Perry's role with

 7   regard to challenges to the 2020 election?

 8           A    I'm not familiar with them, no.

 9           Q    Okay.      Do you know anything about any relationship Congressman

10   Scott Perry might have with Jeff Clark, who is the Department of Justice official we

11   discussed earlier?

12           A    No, I'm not aware of that.

13           Q    Do you know anything about how Rudy Giuliani became involved as one of

14   the lawyers either for the President or for the campaign?

15           A    I mean, the President has known him for a long time.         I don't know how he

16   became involved with the specific campaign in 2020.          He was definitely a surrogate and

17   traveled with us in 2016.

18           I do remember, on election night, he was one of the people that I went out to get

19   to meet with the President, but I wasn't at the meeting.

20           Q    Okay.      Can you tell us a little bit more about that?   So, election night,

21   meaning went to get him, meaning he was at the larger party and you went --

22           A    He was at the party, and the President said, Let me see Rudy.        So I went

23   down, got him.       I actually don't know if I got him.   Like, he was already coming up, so I

24   don't even know if I had to get him, but then I saw him, and he went in, and I went back

25   down.
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 1          Q       In, meaning into the residence?

 2          A       Yeah, the living room area.

 3          Q       Okay.    Did you hear anything that Mayor Giuliani discussed with the

 4   President?

 5          A       No, I didn't.

 6          Q       Did you at any point hear Mayor Giuliani say on election night that the

 7   President should not concede or that he should say that he won?

 8          A       I don't remember hearing him say that, no.

 9          Q       Okay.    Did Rudy Giuliani seem drunk at the time?

10          A       Not that I -- not that I recall.

11          Q       Okay.    Do you remember roughly what time that was?

12          A       Late, but I don't know the time.

13          Q       Do you know who was in charge of deciding what role Rudy Giuliani and

14   other outside attorneys would have in the challenges to the 2020 election?

15          A       No, I don't know.     I don't know that.

16          Q       Okay.    Is it fair to say that at some point after the election Rudy Giuliani

17   started to take on a larger role than he did initially?

18          A       Yeah, that's fair to say.

19          Q       Okay.    And what do you base that on?

20          A       Just how frequently I heard his name come up, and then what I was seeing

21   on television.

22          Q       Okay.    Do you recall roughly when it was that he started taking on the

23   larger role?

24          A       No, I don't.

25          Q       Did somebody else have a lead role before Mr. Giuliani?
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 1              A    Let me just hang up this phone real quick.

 2              Q    Okay.

 3              Mr. Warrington.        Actually, if we could take maybe a 5-minute coffee break?

 4                             Sure.

 5              The Witness.     Okay.

 6                             That would be fine.         At some point, at least for those of us who are

 7   on the East Coast, we may want to take a lunch break.                 Would you prefer to do

 8   this -- that now, or to do it a little bit later?

 9              Mr. Warrington.        How much longer do you think you've g o t , ~

10           -                 We've got a long way to go.           We're not finishing before lunch.

11   can give you that.

12              Mr. Warrington.        Long way to go, a short time to get there?

13           -                 Yeah.

14              Mr. Warrington._, do you want to do lunch now, or do you want --1 just

15   need like a 5-minute break.

16              The Witness.     Let's just do a 5-minute break.

17                             Yeah.      We'll do a 5-minute break, and then maybe a lunch break

18   around 1:30 or so eastern time.

19              Mr. Warrington.        All right.     I think that will work.

20                             We'll see you in 5 minutes.

21              Mr. Warrington.        Okay.        Bye.

22              [Recess.]

23          -                  Okay.      We'll go back on the record.

24

25              Q    Mr. McEntee, did you have any role in engaging Mayor Giuliani or others to
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                                                                                                  91




 1   provide legal services to President Trump or the campaign?

 2          We can't hear you.

 3          A     No.

 4          Q     Okay.   There was an article in The Atlantic dated November 9th, 2021,

 5   entitled, "The Man Who Made January 6th Possible."         And the article said, quote,

 6   "When Trump wasn't happy with the answers he was getting from White House Counsel

 7   Pat Cipollone, McEntee set up a rogue legal team," close quote.

 8          Do you agree with that assertion?

 9          A     No.

10          Q     Okay.    Did you have any role in setting up the legal team?

11          A     No.

12          Q     Is it correct that President Trump sometimes was not happy with the

13   answers he was getting from White House Counsel Pat Cipollone?

14          A     Yes.

15          Q     Can you describe that?

16          A     I don't know any details, but that was a regular trend at the White House

17   over a variety of many issues, including the election.

18          Q     Well, let's focus on the 2020 election.     What do you recall about

19   disagreements between the President and Mr. Cipollone?

20          A     I never saw it firsthand, but I know there were disagreements.

21          Q     And how do you know that?

22          A     Just the frustration.   I saw Cipollone walking in and out of the Oval Office

23   and, you know, not in a good mood, so I knew what was going on.

24          Q     Okay.    Did you ever hear anything about the conversations between

25   Pat Cipollone and the President regarding the 2020 election?
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                                                                                                92




 1          A     I don't remember hearing anything specific, no.

 2          Q     Did you hear anything general?

 3          A     Not that I recall.

 4          Q     Okay.      Did you have any -- other than what you've already told us -- did you

 5   have any interaction with Mayor Giuliani regarding the 2020 election?

 6          A     No.     I was in an Oval Office meeting where he was on the phone with a

 7   group of people.

 8          Q     Okay.      And who was in that meeting?

 9          A     It was a larger group.    The only two I remember for sure were

10   Jared Kushner and Justin Clark, but there were others.

11          Q     Do you remember roughly when that was?

12          A    This was close -- closer to after the election, you know, early November or

13   mid-November.

14          Q     Okay.      And what was discussed on the call?

15          A     I just remember there being an argument between Justin Clark, who was in

16   the room, and Rudy, who was on speakerphone.

17          Q     What were they arguing about?

18          A     About the legal strategy of the campaign at that time.

19          Q     Okay.      Do you remember what the different positions were?

20          A     I don't.

21          Q     Okay.      Do you remember what Jared Kushner said?

22          A     I don't remember him saying anything.       I remember it mostly being

23   between those two, Clark and Rudy.

24          Q     Okay.      Do you remember whether there were disagreements about

25   whether certain allegations of fraud had merit?
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                                                                                                        93




 1          A     From what I recall, it was more about the actual legal strategy of the

 2   challenges than any sort of fraud claim.

 3          Q     So whether to file a particular lawsuit?

 4          A     Yeah, something like that, yeah.

 5          Q     All right.     But you don't recall the nature of the disagreement?

 6          A     No, I don't.

 7          Q     Okay.      Well, is it fair to say Mayor Giuliani was arguing for a more

 8   aggressive approach than what Justin Clark wanted?

 9          A     Yes.

10          Q     Okay.        Do you remember anybody else being involved in that conversation?

11          A     I don't.      Just those two.

12          Q     Do you remember the President saying anything?

13          A     No.     I remember him letting them kind of hash it out.

14          Q     Okay.        Do you recall him making a decision?

15          A     No, I don't.

16          Q     So why were you in that meeting?

17          A     It just sort of came about.       I was in there for something else, and Justin

18   Clark was waiting to meet with him.          And then Rudy probably called him while we were

19   in there, so he answered.       And then he knew Justin was waiting, so he brought him in.

20   It sort of just happened.      I wasn't in there for that particular meeting, but it just turned

21   into that meeting.

22          Q     Okay.        Did you have interactions with Sidney Powell, who we talked about

23   earlier?

24          A     Maybe once, but I don't remember really talking to her.

25          Q     Okay.      That one time, do you recall anything about the nature of the
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 1   interaction?

 2           A       I don't.

 3           Q       Was it a meeting with the President?

 4           A       She met with him, but I didn't interact with her during any of her meetings.

 5           Q       Okay.

 6           A       I remembered seeing her once, but I don't remember what it was exactly.

 7           Q       Did you have any interaction with John Eastman?

 8           A       No.     I may have spoken to him on the phone one time, but I can't say

 9   definitively.

10           Q       Do you recall what you may have talked to him about?

11           A       No.     Just setting up a call perhaps.   I did that with a few different people,

12   like linking them with Meadows or the President or whoever.            So I may have talked to

13   him once, but not on any real subject matter like this.

14           Q       Okay.      Do you recall whether you were setting up a call or a meeting

15   between Dr. Eastman and somebody else?

16           A       No.     Again, I think I may have spoken to him on the phone, but I don't

17   remember what it was about.

18           Q       Okay.      Do you recall whether you had any written communication with

19   him, by email or otherwise?

20           A       I don't recall having any written communication with him, no.

21           Q       Do you know how he got involved in the President's legal team?

22           A       I don't.

23           Q       Okay.      In another case, Mayor Giuliani testified that President Trump first

24   reached out to him about taking on a legal role on November 4th, 2020, so the day after

25   the election.
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                                                                                                 95




 1          Do you know whether that's accurate?

 2          A     I don't know whether or not that's accurate.

 3          Q     Do you know David Bossie?

 4          A     Yes.

 5          Q     What was his role in the campaign?

 6          A     I knew him from the previous, the 2016 campaign.       I didn't -- I didn't

 7   know -- I don't know of his association to the 2020 campaign.     I didn't know he

 8   was -- was he an employee of the 2020 campaign?        I didn't know that.

 9          Q     Well, do you know if he had any role in the legal team or the legal strategy

10   for challenging the election?

11          A     I don't know of that, no.

12          Q     Okay.     So we understand that you were part of a November 12th, 2020,

13   meeting in the Oval Office with President Trump, Justice -- Justin Clark and others

14   regarding the Georgia election audit.

15          Do you know whether that is the same meeting you were telling us about earlier?

16          A     I believe it is.

17          Q     Okay.     Does that refresh your recollection at all about what the

18   disagreement was between Mr. Clark and Mayor Giuliani?

19          A     No, it doesn't.

20          Q     Okay.     Does that refresh your recollection about who else, other than the

21   President, Jared Kushner, Justin Clark, and Mayor Giuliani on the phone, who else was

22   involved?

23          A     No, unfortunately not.

24          Q     Okay.     Do you remember whether Rudy Giuliani was saying anything about

25   the voting machines or the voting machine data in Georgia?
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                                                                                                  96




 1          A     I do recall him saying something about voting machines and Germany.

 2          Q     And Germany?       Okay.     Do you recall --

 3          A     Something about Germany.

 4          Q     Do you recall the relevance of Germany?

 5          A     I don't, but I remember Jared and I thought it was odd, and we sort of, like,

 6   looked at each other, because we weren't -- we didn't know what he was referencing.

 7          Q     Okay.    Was he talking about Dominion voting machines?

 8          A     He could have been, yeah.

 9          Q     Do you know if he was saying something about the data being sent to

10   Germany?

11          A     I don't -- it was -- yeah.   I only remember Germany and finding it kind of

12   odd.

13          Q     Okay.

14          A     That's what I remember.

15          Q     And did Justin Clark push back on that?

16          A     I don't remember him pushing back on that particular thing.      It was more

17   about the legal strategy.

18          Q     And is this around the time that Mayor Giuliani started to take on a larger

19   role in the post-election legal challenges?

20          A     Yeah.

21          Q     And was it your understanding that that's because Mayor Giuliani was telling

22   the President what he wanted to hear?

23          A     At the time it appeared that he was the only one that wanted this particular

24   fight and was on television and, I don't know, just being extremely active.   Seemed like

25   he was the only one with the appetite for that.
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                                                                                                97




 1          Q     By "this particular fight," do you mean challenging the outcome of the 2020

 2   election?

 3          A     Maybe not challenging.       More like the different claims with the voting

 4   machines.    I think there was a legal strategy that everyone was behind through like the

 5   normal mechanism of however you challenge this, but I think he wanted a little bit of a

 6   bolder -- bolder strategy or something.

 7          Q     And did Justin Clark's role diminish after that?

 8          A     It appeared to have diminished, yeah.

 9          Q     Okay.    And do you know why?

10          A     I don't know why.

11          Q     Okay.    Did you have any contact with Jenna Ellis?

12          A     Around this time?    Not that I remember.      I had a meeting with her and

13   Cipollone earlier that year.

14          Q     Earlier in 2020 --

15          A     Yes.

16          Q     -- or 2021?

17          A     2020.

18          Q     Was that related to the election at all?

19          A     No.

20          Q     Okay.    Did you have any interaction with Christina Bobb?

21          A     No.

22          Q     Did you have any interaction with Joe diGenova?

23          A     No.

24          Q     Did you have any interaction with Victoria Toensing?

25          A     Don't know who that is.
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                                                                                                   98




 1           Q     Did you have any interaction with Katherine Friess?

 2           A     Don't know.      Don't know who that is.

 3           Q     Did you have any interaction with Bernard Kerik?

 4           A     No.

 5           Q     Did you have any interaction with Phil Waldron?

 6           A     No.

 7           Q     Did you have any interaction with Boris Epshteyn?

 8           A    That's possible.      I've known Boris because he was on the '16 campaign, sort

 9   of a friendly relationship.    I don't remember having any particular interactions with him

10   about the election fraud, but I know he was involved with Rudy's team.        So it's possible I

11   talked to him.

12           Q     Okay.      We're going to turn to exhibit 13.   And this will be a text exchange

13   between you and Alexandra Preate.         And it looks like she wrote to you on

14   November 22nd, 2020, at 5:05 p.m., "Steve wanted you and Boris E to connect," and then

15   a phone number.

16           So I assume the Steve is Steve Bannon.       Is that your understanding?

17           A     Yeah, that's my understanding.

18           Q     Okay.      And is the Boris E Boris Epshteyn?

19           A     Yes.

20           Q     And do you know why Mr. Bannon wanted you to talk to Boris Epshteyn?

21           A     I don't.

22           Q     Okay.      And you wrote, "Oh, no."    Why did you write, "Oh, no"?

23           A    Just over the course of my relationship knowing him, he constantly reaches

24   out to me about a lot of different things.

25           Q     Okay.      Do you recall whether you ended up talking to him?
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                                                                                                 99




 1            A    I don't recall.

 2            Q    Okay.       Do you recall having any conversations with him about the 2020

 3   election?

 4            A    I don't recall that, no.

 5            Q    Okay.       So separate from or maybe parallel to the legal strategy, we

 6   understand there was also a strategy related to State legislatures and trying to get them

 7   to help change the outcome of the election.

 8            Does that sound familiar to you?

              A    That sounds familiar, yeah.

              Q    Do you have any knowledge of that other than through public reporting?

              A    I don't, other than I believe he hosted some State legislators at the White

12   House.

13            Q    Okay.       Did you attend?

14            A    I didn't.

15            Q    Okay.       Did you have any conversations with the President about

16   encouraging State legislatures to change their slate of electors?

17            A    Not that I recall.

18            Q    Do you recall having conversations with anybody about the White

19   House -- at the White House about that?

20            A    Not that I recall, no.

21            Q    So even in advance of the 2020 election, somebody named Barton Gellman

22   wrote in The Atlantic that the Trump campaign was discussing contingency plans to

23   bypass election results and appoint loyal electors in battleground States where

24   Republicans hold the legislative majority.

25            Do you have any knowledge of that effort?
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 1           A     No, I don't.

 2           Q     Okay.    Do you know anything about a meeting on November 11th, 2020,

 3    between President Trump, Vice President Pence, Bill Stepien, Jason Miller, Justin Clark,

 4   and Eric Herschmann regarding State legislatures?

 5           A     No, I don't.

 6           Q     So you mentioned something about a meeting with State legislators.           Do

 7   you know -- first, what was your involvement, if anything, in that?

 8           A     Nothing.       I just heard that he was hosting some of the State legislators at

 9   the White House.      But that's all I knew.

10           Q     Okay.    If we go to exhibit 15.

11           This is an email from Jenna Ellis dated November 28th, 2020, sent to

12    Molly Michael and Mark Meadows.           Doesn't look like you were on it.   Subject is, "The

13   Constitutional Authority of State Legislatures to Choose Electors."       And then attached is

14   an article from John Eastman -- or by John Eastman on that topic.

15           Does this look familiar to you?

16           A     No, it doesn't.

17           Q     Did you have any knowledge about the State legislative hearings that Rudy

18   Giuliani and others testified before?

19           A     Did I have any-- what's the question?

20           Q     Did you have any knowledge of those?

21           A     No, just what I saw on the internet.

22           Q     Okay.    But no discussions with anybody at the White House or the

23    President about that?

24           A     I don't remember ever discussing that, no.

25           Q     Okay.    And we understand that the President actually called in by phone to
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 1   one of these hearings.

 2           Do you have any knowledge of that?

 3          A     I remember that happening, but only because I saw it on line.

 4           Q    Okay.      If we go to exhibit 16.

 5          This is another text exchange between you and Alexandra Preate dated

 6    November 25th, 2020, 2:37 p.m.       Ms. Preate writes, "Any chance you were watching the

 7    Pennsylvania hearing today?"      And she writes, "My sister just testifying.    She's the

 8   chairman of the Montgomery County GOP."

 9          You wrote back, "Yes!       Boss is watching right now."

10           Does the boss refer to the President?

11          A     Yes.

12           Q    And how did you know that the President was watching?

13          A     If it's the hearing I'm thinking of, he was -- it was on in his -- in his back

14   dining room in the Oval Office.

15           Q    And were you with him?

16          A     I think I was in and out.    I don't remember sitting and watching with him.

17   Sort of like a small table, you know.

18           Q    Okay.      Do you recall him saying anything about the hearing?

19          A     I don't.

20           Q    So our understanding is that on November 23rd Robert Gabriel asked Ross

21   Worthington to connect with Meadows tomorrow morning, meaning the next morning,

22    regarding POTUS' speech request on 20 examples on voter fraud; please also ask McEntee

23   if he has anything good.

24           Do you remember whether Ross Worthington asked you if you had any examples

25   of voter fraud?
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                                                                                                  102




 1           A     I don't remember that.

 2           Q     Okay.      Do you have any idea why Robert Gabriel would be suggesting to

 3    Ross Worthington that he go to you for that?

 4           A     He worked closely to our office, like in proximity, so I'm sure he knew that,

 5    like I mentioned earlier, some of those things had been handed to us to look at the

 6   validity.   So maybe he thought we found something.

 7           Q     Okay.      Were you involved in any discussions about coordinating so-called

 8   alternate electors in certain States to cast their votes for President Trump?

 9           A     Alternate electors?

10           Q     And I can explain what I mean by that if --

11           A     Yeah.      I mean, there was -- no.    I don't -- I don't remember that, no.

12           Q     Okay.      Do you know about any conversations between John Eastman and

13    President Trump on that?

14           A     I don't.

15           Q     Okay.      Do you know of any conversations between Ronna McDaniel and

16   the President on that?

17           A     I don't.

18           Q     Do you recall any discussions about asking State legislatures to decertify

19   their election results?

20           A     I'm just trying to remember if these are things I've seen on the news or if I

21   saw them, you know, in person.

22           Yeah, I don't recall.    I don't recall seeing that.

23           Q     Okay.      If we go to exhibit 17.

24           This is another text exchange between you and Alexandra Preate, December 13th,

25   2020, 1:01 p.m.
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 1           Ms. Preate writes, "KG wants Steve and POTUS to talk.           Steve have [sic] three

 2    next steps that he can take to stop the steal.       Also, he needs to meet with Navarro, who

 3    has gone over the numbers.           Steve would be free to talk with him of course.

 4   Thoughts?"

 5           So I'm assuming again Steve refers to Steve Bannon.          Is that right?

 6           A     Uh-huh, yes.

 7           Q     Is KG Kimberly Guilfoyle or someone else?

 8           A     That's my guess, yeah.

 9           Q     Okay.      Is there any other KG you can think of that it might be?

10           A     There is not.

11           Q     Do you know why, if it was Ms. Guilfoyle, Ms. Guilfoyle wanted Steve

12    Bannon to talk with the President?

13           A     I don't.

14           Q     Okay.      When Ms. Preate wrote, "Steve has three next steps that he can

15   take to stop the steal," do you know what those three next steps were?

16           A     I don't.

17           Q     Okay.      You respond, "I will relay to the boss.    What's best number for

18   Steve if he decides to call?"

19           So do you remember what you relayed to President Trump?

20           A     I don't.    Probably the same message she sent.

21           Q     Okay.      All right.    And then Alexandra Preate sent a phone number.       Is

22   that, as far as you know, Steve Bannon's phone number?

23           A     As far as I know, yeah, that's probably Steve Bannon's phone number.

24           Q     Going back to that first chronologically -- I know it's a little hard to

25    read -- Ms. Preate wrote, "Also, he says he needs to meet with Navarro, who has gone
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 1   over the numbers."

 2            Do you know if that means Steve Bannon is saying that the President needs to

 3    meet with Navarro?

 4            A     No.     I think this is saying Steve Bannon needs to meet with Navarro.

 5            Q     Okay, Steve Bannon needed to meet with Navarro.           So do you know

 6   whether --

 7            A     That's -- I'm just -- let me see.   "KG wants Steve and POTUS to talk."      Yeah,

 8   that's -- she's saying Steve Bannon needs to meet with Navarro.

 9            Q     Do you know whether Steve Bannon ended up meeting with Peter Navarro

10   about the numbers?

11            A     I don't.

12            Q     Did you have any conversations with Peter Navarro about challenges to the

13   2020 election?

14            A     Not that I recall, but I remember him spending a good amount of his time

15    looking into it.

16            Q     And do you know why he in particular was looking into it?

17            A     I don't.

18            Q     Okay.      Is that an unusual thing given his role as a trade adviser?

19            A     Yes.    But I know he had done something similar -- I don't know.        He liked

20   to research things.       But, yeah, I guess, in his role as trade adviser, it was probably odd.

21            Q     Do you know if the President asked him to have that role?

22            A     I don't know that.

23            Q     Do you know if Mark Meadows asked him to have that role?

24            A     I don't know.     I don't know that.

25            Q     Okay.      Are you familiar with the Green Bay sweep?
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 1          A     No, I'm not.

 2          Q     Okay.      Do you know what role, if any, Mr. Navarro had with regard to

 3   encouraging Members of Congress to object to certification of the 2020 election?

 4          A     No, I don't know that.

 5          Q     Okay.      Do you know anything about the efforts of the White House,

 6   whether it's the President or staff, to get Members of Congress to object to certification

 7   of the 2020 election?

 8          A     The only thing I remember is Members of Congress coming to a meeting,

 9   and I believe that was the topic, but I wasn't in the meeting.

10          Q     Okay.      Do you remember roughly when the meeting was?

11          A     I don't.

12          Q     Okay.      Do you remember which Members of Congress?

13          A     There was a handful.      The only one I remember distinctly was Gosar from

14   Arizona.

15          Q     Okay.      Do you remember whether they were mostly members of the House

16    Freedom Caucus?

17          A     That sounds right.

18          Q     Do you remember whether there were any Senators there?

19          A     I don't remember there being any Senators.

20          Q     Okay.      Were you in the meeting?

21          A     No, I wasn't.

22          Q     Okay.      Going back to that exhibit 17.   So on December -- this, again, is a

23   text exchange between you and Alexandra Preate that turned out December 13th, 2020,

24   an exchange starting at 5:16 p.m.

25          So Ms. Preate wrote, "Thank you.       They had a call.   POTUS told Steve" -- I
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 1   assume Steve Bannon -- "to call him back in the 5 p.m. hour.         Steve is still doing the

 2    research he requested and will call back soon.       In the meantime -- he did for me to give

 3   you these three names.       One, Judge Ken Starr; two, U.S. Attorney Bill Mcswain, Eastern

 4    District of Pennsylvania; three, Ken Cuccinelli."

 5           You wrote, "What am I doing with these names?"

 6           She wrote back, "Give to POTUS."

 7           Looks like you gave a thumbs up.

 8           Did you give those names to the President?

 9           A     I don't -- I don't remember.

10           Q     Okay.     Any -- I mean, given that she was saying Steve Bannon was asking

11   you to give the names to the President, is that the kind of thing you would normally do,

12    pass that on to the President?

13           A     I would use my own discretion, but most times, yes, I would pass it on.

14           Q     Okay.     Would you ever pass things on to somebody else if you didn't think

15   it necessarily -- if you were uncertain as to whether it should go to the President?

16           A     Yeah.     I would give it to the chief of staff.

17           Q     Okay.     Do you remember whether you did that in this instance?

18           A     I don't know what this instance is, no.

19           Q     Okay.     So you wrote, "What am I doing with these names," suggesting you

20   weren't sure what the purpose of the names were.

21           Did you at some point gain an understanding of what the purpose was for giving

22   the President these names?

23           A     No.     I don't recall what these names are.

24           Q     Okay.     Do you know whether these --

25           A     1know Cuccinelli was our appointee.         Ken Starr, is that like the -- yeah.
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 1   don't -- I don't know.

 2           Q     Okay.      Do you know whether these were proposed names to serve as a

 3   special counsel to look into allegations of election fraud?

 4           A     I don't know that.

 5                                 Do you mind if I cut in?

 6                            Yeah, go ahead.

 7                   BY

 8           Q     So in one of these text messages Ms. Preate wrote to you, "Steve is still

 9   doing the research he requested and will call back soon."

10           Did you ever learn what research Mr. Bannon was preparing that President Trump

11    requested?

12           A     No, I didn't.

13           Q     Did you ever pass any other information along from Ms. Preate to

14    President Trump or Mr. Meadows or anyone else?

15           A     The only thing I would have passed on was to call him back, or I guess

16    possibly these three names, but I don't remember that.

17           Q     Okay.

18                               Thanks.

19                   BY

20           Q     Did you have any interaction with Ken Cuccinelli about the 2020 Presidential

21   election?

22           A     I don't recall that.     I interacted with him frequently about other things, but I

23   don't -- I don't remember the election stuff.

24           Q     Okay.      Then I'm assuming from your answer earlier you had no interaction

25   with Ken Starr about the 2020 election?
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 1               A       Not that I'm aware of, no.

 2               Q       Did you have any interaction with U.S. Attorney Bill Mcswain about the 2020

 3   election?

 4               A       Not that I'm aware of, no.

 5               Q       Okay.

 6           -                   I'll pause to see, do any other members have any questions right

 7    now?

 8               Okay.     Well, this might be a good time for a lunch break for those of us who are

 9   on the East Coast.          Would maybe a, like, 45-minute break sound good?

10               The Witness.      Sure.

11           -                   Okay.     We can't hear you, David.

12               Mr. Warrington.         I'm sorry.   How much longer do you think you have after that?

13                               We still have a long way to go.

14               Mr. Warrington.         Okay.   Well, I guess 45 minutes will do it.

15           -Allright.

16               Mr. Warrington.         Be back at 2:15?

17           -                   Sure.     Sounds great.

18               The Witness.      Okay.

19           -                   Okay.     With that, we'll go off the record.

20               [Recess.]
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 1

 2    [2:15 p.m.]

 3          -               We'll go back on the record.

 4                    BY

 5           Q      I just wanted to talk about some things outside of the election fraud that

 6   were happening in the same time period, Mr. McEntee.        So, in the lead-up to

 7   January 6th, there were some events that were going on within DOD I wanted to chat

 8   with you briefly about.

 9           Were you aware of some comments made by retired General Michael Flynn on

10    Newsmax where he argued that President Trump could invoke martial law to essentially

11    have an election -- rerun the election?

12           A      No.

13           Q      At any time, did you discuss General Flynn's comments with anyone within

14   the White House?

15           A      Not that I recall.

16           Q      Okay.

17           On December 18th, the Secretary of the Army, Ryan McCarthy, and the Army

18   Chief of Staff issued a statement that there was no role for the U.S. military in

19   determining the outcome of an American election.

20           Do you remember what impact, if any, that had on the White House?

21           A      I don't remember that being brought up.

22           Q      Do you remember conveying a message to Secretary Miller about the White

23    House's frustration that DOD, particularly the Secretary of Army, had issued such a

24   statement?

25           A      No, I don't remember.    I don't remember that.
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 1           Q       Secretary Miller told the committee that he was contacted by you soon after

 2   the statement was made and you asked why McCarthy made the statement and, quote,

 3   "wanted me," meaning Mr. Miller, "to remind McCarthy that the President was not going

 4   to -- it was -- I know this sounds kind of wonky, but it was an authorities issue.    He,"

 5    meaning you, "said the President is not going to invoke the Insurrection Act but that

 6   doesn't mean he couldn't, which I thought was an interesting comment because it dealt

 7   with the authority, not so much -- the concern was not with what McCarthy said, was the

 8   way I interpreted it.    It was the fact that the Secretary of Army was saying he had

 9   authorities that actually resided with the President."

10           Do you remember having a conversation with Secretary Miller about that?

11           A       I don't remember this conversation, no.

12           Q       During that conversation, it was Mr. Miller's -- Mr. Miller stated that you

13   called on behalf of the President.      Does that ring a bell to you at all?

14           Just to step back, again, kind of, this is the mid-December time period.

15           A       Yeah.   No, I mean, I could've relayed that message from the President,

16   sure.   Yeah.     I mean, I don't remember that.

17           Q       You could've, but you don't remember it?

18           A       Yeah.

19           Q       He also described it as, quote, "Would you talk to Ryan and tell him the

20    President doesn't want him to be overstepping his bounds?"          Which, Secretary Miller

21   then did respond to your request from the President and did reach out to Secretary

22    McCarthy.

23           Does any of this ring a bell?

24           He additionally says that you had just come out of a meeting with the President

25   and, quote, "I don't know if he said 'disappointed,' but he was -- you know, he felt that
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 1    Mr. McCarthy's statement wasn't appropriate because of his belief of the Insurrection

 2   Act."

 3           A     Yeah, I don't remember this phone call, but I frequently relayed messages to

 4   different people, so --

 5           Q     On behalf of the President?

 6           A     Yep.

 7           Q     How did that fall under your role as the head of PPO?

 8           A     No, this would be when I was with him just because I was still in his role as

 9    personal aide.   So, if I were with him and he were having conversations, he would say,

10   call and let him know this, or call and let that person know that.

11           Q     So, just so I'm clear, so the entire time from February of 2020 on until

12   January 2021, did you still have a dual-hat role as the head of PPO and as a personal aide?

13           A     Yes.

14           Q     So, when you called Secretary Miller to convey the President's

15   disappointment with Secretary McCarthy and General Mcconville issuing this statement,

16   that was in your role as personal aide?

17           A     It sounds like I'm relaying a message from the President, yes.

18           Q     Do you remember any followup conversation with Secretary Miller after

19   that?

20           A     About this particular subject?   No.

21           Q     And do you remember conveying that if they would -- "they" meaning

22   Secretary McCarthy or General Mcconville -- issued a statement like this before, that they

23   would be fired?

24           A     I don't remember saying that, no.

25           Q     I'm going to show you what's exhibit 27.
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                                                                                                   112




 1           Sorry.   Do you have that,-?

 2                              No.     It's having some --

 3                    BY

 4           Q     One second.        Sorry.

 5           These are handwritten notes that have been produced to us from the National

 6   Archives.

 7           Is that your handwriting, Mr. McEntee?

 8           A     It looks like it, yes.

 9           Q     And it looks like the page has been torn.      But it says, "Chris Miller spoke to

10    both of them and anticipates no more statements coming out."           And then

11   in parentheses, "If another happens, he will fire them."

12           Do you remember writing this?

13           A     No, I don't remember writing this.

14           Q     But this is your handwriting?

15           A     Yes.

16           Q     So, just want to be clear.     This is your handwriting, but you have no

17    memory of calling Secretary Miller and requesting him to call Secretary McCarthy to

18   express the President's disappointment with the statement regarding there's no role of

19    military in the United States election?

20           A     Yeah, I don't remember that.        I mean, it looks like I might be playing

21    messenger between multiple people here, which happened a lot.

22           Q     Were you playing messenger when you called the Acting Secretary of

23    Defense on behalf of the President?

24           A     This looks like something I'm giving Meadows, but I would need to -- yeah.

25    I don't remember.
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 1         Q     "This" meaning the note?

 2         A     Yeah.

 3         Q     And why do you believe you gave it to Mark Meadows?

 4         A     Well, let me just -- is there more to this note?       Or can you, like, scroll --

 5         Q     No.     That's it in its entirety.   That's the full page.   The rest is redacted.

 6          Mr. Warrington.      What is the redaction?

 7                               We do not know.

 8         The Witness.      It could've gone to either of them.      Yeah.    I don't remember.

 9                 BY
10         Q     Would you frequently write notes like that to both Mr. Meadows and the

11   former President?

12         A     Yes.

13         Q     Do you remember having a conversation with Mr. Meadows about this?

14         A     Not this particular thing, no.

15         Q     Do you remember talking to the former President about this?

16         A     No, I don't.

17         Q     And as I said before, it looks like it's torn.    Do you have any memory how

18   that could've happened?

19         A     No, I don't.

20         Q     Were you ever present when the President -- when the former President

21   would tear up documents?

22         A     When he was done with something, I would see him tear it, yeah.

23         Q     Would anyone else in the White House do that?

24         A     Um --

25         Q     Would Mr. Meadows tear up --
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 1             A    I think he would.      I mean, I think he would throw it in his burn bag maybe.

 2    I don't remember what his thing was.

 3             Q    Mr. Meadows had a -- Mr. Meadows's burn bag?             Is that what you're

 4   saying?

 5             A    Yeah, I'm trying to remember, if, like, he looked over something, what he

 6   would do with it after.       I don't remember if he -- I don't think he put it in the trash, but I

 7   don't remember what he did with it.          I think he probably just burn-bagged it all.

 8             Q    So, because it's torn, would it indicate to you that you provided this note to

 9    Mr. Trump?

10             A    Yeah, or Meadows gave it to Trump.         Yeah.

11             Q    But you don't have a memory of that conversation.

12             A    No, I don't.

13             Q    And Secretary McCarthy confirmed that he did receive a call at 8:30 on a

14   Saturday morning from Secretary Miller expressing that the White House was not pleased

15   with the statement and implied that he would be fired if such a statement would happen

16   again.

17             Do you remember having a followup conversation with Secretary Miller that he

18    had indeed conveyed the message to Secretary McCarthy?

19             A    No, I don't.    The only statement I remember talking about was Chad Wolf

20   and Chris Krebs.

21             Q    "The only statement" about elections?         Is that what you mean?

22             A    Yeah.   The only time I remember specifically calling someone about

23   statements was the one we talked about earlier.           Again, like, it appears this happened,

24    but I don't remember it.

25             Q    Okay.
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 1            And did you have a memory of the conversation or the statements put out by

 2    Michael Flynn about invoking martial law or the Insurrection Act?

 3            A    No.

 4                                 All right,

 5                      BY-:

 6            Q    If we can turn to exhibit 18, this is another text exchange between you and

 7   Alexandra Preate.        And I believe this is the way it was produced to us.

 8            So, at the very top, it says, "Steve thinks POTUS to send out a tweet dumping on

 9    him."   It looks like you responded, "Copy," and then Ms. Preate did a thumbs-up.

10            So I don't think we have anything that was above that.       Do you have any idea

11   what that's referring to?

12            A    I don't.

13            Q    Okay.

14            Then, after that, it looks like Ms. Preate sent to you something entitled "GA

15   Senate Committee Releases Damning Report On Election Fraud."

16            She writes, "Steve wanted me to get this ASAP to you."        Then she writes, "The

17   official GA report.      The first time with there's a pathway to decertification of Georgia."

18   There are some typos in there, but that seems to be what it says.

19            What was your understanding of why Mr. Bannon wanted you to see that report,

20   or that article?

21            A    I'm sure he just wanted me to pass that along.       I don't know if he wanted

22    me specifically to do anything with this.

23            Q    To the President?

24            A    Yeah.

25            Q    Do you recall if you did do that?
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 1          A     I don't recall if I did or not.

 2          Q     Do you recall having any conversations with the President about a Georgia

 3   Senate report?

 4          A     I don't recall having a conversation about that, no.

 5          Q     And do you know what Ms. Preate meant when she writes -- and, again,

 6   there are typos, but I think it says, "The first time there's a pathway to decertification of

 7   Georgia"?

 8          A     I mean, only what I'm reading here, which is, apparently, this attachment

 9   she sent talked about there being a pathway to decertify Georgia.

10          Q     Okay.

11          Moving on, do you recall anything about a pre-holiday lunch with President Trump

12   and members of the Pennsylvania legislature?

13          A     Was this at the White House?

14          Q     I believe so.

15          A     I think this is what I was referring to earlier, right?

16          Q     Okay.    And you said you did not attend.       Is that correct?

17          A     Yeah, that's correct.

18          Q     Did you hear anything about what was discussed at the lunch?

19          A     Not that I remember, no.

20          Q     Okay.

21          If we could look at exhibit 19, this is yet another text exchange between you and

22   Alexandra Preate.    It looks like it's sending -- she writes, "Hi!    Steve asked me to send

23   you these," and it looks like she sent an article saying "Pa. senators head to White House

24   for pre-holiday lunch with President Trump."       You wrote, "Thanks."

25          Does that refresh your recollection at all?
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 1           A     No.

 2           Q     Okay.

 3           A     These people would inundate me.         I mean, this is just -- no, I don't

 4    remember this.

 5           Q     Okay.    When you say "these people," does that mean Steve Bannon's team

 6   or --

 7           A     No, everyone.     Everyone out there.      I mean, this is like -- it's just funny,

 8    looking at it now.   It's like, this is just constant, just -- and as it got more towards the

 9   end, I would ignore it more and more, but what can you do?

10           Q     Okay.

11           And then it looks like Ms. Preate wrote, "Three other senators -- Sens. Camera

12    Bartolotta, Mike Regan, Ryan Aument -- said they also are declining the invitation."

13           Do you have any information about why some of the members declined the

14   invitation?

15           A     No.

16           Q     Okay.

17           More generally, do you have any information about President Trump's interaction

18   with State legislatures -- legislators regarding the possibility of decertifying their election

19    results?

20           A     Not that I recall, no.

21           Q     Okay.

22           So it was widely publicized that on January 2, 2021, President Trump had a phone

23   call with Georgia Secretary of State Brad Raffensperger and several other people.            The

24    recording of that was then released the next day.

25           Do you have any familiarity with that, other than what you may have seen in the
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 1    media?

 2              A    No.     I just remember the CNN coverage of it.

 3              Q    Okay.     You were not in the room when the President had the call then?

 4              A    Not that I'm aware of, no.     No.

 5              Q    Okay.

 6              Are you familiar at all with a January 2, 2021, phone call involving President Trump

 7   and a large number of State legislators regarding the election?

 8              A    That doesn't ring a bell.

 9              Q    We talked a little bit earlier about Peter Navarro.    Did you have any role in

10   the preparation of the so-called "Navarro Report"?          And we can show you the cover

11    page if that helps, but you might -- you probably know it.       It's exhibit 20, but you

12    probably know what I'm referring to.

13              A    I do.    I didn't have anything to do with it.

14              Q    Okay.     Did you have any conversations with Peter Navarro about his

15    report?

                A    I think we briefly discussed it once in the Executive Office Building in passing.

                Q    Do you recall what you discussed?

                A    I know he thought there was a lot of stuff that he could discover, and I guess

19    he was more positive on the document than I was.

20              Q    Okay.     Had you read the document?

21              A    No.     Just from what I was hearing.    I think this was right before he came

22   out with it, you know, as he was, like, doing his research or whatever.

23              Q    In what way were you less positive about it than he was?

24              A    Well, I just -- what I had seen, like those things that were handed to our

25   team, or when I was sort of just tracking the news, it didn't seem like there was enough
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 1   that was going to make any sudden change.

 2           Q    Did you have any discussions with the President about the Navarro report?

 3           A    Not that I recall, no.

 4           Q    Do you recall having conversations with anybody about the Navarro report,

 5   other than the conversation you just mentioned with Mr. Navarro himself?

 6           A    I don't.

 7           Q    Do you know who, in addition to Mr. Navarro, was involved in preparing the

 8    Navarro report?

 9           A    I assume the people on his team, like some of those junior staffers.

10           Q    Okay.      What about Joanna Miller?

11           A    Yeah, that sounds right.

12           Q    And Garrett Ziegler?

13           A    Those are two of his junior staffers, so they probably would've worked on it,

14   yeah.

15           Q    Okay.      But is that just speculation, or do you have reason to believe they

16   were involved?

17           A    I'm trying to remember.      I believe they -- I think they were involved with it,

18   yes, from what I remember.

19           Q    Do you remember having conversations with them about the report?

20           A    No.

21           Q    Do you know if anybody on your team in Presidential Personnel

22   communicated with them about the report?

23           A    They were friendly with a lot of people on our team, but I don't remember

24   specifically them talking to me about it or letting me know they had those conversations.

25           Q    Do you know whether Mr. Navarro or his team were aware that some
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 1    people on your team had already looked into some allegations of voter fraud?

 2             A   I don't know if they were aware of it.

 3             Q   Are you aware of any discussions about potentially collecting or seizing

 4   voting machines from the States?

 5             A   Am I aware of it?

 6             Q   Yes.

 7             A   Only what I saw reported.

 8             Q   Okay.     So you had no conversations with anybody at the White House

 9   about that issue?

10             A   No.     I know there was a report saying I talked to Chad Wolf about machines

11   or something, but that was -- that was not accurate.

12             Q   Do you know anything about Mr. Giuliani calling the Antrim County,

13    Michigan, prosecuting attorney to request that he turn over the county's voting

14    machines?

15             A   I don't know anything about that.

16             Q   Do you recall seeing a document about election fraud in Antrim County,

17    Michigan?

18             A   No, I don't.

19             Q   Okay.    Just to save time, if you're confident of that, I won't show it to you,

20    but does the name "Allied Security Operations Group," or "ASOG," sound familiar to you

21   at all?

22             A   Not particularly.

23             Q   And I think you said earlier you didn't have any conversations with Russell

24    Ramsland, but do you know who Russell Ramsland is?

25             A   No, I don't.
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 1           Q     Let's go to exhibit 22.   It's a little small there, but it's an email from Bill

 2   White, dated Thursday, December 10, 2020, to several people, both in the White House

 3   and outside the White House.        And it looks like you're one of the people copied on that.

 4           Mr. White wrote, "MOLLY," apparently to Molly Michael, "this is the video I told

 5    POTUS we would get to him as soon as I could get my hands on it."

 6           "FOR POTUS, RUDY (please send to Jay Sekulow and WH counsel) TO SEE THIS

 7   VIDEO ASAP.

 8           "FROM GA SENATOR BURT JONES NOW:" --

 9           Do you recall this email?

10           A     No, I don't.

11           Q     Okay.     Who is Bill White?

12           A     Bill White -- I met him briefly because I know he wanted to be considered for

13   an ambassadorship.       I think he's sort of, like, a GOP donor.   He was a nice guy.      I met

14    him at -- actually, I think he was at one of the rallies or something.

15           Q     Do you know what his role, if any, was in the effort to challenge the outcome

16   of the 2020 election?

17           A     I never heard of him being involved in it.

18           Q     Okay.

19           So then he wrote, as I said, "FROM GA SENATOR BURT JONES NOW:                 'Bill - Can

20   you please get this to President Trump directly and his legal team immediately?

21    Dominique Larricia personally observed this happening.         He was there.     Happened in

22   Coffee County GA."      It continues on.

23           Do you know who Georgia Senator Burt Jones is, other than the fact that he was a

24   Georgia senator?

25           A     No, I don't.
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 1           Q    Let's look at exhibit 23.    And this may have already been encompassed in

 2   your earlier answer about the voting machines.           But this is what appears to be an

 3    unsigned order, or finding, dated December 16, 2020:          "PRESIDENTIAL FINDINGS TO

 4    PRESERVE COLLECT AND ANALYZE NATIONAL SECURITY INFORMATION REGARDING THE

 5   2020 GENERAL ELECTION."

 6           Do you recall ever seeing this document before today?

 7           A    I don't think I've ever seen this, no.

 8           Q    All right, let's look at exhibit 24.   This is another text exchange between you

 9   and Alexandra Preate.     Ms. Preate -- it's dated December 17, 2020, is the first one.

10           Ms. Preate wrote, "Hi!     Do you have the cell for Ken Cucinelli?      POTUS wants

11   Steve to call him.   I thought I had it but I do not."     It looks like you sent contact

12   information for Mr. Cuccinelli.

13           Do you know why the President wanted Steve Bannon to call Ken Cuccinelli?

14           A    I don't.

15           Q    Did you have any conversations with Ms. Preate about that?

16           A    No.

17           Q    Did you have any conversations with President Trump about that?

18           A    Not that I recall.

19           Q    Did you have any conversations with Ken Cuccinelli about it?

20           A    I spoke to Ken Cuccinelli several times over the year, but I don't remember

21   ever talking about the election, no.

22           Q    Okay.

23           You said earlier that there was a report about you, I think you said, having a

24   conversation with Chad Wolf about seizing voting machines.            So this may be what you

25   were referring to.
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 1           Jonathan Karl wrote in his book "Betrayal" that in mid-December 2020 you called

 2   Acting Secretary of Homeland Security Chad Wolf, telling him, "The President is upset.

 3    He doesn't understand why you haven't gotten control of the voting machines," and that

 4    Mr. Wolf told you that DHS had no such authority.

 5           Is that what you were referring to earlier?

 6           A      That's what I was referring to, yeah.

 7           Q      Okay.     And you're confident that did not happen?

 8           A      I'm confident that was not a quote I said, yes.

 9           Q      Okay.     Did you say anything at all to that effect?

10           A      No.     The only time I remember calling him was about Chris Krebs.

11           Q      Okay.     And during that conversation, did you have any discussion about

12   seizing voting machines?

13           A      Not that I recall.   No.

14           Q      Okay.

15           Are you aware of a meeting that took place on December 18, 2020, between

16    President Trump, Sidney Powell, General Michael Flynn, Mayor Giuliani, and others?

17           A      I need maybe a little more.     What day of the week was this?   Was this at

18   the White House?        What was this?

19           Q      It was at the White House.     I don't know offhand what day of the week it

20   was.    It was one where they discussed -- apparently, it went on for several hours, where

21   they discussed challenges to the 2020 election, including the possibility of seizing voting

22    machines, and the possibility of appointing Sidney Powell as special counsel to investigate

23   voter fraud.

24           Is that meeting familiar to you at all?

25           A      Yes, it is.
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 1              Q       Do you have any knowledge of it other than through the media?

 2              A       I have knowledge of it just through what Molly had relayed to me, and

 3    maybe the Staff Secretary or one of her staffers.

 4              Q       Okay.   What do you recall them relaying to you about the meeting?

 5              A       That --1 think it was one of the other staffers, maybe Staff Secretary.

 6              Q       And that's Derek Lyons?        Or who was the Staff Secretary at the time?

 7              A       It probably still was Derek.     It was one of the staffers that was either

 8   around -- I don't think they were in the meeting.

 9              But apparently this went really late.       They spent many hours on it.     And the only

10   thing I knew was that Sidney Powell wanted to be appointed to a position, but I don't

11    know the title or whatever it was, but that nothing really came about, but that that was

12    being discussed.

13              Q       Okay.   Do you know why it didn't happen?

14              A       I imagine White House Counsel probably said no.

15              Q       Okay.   Is that speculation, or do you have any information?

16              A       I have no information, no.      That's speculation.

17              Q       Okay.

18          -                   I'll pause here.    Any other staff questions?

19              Okay.

20              Do any members, if we have them on the line, have any questions?

21              Okay.

22                       BY-:

23              Q       Let's go to exhibit 25.    This is a tweet from Donald J. Trump from the

24    @realDonaldTrump Twitter account.

25              Starts off, "Peter Navarro releases 36-page report," which I believe is the so-called
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 1   "Navarro Report" that we already talked about.              He ends with, "Big protest in D.C. on

 2   January 6th.     Be there, will be wild!"

 3           Dated December 19, 2020, but 1:42 p.m., so really in the overnight between the

 4   18th and the 19th, so suggesting a few hours after the meeting that we just talked about.

 5           Were you involved at all in the preparation of this tweet?

 6           A      No, I wasn't.      But this is 1:42 p.m., not a.m., so --

 7           Q      Oh, I'm sorry.

 8           A      Yeah.       But, no, I wasn't.

 9           Q      Oh.       I apologize.   Apparently the timestamp is wrong.        I'm told by my

10   colleague that, even though it says 1:42 p.m. --

11           A      Okay.

12           Q      -- that it was in fact 1:42 a.m.

13           A      Got it.     No, I wasn't involved in this.

14           Q      Okay.       Did you discuss that with the President?

15           A      No.

16           Q      So, around that time, did you have any conversations with the President

17   about the upcoming joint session of Congress on January 6th?

18           A      The only thing I remember was when they were discussing Pence's role, but

19   this was probably a little later on.

20           Q      Okay.       We will get to that in a moment.

21           Other than a discussion about Pence's role, do you recall having any conversations

22   with the President about the significance of January 6th, whether it was the rally or the

23    march or the joint session of Congress?

24           A      No.

25           Q      Okay.
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 1           We'll go to exhibit 26.    And this is a text exchange that appears to be between

 2   you, Molly Michael, and Nick Luna.

 3           And on December 20, 2020, Ms. Michael wrote at 7:20 p.m., "Good evening!

 4   Sidney Powell is at the WH and wanting to see POTUS tonight at the direction of Flynn to

 5   give POTUS documents.         I am going to call Sidney right now -- but I wanted to let you all

 6    know in case they call you on it as well!"

 7           Do you know anything about the context of this?

 8           A      No.

 9           Q     Okay.     Do you know anything about why General Flynn was asking Sidney

10    Powell to see the President and give him documents?

11           A      No, I don't.

12           Q      Do you recall whether the --

13           [Cross-talk.]

14           A     -- election, but I don't know what this is about.

15           Q     Okay.     Do you recall whether Ms. Powell actually did end up seeing the

16    President and delivering any documents?

17           A      I don't know about this particular night, no.

18           Q      It looks like, I think it's Nick Luna that then wrote, "Thank you for the heads

19    up molly.    Godspeed."

20           And then you sent an emoji that I guess is sort of a neutral face but not looking

21   very happy.     What did that mean?

22           A     Yeah, I mean, this stuff was getting a little out of control, so I think that

23   speaks for itself.    We all know what that emoji means.

24           Q     Yeah.     Out of control in what way?

25           A     Just the constant bombardment, you know, like, the documents and the this
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 1   and "we need to see him now" and "we're at the White House and you gotta let us in"

 2   and -- you know.      It was just, you know -- it was too much.

 3           Q     So, in addition to the volume of their activity, did you have any concerns

 4   about, you know, the substance of it, the advice they were giving the President or the

 5   actions they were taking?

 6           A     No, I mean, I thought everything should've been looked into, but I

 7   didn't -- not at that time, no.

 8           Q     One second.

 9                                 Can I ask a question?

10           -              Yes.    Go ahead.

11                   BY

12           Q     Mr. McEntee, you've kind of described some of these people as the fringe

13    people, and Sidney Powell being one of them.

14           Sounds like there was an urgency with their request to get documents and

15    messages to the President.       Is that fair?

16           A     Yeah.

17           Q     And did you think that that urgency reflected their sentiment that the

18   election had indeed been stolen?         Wasn't that the reason for the bombardment, as you

19   described?

20           Mr. Warrington.       You're asking him to speculate about their motivations?

21                   BY

22           Q     Well, had that been conveyed to you as the reason -- as to the reasons for

23   the bombardment of materials or showing up at the White House?

24           A     Well, some of the people we had interacted with previously, this was just

25    kind of how they acted always -- like Jenna Ellis, for example.
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 1           Q     So, regardless of the topic.

 2           A     Regardless of the topic, yes.

 3           Q     But?    Go ahead.        But in this instance?

 4           A     Yeah, I mean, if they thought, you know, they were on to some, you know,

 5    big thing, we understood why they wanted to be so active.          But the way they went

 6   about it sort of was off-putting to the staff, because, you know, it was just -- it would be

 7   super-late at night, or, you know, they would be saying, "Oh, they're not letting me see

 8   the President," you know, instead of just going through somewhat of a normal procedure,

 9   scheduling a time to come by.       You know, it could still be the same day or whatever.

10    But they were kind of just bullying their way in.

11           Q     Did any of them have a sympathetic ear with any of the staff, in the sense

12   of on the same page as far as getting the message to the President?

13           A     Not that I saw, no.

14                                Go ahead.       Sorry.   Did you want it back?

15

16                   BY-:

17           Q     I'm going to switch to a different topic now.       Did you have any

18   conversations with anybody at the Department of Justice about the Justice Department's

19   investigations of voter fraud?

20           A     Not that I recall, no.

21           Q     And I think you said this earlier.      You don't recall any discussions with Heidi

22   Stirrup on that topic?

23           A     I don't, no.

24           Q     Okay.

25           I mentioned earlier Jeff Clark.      Did you have any knowledge of the possibility of
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 1   the President appointing him as Acting Attorney General?

 2           A     I knew that they were considering him for something, and I saw him coming

 3   out of a meeting in the Oval Office.

 4           Q     Do you remember when that meeting was?

 5           A     I don't.    Sometime in December, and it was with a lot of DOJ officials.

 6           Q     Do you remember anything that he or others said coming out of that

 7    meeting?

 8           A     I don't, no.

 9           Q     Do you have any knowledge of a proposal to have the Justice Department

10   send a letter to State officials encouraging them to hold special legislative sessions or to

11   send alternate slates of electors?

12           A     No, I don't.

13           Q     Are you familiar with a threat by senior Department of Justice officials to

14    resign if Jeff Clark were appointed Acting Attorney General?

15           A     I had heard from one of the staffers that -- I forget which DOJ official, but

16   one of them had said that.      Yeah, I had heard that.

17           Q     Do you remember who you heard that from?

18           A     I don't.

19           Q     To your knowledge, did Pat Cipollone ever threaten to resign?

20           A     I don't know if he ever verbally threatened to resign, no.

21           Q     Okay.      Did you ever think he might resign?

22           A     Yeah.

23           Q     Why?

24           A     Not even only to do with the election; just, throughout the year, him and the

25    President, it was clear they didn't see eye-to-eye on certain things.     And they got in a
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 1   few different arguments, and I thought he could snap at any moment and resign, but he

 2   didn't.

 3             Q    What was the nature of their disagreements?

 4             A    I'm trying to remember.      The election -- I don't remember the election, but

 5    I remember, previously, there was something Chuck Schumer said threatening someone,

 6   and he wanted them to, like, take up a legal case against him.       But this was earlier in

 7   2020.

 8             Q    Sorry.     The President wanted to take up a legal case against Chuck

 9   Schumer?

10             A    Yeah.

11             Q    Okay.     And Mr. Cipollone said it couldn't be done or something to that

12   effect?

13             A    Yeah.     Something like "it won't have the effect you think" kind of a thing.

14             Q    Okay.      And that was not related to the 2020 election?

15             A    No.      I don't remember anything related to the 2020 election.

16             Q    Okay.

17             Do you know whether Mr. Philbin ever threatened to resign?

18             A    I don't believe he threatened to resign, no.    I only remember him, like I said

19   earlier, that one instance when they were meeting in the Oval and he was advising him

20   to, you know, look to the next fight.

21             Q    Did you ever think that Mr. Philbin might resign?

22             A    No.

23             Q    Okay.

24             Are you aware of any other White House staff who threatened to resign related to

25   issues dealing with the 2020 election?
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 1             A       No, I'm not.

 2             Q       Okay.      But we'll get to later, some people did resign on or after January 6th.

 3    Is that correct?

 4             A       Right.     And that's different, right?

 5             Q       Yeah.      Okay.    So who do you recall resigning on or after January 6th?

 6             A       Stephanie Grisham, who was the First Lady's chief of staff.       Rickie Niceta,

 7   who was the social secretary.              One junior staffer in the com ms shop; forget her name.

 8    Matt Pottinger, the Deputy National Security Advisor.             And then I think, if I remember

 9   correctly, Betsy DeVos and Elaine Chao the next day.              Those ones are the ones that

10   come to the top of my head.

11             Q       Did you have conversations with anybody else about them potentially

12    resigning?

13             A       No.      No, I didn't.

14             Q       Okay.      Was there anybody that you sort of talked into staying?

15             A       No.      The night of January 6th, Robert O'Brien called me to let me know he

16   was not resigning, because that was in the media, and that I should tell the President

17   that.

18             Q       Did he say anything about why he was not resigning?

19             A       Not that I remember, no.

20             Q       Okay.

21             Okay.     I asked you earlier about a meeting with Members of Congress.            And

22   then there was another one -- I think this is a different one than the one I asked

23   about -- on December 21, 2020, with Members of Congress.                 We believe it was

24    Representatives Biggs, Brooks, Gaetz, Gomer, Gosar, Greene, and Hice, but possibly

25   others.
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 1           Do you have any knowledge of that?

 2           A     I think that's the one I saw Gosar at.

 3           Q     Okay.

 4           A     I wasn't in the meeting.      I saw them.   They were in the Cabinet Room

 5   waiting.    And then I saw them go into the Oval Office for a meeting.

 6           Q     Okay.

 7           So you mentioned earlier -- and I want to come back to it -- that you had a

 8   conversation with the President about Vice President Pence's role in the joint session of

 9   Congress.    What do you recall about that conversation?

10           A     I remember a small meeting in the Oval Office, and a few different people

11   were talking about it.       And then they were saying, "Well, has anything like this ever

12    happened before?      What's the precedent?       Like, is there anything that" -- you know.

13           And then somebody looked to me -- I don't know if it was Meadows or the

14    President or somebody else -- and said, like, "Can you look into the precedent for that?"

15   And I looked into it, and I could only find one thing.     And I put that in a document and

16   gave it to them.

17           Q     And was that regarding Thomas Jefferson's role --

18           A     Yeah.

19           Q     -- when he was Vice President?

20           A     Yeah.

21           Q     And do you recall when that meeting was?

22           A     I don't, no.

23           Q     Do you remember who else was there?

24           A     Probably late December.        I only remember for sure Meadows and the

25    President, but there were some others.
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 1           Q     Do you recall if any attorneys were there?

 2           A     I don't, but I believe White House Counsel was there.

 3           Q    Okay.     Pat Cipollone himself?

 4           A     Him or Philbin.     Yeah.

 5           Q    And this was in the Oval Office?       Is that correct?

 6           A    Yeah.

 7           Q    Was it a meeting on this topic, or it just came up?

 8           A     It just came up.

 9           Q     Do you remember what the meeting was about?

10           A     I don't, no.

11           Q    Was the Vice President there?

12           A     I don't believe he was there, no.

13           Q    Okay.     Was anybody from the Vice President's staff there?

14           A     I don't remember if Short was there.        I don't think so.

15           Q    Okay.     What can you recall being said at the meeting?

16           A     I remember I left to go look this up, so I wasn't really there for the meeting.

17   This was sort of at the beginning when they were talking about, "Has this ever

18    happened," you know.        And then they said, "Go look into this," so I left.   And then I put

19   that document together and came back and gave it to them.

20           Q     Do you have any idea why the President would ask you to do that, given that

21    he's got a White House Counsel's Office, a Justice Department, a whole lot of lawyers

22    representing the campaign?

23           A     Probably because, like, he would see something maybe in 3 weeks, and I

24   could get it to him in, like, 20 minutes.

25           Q    Okay.     How quickly did you give it to him?
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 1          A        For sure that same night.

 2          Q        Okay.    Did you send the document to anybody else?

 3          A        Yeah.    I sent it to Short, and I believe I gave it to Meadows.

 4          Q        Okay.    Did you give it to the President also?

 5          A        Yes.

 6          Q        Okay.    Did you discuss it with the President?

 7          A        No.     No.

 8          Q        Okay.    Did you discuss it with Mark Meadows?

 9          A        Not that I recall, no.

10          Q        Did you discuss it with Marc Short?

11          A        No.

12          Q        Okay.

13          Let's go to exhibit 31.

14          Is that the document you're referring to?

15          A        Yes.

16          Q        Okay.    How did you go about researching this?

17          A        Me and one of my assistants just looked up and we found, like, one or two

18   articles that were talking about this instance.        And it was the only thing even close to

19   what we could find.       Obviously, it doesn't match up perfectly, but it's all we could find

20   on the topic.

21          Q        Do you remember who it was from your team that helped you research this?

22          A        Yeah.    Dan Huff.

23          Q        And what was Dan Huff's position?

24          A        I mean, he's a lawyer as well, but his -- I guess he was, like, special advisor in

25   the Personnel Office.         He was sort of a utility player.
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 1           Q     Okay.      But he was not in the White House Counsel's Office, correct?

 2           A     No.     Correct.

 3           Q     Did you ever witness any conversations between the President and the Vice

 4    President about the Vice President's role?

 5           A     No.     No.

 6           Q     Or any phone calls?       Anything like that?

 7           A     I remember the President saying, "Michael, do the right thing."       You know,

 8   "Do what you think is right, Mike."       That's all I heard him say.

 9           Q     You heard him say that to Vice President Pence?

10           A     Yeah.

11           Q     Was it over the phone or in person?

12           A     In person.

13           Q     Okay.      And was that in the Oval Office?

14           A     Yeah.

15           Q     Was anybody else there?

16           A     I think Short was there, yeah.

17           Q     Do you remember when that was?

18           A     I don't.      It was, like, when he was going up for the evening, the President,

19   and they were just finishing something up, so I came in to, like, grab all his stuff, and then

20    he said that to him.

21           Q     Okay.

22           A     At the conclusion of the day at some point.

23           Q     And did the Vice President say anything in response?

24           A     No.     He just nodded.

25           Q     Okay.      Did you interpret the nod to suggest he was going to do what the
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 1    President wanted?

 2             A    No.      I didn't.

 3             Q    So more of just an acknowledgement that he understood what the President

 4   was saying?      Or how did you interpret it?

 5             A    The message was received.         I'll do what I think is right.   Yeah.

 6             Q    Okay.      I mean, did he actually -- did the Vice President say, "I'll do what I

 7   think is right" or --

 8             A    No.

 9             Q    -- just nodded?

10             A    Just nodded.

11             Q    Okay.      What was the President's demeanor?

12             A    He was sort of mellow at that time.        It was, like, I don't know, pretty late at

13    night.    He was just heading upstairs.

14             Q    Okay.      What --

15             A    It was sort of off the cuff.

16             Q    -- was the Vice President's demeanor?

17             Oh, sorry.    I cut you off.   What did you say?

18             A    I said he just sort of said it, you know, off the cuff in front of me.     That's all I

19   saw.      There was no unusual demeanor or anything.

20             Q    What was the Vice President's demeanor?

21             A    Normal.       Just pleasant.

22             Q    Okay.

23             Now, when he said something like, "Mike, do the right thing," you believed that

24   was with regard to his role in the joint session of Congress on January 6th?

25             A    Yeah.
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 1           Q     And what did you base that on?

 2           A     The timeframe.        It was, like, you know, a few days before all that was

 3    happening.

 4                          Does anybody else have questions on that?

 5                                Yes.

 6                   BY

 7           Q     So, earlier, you mentioned that the research that you found on Thomas

 8   Jefferson in the 1800 election, you said it wasn't exactly on point.      What about that set

 9   of facts didn't quite match up with --

10           A     Well, I mean, it was before, like -- from what I remember, it was, like, before

11   there was that FEC rule.       I don't know; maybe we footnoted it or something.      I just

12    remember thinking it's slightly different, but it's the only time we've seen anything even

13    remotely close to this, so --

14           Q     Okay.    So --

15           A     At a minimum, the VP has discretion to address issues with the electoral

16    process.   Pretty vague, you know, but that's all I could find.

17           Q     So I certainly don't want to put words in your mouth, so feel free to correct

18    me if I'm stating this in a way that's not accurate.    But it sounds like what you're saying

19   is, you know, this historical precedent is similar, not exactly the same, so the conclusion

20   we made was kind of --

21           A     Yeah, the --

22           Q     -- flawed.

23           A     -- conclusion to be made was that, vaguely, the Vice President has, you

24    know, some discretion in the electoral process.

25           Q     Okay.
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 1           And did you ever talk with anyone about what you thought the differences were

 2    between this Thomas Jefferson set of facts and what Vice President Pence was being

 3   asked to do?

 4           A      Nope.     I just passed it along.

 5           Q      Okay.

 6                                 I don't think I have anything else on this.

 7          -Okay.

 8                    BY
 9           Q      Let's turn to exhibit 28.    This is a memo that we believe was written by

10    Professor John Eastman.

11           Do you know whether you've seen that before?

12           A      I don't think I've seen this, no.

13           Q      Did you have any conversations with the President or anybody else about

14   the so-called "Eastman memos," as they're now referred to?

15           A      No.

16           Q      Let's go to exhibit 29.     And this appears to be a text exchange between you

17   and Molly Michael dated December 30, 2020.             It looks like you were asking Ms. Michael

18   for contact information for William Olson or Mark Martin, and then she sent them.

19           Do you recall why you were asking for their contact information?

20           A      No.     Somebody needed their information.         I don't know if it was the

21    President or Meadows or someone.

22           Q      Okay.    You don't recall if that was the President?

23           A      I don't, no.    Could've been either of them.

24           Q      Did you contact Mr. Olson or Judge Martin?

25           A      I think I may have called Olson.      Sounds familiar.
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 1           Q     Do you remember why you called Olson?

 2           A     Probably to set up a call with the President.

 3           Q     Okay.     Do you recall if you discussed anything substantive or if it was just

 4   setting up a call?

 5           A     I remember calling a few of these guys to set up calls with the President, one

 6   of whom went on a little bit of a rant subsequently, but I wasn't really participating.

 7   And I don't know if it was either these two or somebody else he had me set up a call with

 8   that was a lawyer working on this stuff.

 9           Q     So you set up a call but stayed on the call with him?

10           A     No.     I mean just, like, pass the phone or say, like, hey, what time today are

11   you free for a call, that kind of a thing.

12           Q     Okay.     Would you sometimes place a call and then just hand the phone

13   over to the President?

14           A     Yeah.

15           Q     Okay.     And was this when you were traveling or when you were in the West

16   Wing?

17           A     Traveling.

18           Q     Okay.     And during this time period from the election to the inauguration,

19   did you travel with the President?

20           A     Yes.

21           Q     Okay.     And were you still sort of in a body man function as well as head of

22    PPO?

23           A     Yeah.

24           Q     Okay.

25           And then later in this exchange, it says, "Okay and John Eastman.       Sorry, I've
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 1    been given a lot of assignments," suggesting somebody was asking for John Eastman's

 2    phone number.

 3           Do you recall if that was the President?

 4           A     Most likely was.      Yeah.

 5           Q     And do you know whether he had a talking point?

 6           A     "Sorry, I've been given a lot of assignments" is me?

 7           Q     I think that's you.

 8           A     Yeah.    No, I don't remember, but I'm sure it was.

 9           Q     Okay.    And you don't remember whether the President ended up talking to

10   John Eastman?

11           A     I don't, no.

12           Q     And when you would sometimes -- let me back up.          I think you said

13   sometimes you would, like, place a call and then hand the phone over to the President.

14    Is that correct?

15           A     Yeah.    Most of the time I would just make sure it was the right number and

16   then write the number down for him, and he could call whenever he'd like.

17           Q     Okay.    So then he would call, using his own phone?

18           A     Yeah.

19           Q     But sometimes you would call, using one of your phones, and then hand the

20    phone to the President?

21           A     Yeah.    Or he would hear me on the phone with them and say, "Let me just

22   talk to them now," you know.        I'd say, "Okay, here," you know.

23           Q     And would that be your work phone or your personal phone?

24           A     Work.

25           Q     Meaning the White-House-issued phone?
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 1           A    Yeah.    It could be either.      I mean, there were times I used my personal.

 2    But if my work phone was charged and I had it, I would use that.

 3           Q    All right.

 4           Let's go to exhibit 47.     It's an email dated January 2, 2021, 8:40 p.m., from

 5   William Olson to you.

 6           "John, hope it helps.      I'll be around.   Bill."

 7           And then, if you look at the next page -- we'll scroll for you -- there was one at

 8   8:49 p.m.:   "Sorry, this version has a key authority added.           Use this one."

 9           But the attachment that he appeared to have been sending is called "The Role of

10   the Vice President in Receiving Votes from the Electoral College."

11           Do you remember seeing that document?

12           A     No, I don't.

13           Q     Do you know who wrote that document?

14           A     No, I don't.

15           Q     Do you recall whether you gave it to the President?

16           A     I would've forwarded it to someone.             So you might have access to that.

17           Q    Okay.        I don't know that we do.     So you would've forwarded -- who would

18   you typically forward something like that to?

19           A    Staff Secretary.

20           Q    Okay.        And who was the staff Secretary at that point?        Because I think

21    Derek Lyons had left by then.

22           A    Yeah, I would've forwarded it to Molly or Staff Secretary, depending on if we

23   were on the road or at the White House.

24           The Staff Secretary at that time, I think, like, Madison Porter?

25           Q    So, on the last page of this I believe, it says, "For additional information:
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 1    Bill Olson" -- who sent it to you.   Who is Bill Olson?

 2           A      I don't know.

 3           Q     Okay.

 4           Then, "Bob Marshall (former member of Virginia House of delegates, 26 years)."

 5   Other than the description there in the parenthetical, do you know who Bob Marshall is?

 6           A      No, I don't.

 7           Q     Okay.    And "Kurt Olsen."     Who is Kurt Olsen?

 8           A      Don't know.

 9           Q     Okay.

10            Do you have any familiarity with a January 4, 2021, meeting between President

11   Trump, Vice President Pence, John Eastman, Marc Short, and Greg Jacob?

12           A      I don't, but this could've been the meeting that I was referring to earlier

13   when we went up after and he said, "Michael, do the right thing."

14           Q     Okay.

15           A      I think John Eastman was there and that meeting was concluding, but I can't

16   say definitively.   I think it was that same meeting.

17           Q     Okay.

18           We went over that one-page set of bullet points that you wrote up regarding

19   Thomas Jefferson's role in the electoral count.     Did you do any other memos for the

20    President regarding the joint session of Congress?

21           A     Yeah.    There was one other -- somebody brought up a point in one of these

22    meetings -- I don't remember who it was -- about splitting some sort of count, and they

23   said, "Can you go look into that?"

24           So, again, me and Dan Huff went back to my office and just researched that.          And

25   we gave them what we found on that, which was kind of, like -- I don't know.        It had
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1     never been done, but we just kind of broke down what this person was referring to.

2            Q       Okay.   And we'll go to exhibit 32, which might help refresh your

3     recollection here.

4            Okay.     This is a handwritten note.   "This is probably our only realistic option

5     because it would give Pence an out."     Signed, "Johnny."

6            Is that from you?

7            A       Yeah.
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                                                                                                    144




 1

 2    [3:16 p.m.]

 3                    BY-:

 4            Q     And was that written to the President?

 5           A      I think this was to Meadows, but Meadows-slash-the President.          He would

 6    read it and give it to him, or I gave it to him directly, I'm not sure.   They were both in the

 7    meeting when this thing was being talked about.

 8            Q     Okay.    So could you explain how it came about that you did this memo?

 9           A      Yeah.    Somebody brought up splitting some sort of vote.        And like the

10   other thing they said, can you look into that, like exactly what they meant by that?

11   don't know if it was one of these guys who called, because I don't know why they couldn't

12   get the information from that person.        So I went back, worked on this document, and

13   then brought it back to them.

14            Q     Okay.    So were you in the meeting where it came up, or did somebody call

15   you and ask you to do this?

16           A      No, they had spoken previously to one of these lawyers -- I don't know if it

17   was one of the Olsen twins or who -- about something about splitting the vote, and they

18   were trying to understand it.      So he said, can you look into what they mean by that?

19   So based on the very little information I had, this is what we came up with.

20            Q     Do you -- you don't remember who it was who asked you to do this?

21           A      It was probably the President.

22            Q     But, again, do you remember were you in a meeting when you were asked to

23   do this or somebody reach out to you?

24           A      No, it's -- so I spend the day in the outer Oval usually after the morning stuff.

25   So I'm just kind of there, you know.      So they're meeting about something.       Then he just
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 1   calls me in, says, can you look into this?      So then I go over to my office, type it up, bring

 2   it back, you know.

 3           Q     Okay.        So to the best of your recollection, as you were in the outer Oval not

 4    participating in the meeting, but you were called in, given this assignment, you looked

 5   into it, and wrote this up?

 6           A     Yeah.

 7           Q     And then did a handwritten cover note.             And do you recall who you gave

 8   that note to?

 9           A       I don't.

10           Q     Okay.        But was the meeting still going on?

11           A       No, this was later in the -- later in the day.

12           Q     Okay.        So to the best of your recollection, what was the question you were

13   asked to look into?

14           A       How could he possibly split the vote or something like that.

15           Q     And did anybody help you research this question?

16           A    Just the guy in my office.

17           Q     Who was that?

18           A       Dan Huff.

19           Q     Okay.        And, roughly, how long did it take you to do this assignment?

20           A       Maybe a few hours that day.

21           Q     And how did he go about doing it?

22           A       I think Dan was familiar with this argument for some reason because he had

23   talked to one of these lawyers.        But he mostly ran point on it, and I just kind of saw if it

24    made sense or not.        When it was finished I brought it back over and just said this is the,

25   you know, this is the only option.
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 1                 Q    So did Mr. Huff write this up?

 2                 A    I mean, me and him working together, but it was his research, yeah.

 3                 Q    And do you know what sources he relied on for his research?

 4                 A    I don't.    I don't know if he put a source on it or not.

 5             -                   Do you have a question?       Go ahead.

 6                        BY
 7                 Q    Sure.

 8                 So I just want to talk through the sort of text, you know, the handwritten note on

 9   top of this memo.

10                 So you wrote, "This is probably our only realistic option."      Only realistic option to

11   do what?

12                 A    Whatever they were trying to do at that time.

13                 Q    So it refers to the only realistic option to split electoral votes?

14                 A    I think, yeah, I think the goal at that time, from what I heard, was to send it

15    back to the States.          So I think it's referring to that.

16                 Q    So was the question to how was it possible to split electoral votes, or was

17   the question how to send the electoral vote back to the States?

18                 A    I don't -- I don't remember.

19                 Q    So, I mean, at least in my mind, those are kind of two different concepts,

20    right?        You know, one is, like, how many electoral votes you select or not, and the other

21   is, you know, adjourning the joint session and letting State legislatures have some time to

22    look into this issue.

23                 Do you have any understanding of what those concepts were he was talking about

24   then?

25                 A    No, I don't.
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 1             Q      Okay.   So later, sort of at the end of this note, you wrote, "This is probably

 2   our only realistic option because it would give Pence an out."        What did you mean by

 3   "give Pence an out"?

 4             A      Well, I thought it was, like, pretty obvious he wasn't going to just reject

 5   whatever, you know, reject the electors or whatever was being asked of him at that time.

 6   So when we looked into this, it was like, oh, this sort of puts it back to the States to

 7   decide.       I mean, I'd have to relock at the document, but that's what I mean by giving him

 8   an out.

 9             Q      Yeah, why did you think it was obvious that he wasn't going to do that?

10             A     Just the demeanor of him and his chief of staff.     I could just tell they were

11    not going to do it.

12             Q      Like his demeanor in the meeting?

13             A      Yeah.   Yeah.    I could tell he was just, you know, he was being cordial, but

14   it didn't seem like he was going to do anything out of the ordinary in this process.

15             Q      Can you describe what his demeanor was like that gave you that impression

16   that he wasn't going to do it?

17             A      No, it's just body language, you know, and just pretty timid.

18             Q      Did he ever say to the President, you know, "I don't think I'm going to do

19   that"?

20             A      Not that I ever saw, no.

21             Q      Okay.   So it was just your sort of read of body language that he wasn't

22   going to do that?

23             A      Yeah.

24             Q      And so what was it about those options that you felt like Mike Pence could

25   accept?
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 1             A      I would have to read it again, but basically this I don't think made him

 2    reject -- yeah, okay.      "So the VP doesn't" -- yeah, I don't know, it was just an interesting

 3   idea that somebody proposed, that he would accept half of the disputed States, and then

 4   I don't know if this would, like, give them the necessary time they needed.         I don't really

 5    remember.

 6             Q      Okay.    Other than the meetings that you were just telling me about, do you

 7    recall any conversations, either with the President or with Mark Meadows or anyone else

 8   in the White House, about what you thought Mike Pence was likely to do or not likely to

 9   do?

10             A      No, I didn't.

11             Q      That's all I have.

12                      BY-:

13             Q      So in preparing this memo that's up on the screen there, or set of bullet

14    points, whatever you want to call it, did you consult with the White House Counsel's

15   Office?

16             A      No.     But I probably gave them this document.

17             Q      Did they review it before it went to the President?

18             A      No.

19             Q      Why didn't you consult with them?

20             A      That -- I mean, that's just usually a waste of time.

21             Q      Why?

22             A      Well, it's for them to discuss.   You know, they were in the meeting.      Or,

23   you know, they say look into this, so I give it to everyone that was in that meeting, here

24   you go.       You know, it's not for me to decide.    Otherwise they'd say, where is that thing

25    I asked you about?        And I was like, White House counsel's reviewing it.    Like, well, that
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 1   was a week ago, you know.

 2           They knew -- I don't know about this particular one, but the Thomas Jefferson

 3   one, they definitely knew because they were in that meeting.

 4           Q     Okay.      So with regard to the Thomas Jefferson one, your recollection is that

 5    Mr. Cipollone was in the meeting?

 6           A     Yeah, when it was asked if there was any precedent, yeah.

 7           Q     And this one, the Pence can let the States decide, do you recall whether Mr.

 8   Cipollone was in that meeting?

 9           A     I don't.    It's likely, but I can't say definitively.

10           Q     Do you know whether Greg Jacob was in that meeting?

11           A     I don't know who that is.

12           Q     He was counsel to the Vice President?

13           A     Oh.     No, I doubt it.

14           Q     Do you know if Marc Short was in that meeting?

15           A     I don't believe so.

16           Q     Was the Vice President in that meeting?

17           A     No.

18           Q     Okay.      Do you remember anybody who was in that meeting?

19           A     Meadows and President Trump.

20           Q     Okay.      And do you remember if there were any outside lawyers there?

21           A     I don't think there were, no.

22           Q     So you think it was just the President and the chief of staff?

23           A     Yeah, because, I mean, if Short was in the meeting, I would have given him

24   this memo, but I don't remember giving him this memo.                  You know, whoever was in the

25    meeting, I'm basically doing the research and giving it back to them.           So I think it was
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 1   just Meadows and Trump.

 2           Q    And you think you gave this to the White House Counsel's Office after the

 3   fact?

 4           A    I believe I did, yeah, but I can't say definitively.   Definitely -- they definitely

 5   saw the Thomas Jefferson one.

 6           Q    Okay.    For this one, do you recall whether they responded in any way?

 7           A    No, I don't.

 8           Q    Okay.    What about on the Thomas Jefferson one?

 9           A    I don't think this one went anywhere.       I think the Thomas Jefferson one

10   was discussed, but I don't think they even discussed this.

11           Q    Okay.    The Thomas Jefferson one, do you know what the reaction was from

12   the White House counsel?

13           A    Yeah, I remember Philbin just bringing up something about the FEC rule now

14   that kind of changed the way, that made the, like, Pence's role more like perfunctory or

15   something.

16           Q    Okay.    But was it the Electoral Count Act?

17           A    I think it could have been, yeah.

18           Q    Okay.    And had you looked at the Electoral Count Act in the course of your

19    research on the Thomas Jefferson memo?

20           A    Yeah, I think we even made a footnote of it.

21           Q    Let's look at exhibit 33.   And it's a memorandum for the President, subject,

22   "Operation 'Pence' Card --    December 23rd."       But the memo itself is dated

23    December 22nd, 2020.

24           Do you know who wrote this?

25           A    No.
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 1           Q     Do you recall whether you've ever seen this before?

 2           A     I don't think I've ever seen this, no.

 3           Q     Okay.    Let's look at exhibit 34.   This one is a memo to President Trump

 4    prepared by Jenna Ellis dated December 31st, 2020.        Subject is "Constitutional Analysis

 5   of Vice President Authority for January 6th, 2021, Electoral College Vote Count."

 6           Do you recall whether you ever saw that?

 7           A     I don't think I've ever seen this, no.

 8           Q     Okay.    Let's look at exhibit 35.   This one is prepared by Jenna Ellis, to Jay

 9   Sekulow, dated January 5th, 2020, subject, "Vice President Authority in Counting Electors

10    pursuant to the U.S. Constitution and 3 U.S.C. Code Sections 5 and 15."       Have you ever

11   seen that before?

12           A     I don't think I've ever seen this, no.

13           Q     Okay.    Do you know what role, if any, Jay Sekulow had in challenges to the

14   2020 election?

15           A     No, I don't.

16           Q     Okay.    Do you know Jay Sekulow?

17           A     Not personally, but obviously he's been around President Trump a lot.

18    know he -- I think he worked on one of the impeachments, but I haven't really interacted

19   with him.

20           Q     That's correct.   He did work on one of the impeachments.          But do you

21    know if he had any role at all in the 2020 election?

22           A     No, I don't.

23           Q     Let's look at exhibit 36.   This has an email -- if we scroll down a little

24    bit -- an email from Mark Finchem to Paul Gosar, Tom Van Flein, Brian Kennedy.

25           The text says, "This is circulating now to all members of the House and Senate
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 1    now.    It is not the total package, but close."    It goes on.   Then the attachment is a

 2    resolution to hold Arizona electors.     And then there is a draft; also a letter to the Vice

 3    President.

 4            And then it looks like -- I don't know if you are BCC'd on this, or if it was forwarded

 5   to you, and there is just an email missing.      But it looks like you then sent to Robert

 6   Gabriel?

 7            Do you know why you sent it to Robert Gabriel?

 8            A      I have no idea.

 9            Q      Okay.      And who is Robert Gabriel?

10            A      He was Stephen Miller's assistant.

11            Q      Okay.      Do you remember seeing this email?

12            A      I don't.

13            Q      Let's go to exhibit 37.   And this is an email from Brandon Beach to Bill

14   White.       And then it looks like Mr. White forwarded it to several people on January 5th,

15   including you.

16            The email from Brandon Beach says, "Bill, attached is a letter that I sent to Vice

17    President Pence.       I believe if we can get a 10 to 12 day extension, we can blow this wide

18   open.    Thanks."

19            Do you know what he meant by, "We can blow this wide open"?

20            A      No, I don't.

21            Q      Okay.      Did you have any conversations with anybody about this?

22            A      No.

23            Q      Do you have any familiarity with a lawsuit that Congressman Goh me rt

24    brought entitled -- or captioned -- Gohmert v. Pence?

25            A      No.
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 1           Q     Are you aware of any meetings or conversations between Vice President

 2    Pence and Congressman Matt Gaetz regarding the Vice President's role in the electoral

 3   certification?

 4           A     No, I'm not aware of that.

 5           Q     Are you aware of any conversations between Congressman Gaetz and

 6    President Trump regarding the Vice President's role in electoral certification?

 7           A     No, I'm not.

 8           Q     Are you aware of any conversations or communications regarding the

 9    possibility of giving Congressman Matt Gaetz a pardon?

10           A     I know he had asked for it, but I don't know if he ever received one or what

11    happened with it.

12           Q     And how do you know that Congressman Gaetz asked for a pardon?

13           A     He told me.

14           Q     Tell us about that.

15           A     He told me to ask Meadows for a pardon.

16           Q     So Congressman Gaetz told you that he had asked Mark Meadows for a

17    pardon?

18           A     Yeah.      That's how I recall it, yeah.

19           Q     Okay.      Do you remember when he told you that?

20           A     I don't.

21           Q     Do you remember whether it was before or after January 6th?

22           A     I don't remember if it was before or after January 6th.

23           Q     Okay.      What were the circumstances where you were talking to

24   Congressman Gaetz?

25           A     I had dinner with him.
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 1             Q       Okay.      Was it just the two of you?

 2             A       Yeah.      I had dinner.    He didn't eat.

 3             Q       He didn't eat?

 4             A       He just stopped by briefly.

 5             Q       Okay.      Was this a dinner specifically to discuss the pardon?

 6             A       He said, like, can I meet you later?         I said, okay, I'll be here.   And then I

 7   think I, like, ordered some food.            He sat down.      He was there a few minutes.        He said,

 8    hey, this is what's going on, and then he left.

 9             Q       Okay.      And how did you know Congressman Gaetz?

10             A       I just interacted with him on the road, traveling with the President over the

11   years.

12             Q       Okay.      Do you know why he reached out to you in particular for this issue?

13             A       I don't.

14             Q       Okay.      What can you recall about what he said?

15             A       That they're launching an investigation into him, or that there is an

16   investigation into him, and he didn't do anything wrong, but they're going to try to make

17    his life hell.   And, you know, if the President could give him a pardon, that would be

18   great.     Something along those lines.

19             Q       Okay.      What did you say in response?

20             A       I just said, oh, okay.     I said, who knows about this?         I think he referred to

21    maybe Meadows, plus one other person he told.                  But it was pretty, pretty tight hold.

22   And then I remember asking about it later, and they said, no, we're not doing that.

23             Q       Who was it who said they weren't doing it?

24             A       I'm pretty sure it was Meadows.

25             Q       Did he say anything about why they weren't going to give him a pardon?
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 1           A      No.

 2           Q      In the pardon, was this in the context of I think it was a child trafficking

 3   investigation?

 4           A      I think that was the context, yes.

 5           Q      Did Mr. Gaetz ask for anything in return or offer anything in return for the

 6    pardon?

 7           A      No.

 8           Q      Did he discuss the 2020 election with you?

 9           A      No.

10           Q      Did he discuss the joint session of Congress on January 6th with you?

11           A      Not that I recall.

12           Q      Did you get back to Congressman Gaetz with an answer about whether there

13   would be a pardon?

14           A      Not that I recall.

15           Q      Okay.     Did you discuss the possibility of a pardon for Matt Gaetz with

16   anybody other than Mark Meadows?

17           A      No, I don't believe I did.

18           Q     And did you ever discuss the possibility of a pardon with Mark

19    Meadows -- sorry, with Congressman Gaetz -- again after that?

20           A      I don't believe I did, no.

21           Q      Did you discuss the possibility of a pardon at any point before the dinner?

22           A      No.     That's when I first learned about it.

23           Q      Did you have any conversations with Rudy Giuliani about the Vice President's

24    role in the electoral certification?

25           A      No.
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 1                Q    So other than that one time that you already told us about, did you ever

 2   witness any conversations between the President and the Vice President regarding the

 3   Vice President's role in the joint session of Congress?

 4                A    No.

 5                Q    Do you have any knowledge regarding efforts by the President or anybody

 6   else at the White House to lobby Vice President Pence to take a more active role in the

 7   joint session of Congress?

 8                A    I only heard of I think it was Eastman that went over to talk to Short about it.

 9   That's all I remember.

10                Q    Okay.   How did you learn about that?

11                A    Just through one of the staffers, you know, just the grapevine.

12                Q    What did you hear about it?

13                A    That Eastman went and talked to, I think, Short and Pence's attorney and, I

14   don't know, made his case or something.

15                Q    Did you have a view on John Eastman's case or theory?

16                A    No.

17                Q    Why don't we take a 5-minute break here before we move on to the next

18   topic.

19                A    Okay.

20                Q    Okay.   We'll be back in 5 minutes.

21                [Recess.]

22            -                Okay.   We'll go back on the record.

23                       BY
24                Q    Mr. McEntee, did you have any other conversations regarding potential

25    Presidential pardons after the November 2020 election?
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 1          A     Yeah, there was one -- I mean, there were hundreds of these done, but one

 2   was a family friend of ours, and that name was brought up to me.

 3          Q     So was that related at all to the January 6th attack on the Capitol or the

 4   election?

 5          A     No.

 6          Q     Okay.    Were you involved in or did you witness any conversations about

 7   the possibility of a blanket pardon for everyone involved in January 6th?

 8          A     I had heard that mentioned, yeah.

 9          Q     Do you recall where you heard that?

10          A     I think the President floated the idea and Cipollone said no.   One day when

11   we walked in from -- one day when we walked into the Oval, I remember it was being

12   discussed, and I remember the President saying, well, what if I pardoned the people that

13   weren't violent, that just walked in the building?    And I think the White House counsel

14   gave him some pushback, and that's all I really saw.

15          Q     Do you recall what the nature of the push back was?

16          A     I don't, no.

17          Q     I mean, obviously, it's ultimately the President's decision, but did he seem to

18    be persuaded by the White House counsel?

19          A     At that particular moment he did, yeah.

20          Q     Okay.    Do you know if it ever came up again?

21          A     I don't know if it ever came up again.

22          Q     Let's turn to January 6th, 2021.   Can you just walk us through your day?

23    Like when did you get to work, roughly, and what happened?

24          A     Yeah, I got to work normal time, like 7 or 8 a.m.   We did have normal

25    personnel work that morning, which was like a Team meeting.       And then at that time we
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 1   were just filling board positions.   There wasn't any, you know, hiring.

 2            So went through some of the boards, just did that for a few hours, and then I left

 3   for lunch.   I think I went to Shake Shack or Chipotle, one of those.       And then I was out,

 4   so I was like, oh, let me run a few errands, you know, I'm was already out.

 5            And while I was out at the dry cleaners or whatever, people are texting me, like,

 6   you got to see what's going on.      It's getting crazy.   So I look at Twitter.   I'm getting

 7   texts.   And I happened to be right by my apartment.          So I ran up to put on the news to,

 8    like, see what was going on, and then I ended up actually just staying there the rest of the

 9   day.

10            Q    Did you see the President that day in person?

11            A    No.

12            Q    Did you have any conversations with the President that day?

13            A    Only that night.

14            Q    Okay.    We'll get to that in a minute.

15            Did you go to the rally on the Ellipse?

16            A    No.

17            Q    Were you involved in any conversations about planning the rally?

18            A    No.

19            Q    Were you aware of any discussions about groups such as the Proud Boys,

20   Oath Keepers, or anybody else being involved in the protests?

21            A    I was not.   The only thing I had to do that even remotely dealt with the rally

22   was the President wanted to make sure it was safe.         And either a day or two or three

23    before, he had me call Chris Miller and ask if we could bring the National Guard in.

24            Q    Okay.    What did Mr. Miller say?

25            A    I think he said he would look into it.
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 1            Q       And do you know if anything happened after that?

 2            A       I don't know if anything happened or came of it, no.

 3            Q       Did you report back to the President on what Secretary Miller said?

 4            A       I just let him know that I relayed his message to Chris, yeah.

 5            Q       And did the President say anything about why he wanted the National Guard

 6   there?

 7            A       I think because that summer we had the Republican Convention.         And if

 8   you remember, like, Rand Paul was getting attacked in the street.         And, I don't know, it

 9   just got kind of crazy.      So this time he thought we're going to have so many people, like,

10   you know, we need to make sure that this city is safe.        That kind of a thing.

11            Q       Do you know why he said it to you?

12            A       No, I think it was just on his mind and I just happened to be next to him.     So

13    he said call Chris and let him know.     So I just called Chris.

14            Q       Were you traveling at the time?

15            A       We could have been, like, golfing, yeah, or something.     You know, we could

16    have been at his golf course maybe.

17            Q       Were you involved in any way in the preparation of the President's remarks

18   for the rally?

19            A       No.

20            Q       Did you have any conversations with the President or anybody else about

21   the possibility of the President going to the Capitol on January 6th?

22            A       Not that I recall, no.

23                      BY
24            Q       Mr. McEntee, when you called Mr. Miller, did you have a discussion about a

25   specific number of troops?
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 1            A     I don't know.    I think the President did have a number in mind that I

 2    relayed, but I don't think I, like, you know -- I just said, you know, like, Chris just, you

 3    know.    And he said, oh, I'll do whatever I can.     I'll look into this.   It'll be fine.

 4   Something along those lines.

 5            I think I relayed, like, five or ten thousand that the President wanted, but I don't

 6    remember exactly.

 7            Q     Do you remember when the date was of that conversation with Chris Miller?

 8            A     No.     It was in the days leading up to January 6th.

 9            Q     Were you aware that there was a request for the National Guard by the D.C.

10    Mayor at that time already in place?

11            A     No.

12            Q     That's it.

13                     BY
14            Q     Were you in the Oval Office at all on January 6th, 2021?

15            A     Not that I'm aware of.     I could have possibly gone in there early in the

16    morning, like, that would occasionally happen if somebody needed something or before

17   the President was there.       I don't think I did that day.   But I was definitely not there

18   during the working day.

19            Q     Okay.     And were you in the outer Oval at all that day?

20            A     Again, if I'm dropping off a paper or something, it's possible.         But from

21   what I remember, I was pretty much just in EOB.

22            Q     Did President Trump ever talk to you about the events of January 6th even

23   after the fact?

24            A     Just vaguely that night when we spoke.

25            Q     Okay.     Tell us about that conversation.
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 1            A   I called, and I just went down the list of all the people who had resigned.

 2   And then we discussed a little bit about each just colorfully.      And then he just said this is

 3   a crazy day and, you know, I'll see you tomorrow.        But he didn't go into many details.

 4            Q   Okay.     Can you remember anything else he said about the events of that

 5   day?

 6            A   I can't, other than he acknowledged that it was, like, wild, and we would talk

 7   tomorrow, you know, or next -- we'll see you in the morning, or something like that.

 8            Q   Okay.

 9            A   We were mostly going through all these people that resigned, and then kind

10   of talked about them.     And I was just relaying, because O'Brien called me and said you

11   got to let him know I'm not resigning.      So then I called, and he said, well, who has

12    resigned?   And then, like, I went through the list of the ones I knew at the time.       And

13   then the next day some more came out.

14            Q   When the President said it was a crazy day, or something to that effect, what

15   was his tone?

16            A   Kind of like a little disbelief.   Like, wow, like, can you believe this shit, you

17    know?

18            Q   Did he express any sadness over the violence?

19            A   No.     I mean, I think he was shocked by, you know, it getting a little out of

20   control, but I don't remember sadness, specifically.

21            Q   And when you say a little out of control, was that just your characterization,

22   or was that his characterization?

23            A   That's just my characterization.

24            Q   Did he characterize it at all?

25            A   No, not really.
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 1           Q      And what makes you characterize the events of January 6th as getting a little

 2   out of control?

 3           A      I mean, well, just that amount of people, them charging.      You know, it just

 4   got a little rowdy.

 5           Q      Okay.   Well, people died, so it's more than a little rowdy, isn't it?

 6           A      Yeah, yeah.   That's a little more than a little rowdy.

 7           Q      And then did you discuss it any further with him after January 6th?

 8           A      I discussed it one more time with him when he was going to give a speech

 9   either a day or two later.   And Jared asked me like, hey, if you see him just, you know,

10    make sure you help us get this all past us and let's just get out of here kind of thing.     So I

11    remember discussing very briefly, saying just like, yeah, you know, just give this speech,

12    let's try to move on and, you know.

13           Q      Okay.   Can you describe a little more for me about what Mr. Kushner was

14   asking you to do?

15           A      I don't remember if it was a video message or a speech he was going to give

16   or something, but I know people were deciding, like, what he should say or what he

17   should do.     And then he knew, since I'm always with him, that, hey, if he asks your

18   opinion, you know, try to nudge this along.      This will help everything cool down.

19           Q      Nudge it along in what way?     What does that mean?

20           A      To make sure he gives -- delivers this speech or whatever it was.        I don't

21    know if it was a video or a speech or something.     It was within a few days of after

22   January 6th.

23           Q      Was the implication that the President was in some ways reluctant to give

24   that speech?

25           A      Yeah.
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                                                                                                         163




 1                 Q    Okay.    What do you base that on?

 2                 A    The fact that somebody has to tell me to nudge it along.

 3                 Q    Okay.    Do you have any other information suggesting the President was

 4    reluctant to give that speech?

 5                 A    No, other than them just telling me that I needed to nudge it along.

 6                 Q    And the President did give a videotaped speech on January 7th.          Do you

 7   think it was that speech?

 8                 A    It could have been.      That seems pretty close.    I felt like it was a day or two

 9    later, but it could have been that speech, yeah.

10                 Q    And do you have any understanding as to why the President was reluctant to

11   give the speech?

12                 A    No, I don't.

13                 Q    Okay.    So tell me in a little more detail about the conversation you had with

14   the President, then, about the speech.

15                 Mr. Warrington.            can we clarify, because I think he said he wasn't sure if it's

16   the video on January 7th?

17             -                 Okay.

18                 Mr. Warrington.       I don't know what video speech we're talking about at this

19    point.

20                        BY-:

21                 Q    Yes.    Whatever speech it was that you discussed with the President, tell us

22   what your conversation was with the President.

23                 A    It was something like, oh, I don't like some of the verbiage here, you know,

24   and I just said, oh, I think it'll be fine.     It was very minimal, but, you know, that's -- that

25   was all my participation.
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 1            Q    Do you know what verbiage it was that he didn't like?

 2            A    No, I don't.

 3            Q    Was this in the context of him, like, holding a script or something?        Or how

 4   did it come up?

 5            A    Right, yeah, there was some written text that he was going to read.           So

 6    maybe it was this video.      I felt like it was a few days later, but it could have been this

 7   video.   And, yeah, that's all I remember, him saying, oh, I don't like everything in it.

 8   And I think I just said, oh, it'll be fine and, you know, that was -- that was it.

 9            Q    Okay.    And then did he indicate in some way whether he was going to make

10   changes to the script or not make changes to the script?

11            A    He didn't, no.     With most scripts, he does make changes.        So he probably

12   did, but --

13            Q    And then were you with the President when he gave the speech?

14            A    No, I wasn't.

15            Q    Okay.    So I think you've already implicitly addressed this.      On January 6th,

16   the President gave a videotaped speech that was released at 4:17 p.m.            Based on what

17   you've told us, is it correct that you were not there when that was filmed?

              A    Yes, that's correct.

              Q    And you were not there when it was drafted?

20            A

              Q    Did you hear anything about the filming of that speech?

              A    I think I just saw it on Twitter.

23            Q    Okay.    Did you hear whether there were multiple takes or one take of that

24   video?

25            A    I didn't hear that, no.
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 1           Q      Did you hear anything about whether the President was reluctant to make

 2   any particular comments that he was asked to make in that speech?

 3           A      No, I didn't hear that.

 4                    BY

 5           Q      I just wanted to go back, Mr. McEntee, just to the timing of you stepped out

 6   to get lunch and then you started receiving text messages and then you went to your

 7   apartment.      Is that right?

 8           A      Yeah.

 9           Q      When you went to your apartment, I assume it's near the White House?

10           A      Yeah, yeah, it's a mile and a half north or so.   Yeah.

11           Q      So you stepped out to get lunch with the intention to go back to work.     Is

12   that fair?

13           A      Yeah.    I mean, I was going to run some errands while I was out, so maybe I

14    had to, like, drop my dry cleaning off at home.     Or, you know, I was just kind of running

15   around town.

16           Q      Okay.

17           A      I had the intention of going back to work, yeah.

18           Q      Well, I'm not passing judgment or whether you were going to go back to

19   work or not.     I'm just curious as to when you started receiving the text messages did you

20   then go -- did you watch or get updates on your phone as to what was occurring at the

21   Capitol?

22           A      Briefly, but I mostly went into my apartment and put on the TV and saw it on

23   TV.

24           Q      Was the President still giving his speech at the time?

25           A      No.
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 1           Q     So it was after the speech had ended, correct?

 2           A     Correct.

 3           Q     And had any breach occurred of the Capitol?        What were you seeing when

 4   you turned your TV on?

 5           A     I just saw you large crowds, like, standing all around the Capitol outside.

 6           Q     And did you see any -- obviously, you had seen the footage of people

 7   entering the Capitol.      Had that happened?

 8           A     I don't know if that had occurred yet, or if that was on TV yet, but I

 9    remember seeing people all around the Capitol.

10           Q     Okay.      So you're watching it on TV, you're obviously in a safe place if you're

11   a mile and a half away from the area.       Who are you receiving phone calls from?

12           A     Oh, just like friends, you know, like what's going on there?     Stuff like that.

13   And I'm kind of like, I don't know.     I'm just out.   So I went to put the TV on.

14           Q     Were you aware that the Vice President was at the Capitol?

15           A     I mean, obviously, I knew he was going to be there.       I didn't know he was

16   there at that particular time.

17           Q     While you were watching TV, did you then realize he was still at the Capitol?

18           A     I think it was brought up on television, yeah.

19           Q     Did you contact anyone at the White House?         You said you were contacted

20    by friends, but did you contact any of your fellow staff or folks at the White House?

21           A     Personnel people, and they just said they were all in the office watching it on

22   TV as well.

23           Q     Did you receive any phone calls from Mark Meadows during that time

24    period?

25           A     Don't think so.
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 1           Q       Did you reach out to anybody about your -- were you concerned about what

 2   you saw?

 3           A       I only reached out to my team just to see where they were, you know, the

 4    personnel.     But I didn't reach out to Meadows or anyone, not that I remember.

 5           Q       Did you have any contact with Tony Ornate in the days preceding or that day

 6   of?

 7           A       The day of, I don't know if I spoke to him.   Days preceding, I mean, we

 8   interacted frequently at work, but I don't remember anything standing out, no.

 9           Q       Was anything conveyed to you about the potential for violence on

10   January 6th --

11           A       No.

12           Q       -- at that rally?

13           A       No.

14           Q       And then just to go back to one thing you said about President Trump's

15    request for the National Guard.      Did you follow up with him after your conversation with

16   Chris Miller?

17           A       I just let him know I relayed the message to Chris.

18           Q       And what was that message?

19           A       That he wants the National Guard there and he wants it to be a safe event or

20   something.       And I just said I relayed that message, and he just said okay.

21           Q       Did you relay the message as an order from the President or as an inquiry

22   from the President?

23           A       It was a combination, but if I had to guess, it's more of an inquiry probably.

24           Q       In the conversation at the end of the day that you described when you listed

25   the resignations, you said it was a colorful conversation.     Obviously, you listed a number
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 1   of people earlier in the interview.    Were there any surprises to Mr. Trump as to those

 2    resignations?

 3           A      Well, a lot of the people, honestly, he didn't know.     It was the next day

 4   where the people he knew resigned, like the Secretaries and stuff.          So I was kind of

 5   explaining even who these people were.

 6           Q      So does Matt Pottinger, he didn't know who that was?

 7           A      He knew who that was.      But, like, the social secretary he kind of knew, but I

 8    had to explain.     Obviously, the press person he didn't know.      One person on NEC he

 9   didn't know.       There was a combination.

10           Q      Did he express any concern about people within his administration leaving as

11   a result of what happened that day?

12           A      Not at that time, no.

13           Q      And were you surprised by any of the resignations?

14           A      Was I surprised by any of the resignations?    Not really.     No.

15           Q      Would you have seen them as loyal to President Trump prior to them

16    resigning?

17           A      The only one I interacted with even somewhat was Pottinger.          And, yeah, I

18   would have thought he would have been a little more of a Trump person.              But, you

19    know, I didn't fall out of my seat or anything.

20           Q      Going back to the earlier part of the day then.     So you're watching TV.      Did

21   you watch it the entire time until the joint session came back into session at 8 p.m.?

22           A      Pretty much, yeah.

23           Q      And you didn't reach out to anyone at the White House during that time

24    period?

25           A      I only remember talking to the people in the personnel office.        Maybe I
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 1   checked in on Molly, you know, and said, like, what's going on?        But other than that, I

 2    knew not to call these people.     They are obviously busy.

 3             Q   Were you monitoring President Trump's Twitter at that time?

 4             A   Yeah.      I mean, I followed him on Twitter, you know, so, yeah, I mean, like

 5   always.

 6             Q   Were you familiar with I believe it's a 2:43 tweet that he put out for

 7    protesters to remain peaceful?

 8             A   I would have seen that, yeah.

 9             Q   Did you have any sense as you watched what was happening on TV that

10   there was a strong -- a stronger message for the President to put out?

11             A   No.

12             Q   Did you have any expectation that the President should put out a message

13   for telling the crowd to leave the Capitol?

14             A   I don't recall having, no.

15             Q   So you're just -- you're watching it on TV until -- for the hours on end?

16             A   Pretty much, yeah.

17                   BY

18             Q   Okay.      I want to show you exhibit 38, and this is "The Daily Diary of

19    President Donald J. Trump" for January 6th, 2021.

20             Do you know who prepared this document?

21             A   I heard about this actually, that there was some diary, that there was, like, a

22   White House diarist or something.          But I never knew who that person was.

23             Q   Okay.      Do you know how the diarist got the information to put into the

24   diary?

25             A   I don't.
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 1           Q    Okay.    If we scroll down --

 2           A    1assume they just -- the operators tell them, you know, or something.

 3           Q    If you scroll down, at 1:21 p.m. it says, "The President met with his Valet."

 4   And the next entry is at 4:03 p.m.

 5           Do you know anything about what the President was doing between 1:21 p.m.

 6   and 4:03 p.m.?

 7           A    No, I don't.

 8           Q    Do you have any idea why there is no detail in there about who he was

 9    meeting with or who he called?

10           A    I don't have any idea.   I'm sure he was watching the news, but I don't know.

11           Q    Okay.    Look at exhibit 39.    And this is 2:24 p.m. on the 6th, so while the

12   attack on the Capitol was going on, from Donald J. Trump @realDonaldTrump.           He

13   wrote, "Mike Pence didn't have the courage to do what should have been done to protect

14   our country and our Constitution, giving States a chance to certify a corrected set of facts,

15    not the fraudulent or inaccurate ones which they were asked to previously certify.       USA

16   demands the truth!"

17           Did you have any reaction to that tweet?

18           A    No.

19           Q    Did you agree with the President that the Vice President didn't have the

20   courage to do what should have been done to protect our country?

21           A    I don't remember reading this tweet at the time or having an opinion on it.

22           Q    Do you have an opinion on it now?

23           A    Not really.

24           Mr. Warrington.     What's relevant about his opinion?

25                         He was a senior White House official, and this is directly regarding
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 1   the events of January 6th.

 2           Mr. Warrington.       Yeah, regarding his opinion now?

 3           -Yeah.

 4           The Witness.      No, I don't have an opinion now on it.

 5

 6           Q     Okay.      Let's look at exhibit 42.      This is a tweet from Kayleigh McEnany,

 7   January 6th, 3:36 p.m.       "At President @realDonaldTrump's direction, the National Guard

 8   is on the way along with other federal protective services."

 9           Do you know anything about the preparation of this tweet?

10           A     No, I don't.

11           Q     Do you know whether the National Guard was, in fact, on their way at that

12   time?

13           A     I don't.

14           Q     Were you involved in any discussions other than what you told us about in

15   advance of January 6th?        On January 6th itself, were you involved in any discussions

16   about the National Guard?

17           A     No.

18           Q     Okay.      So let's look at exhibit 45.     Text message, looks like from you to

19    Kayleigh McEnany, 11:42 p.m., January 6th.          So I think this is right after you spoke with

20   the President.      And you wrote, "O'Brien is not resigning.       Pottinger is just FYI."

21           Do you remember sending that?

22           A     I don't remember sending that, but I'm sure I did, yeah.

23           Q     Okay.      And do you remember how you learned that Matt Pottinger was

24    resigning?

25           A     Well, I saw it the news, but I think O'Brien relayed that to me when he called
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 1    me.

 2            Q     And this was the same conversation where Mr. O'Brien said he was not

 3    resigning himself?

 4            A     Correct.     I'm pretty sure he confirmed that Pottinger was in that same

 5    phone call.   I didn't know if he --

 6            Q     Do you know if you were the first one to tell the President that Matt

 7    Pottinger was resigning?

 8            A     I don't know that, no.

 9            Q     What was the President's reaction when you told him that Matt Pottinger

10   was resigning?

11            A     I think he said he had seen this on the news already.

12            Q     Okay.      Did he express a view about it?

13            A     Not that I recall.

14            Q     Did he express a view about any of the people who were resigning?

15            A     He expressed a negative view about Stephanie, and that's the only one I

16    remember, yeah.

17            Q     Okay.      When you say a negative view, do you recall what he said?

18            A     I don't.

19            Q     Did you spend a lot of time with the President after January 6th, 2021?

20            A     Not as much.      I don't think he was traveling quite as much, and -- I don't

21    know.   Seemed kind of quiet around the White House.

22            Q     Okay.      Other than that one conversation that we've already talked about,

23   about a statement or speech that he made, did you have any conversations with

24    President Trump about January 6th?

25            A     Not that I recall.
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 1           Q      Did you ever have any conversations with Vice President Pence about

 2   January 6th?

 3           A      Not that I recall, no.

 4           Q      Okay.    Did you have any conversations after January 6th with President

 5   Trump about his relationship with Vice President Pence?

 6           A      No, I didn't directly, but I heard him speak negatively about him.

 7           Q      What did you hear?

 8           A      I don't remember.        Just like, you know, effin' Pence, or whatever.

 9   Something like that.

10           Q      So you heard the President directly say that, or you heard somebody else say

11   that the President had said that?

12           A      No, I heard the President say that.

13           Q      Do you remember where that was?

14           A      No, no, this was just like offhanded comments.

15           Q      Do you remember when that was?

16           A      It was before we were going to leave, so, you know, one of the few days

17    leading up to January 20th.

18           Q      Was it -- do you recall was it generally closer to January 6th or closer to

19   January 20th?

20           A      Closer to 20th.

21           Q      Okay.    And all you recall is him saying effing Mike Pence?

22           A      Yeah.

23           Q      And did you interpret that as being a reference to what the Vice President

24   did or did not do on January 6th?

25           A      Yeah.
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 1            Q    Okay.   Did he say anything else about his relationship with the Vice

 2    President?

 3            A    At that time, no.

 4            Q    What about at another time?

 5            A    Well, recently he said, I haven't spoken to him, I spoke to him one time, or

 6   something like that, to that extent.

 7            Q    Did he say anything about why he hadn't spoken to him in a long time?

 8            A    No, just said they haven't talked.

 9            Q    Did he say anything further about his view of what the Vice President did or

10   did not do on January 6th?

11            A    No.

12            Q    Did he express his displeasure with Mike Pence?

13            A    We're talking about around this time or just in the last year and a half?

14            Q    Any time since January 6th.

15            A    Yeah, he has expressed displeasure, yes.

16            Q    And what did he say?

17            A    I don't recall exactly, but he definitely brought it up once and then

18    mentioned that he hadn't spoke to him.

19            Q    Okay.   And he expressed displeasure that the Vice President didn't do more

20   to change the result of the 2020 election?

21            A    Yeah.

22            Q    It's been reported that the President and the Vice President didn't talk to

23   each other for several days after January 6th.     Do you know anything about that?

24            A    I don't think they have talked to each other since.   I mean, maybe once or

25   twice.
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 1          Q     Okay.    And when they did talk to each other, do you know anything about

 2    how that came about?

 3          A     I know someone tried to make that happen.        I don't know if it was Jared.

 4   Or I know someone wanted them to kind of make peace, and I know they spoke, but I

 5   don't know any details about it.

 6          Q     It's been reported that for the next few nights after January 6th you spent

 7   the night on the White House couch.       Is that true?

 8          A     I spent the night on the White House couch?

 9          Q     Yeah.    We've heard that.     Is that true?

10          A     Not that I'm aware of, no.

11          Q     Okay.    Well, you'd remember if it were true, right?

12          A     I don't know if I've ever spent the night at the White House, yeah.

13          Q     Okay.    Do you have any knowledge about the President's removal from

14   Twitter?

15          A     Only the fact that that happened.

16          Q     Did you have any discussions with the President about it?

17          A     Yeah.    He asked if there was another site he could get on.

18          Q     And what was your answer?

19          A     I said I'd look into it.

20          Q     And did you?

21          A     Yep.

22          Q     And what did you find?

23          A     I found a few different options.    And then Jared or someone was like, no,

24   we're not going to -- we're just going to wait it out, and we'll talk about it when we get

25   down to Florida.
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 1             Q    Did he give a reason not to use some other service?

 2             A    I think Jared just wanted things to cool down.    So he said, you know, we're

 3   out of here in a week, like, we'll talk about this when we get down to Florida.

 4             Q    Okay.    Did you discuss it with Dan Scavino?

 5             A    I believe I did, yeah.

 6             Q    What did Dan Scavino say?

 7             A    I think him and Jared both had the same idea, like let's just deal with this

 8    later.

 9             Q    So Michael Bender wrote a book called "Frankly, We Did Win This Election,"

10   and in that book he wrote that even McEntee needed some distance at the end of the

11   administration and that you jumped on one of the first flights back home to California.

12             Is it true that you needed some distance after the inauguration?

13             A    I don't know about needing some distance -- what do you mean, distance

14   from Trump or --

15             Q    I assume from Trump or from the administration?

16             A    Well, yeah, I mean, the administration was a grind.    So I definitely wanted

17   to go home for a little bit.

18             Q    Were you in any way dissatisfied with the President's conduct as it related to

19   January 6th?

20             A    No.

21             Q    Do you currently work for the President in any capacity?

22             A    An informal capacity.

23             Q    And what does that involve?

24             A    We talk periodically about some of his endorsements.

25             Q    Are you paid for that work?
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 1           A     No, I'm not.

 2           Q     When did -- did the President sort of raise this idea of you continuing to

 3   serve him in some capacity after the administration, or did it just kind of happen?

 4           A     No, I mean he -- I don't work for him.   I just meet up and talk, yeah.

 5           Q     Okay.

 6           A     And if he were to decide to run again, I probably would work for him.        But

 7    right now, if he were to ask, he would not think I work for him.

 8           Q     Okay.    Were you involved in any conversations about the potential use of

 9   the 25th Amendment?

10           A     No.

11           Q     Other than Secretary DeVos and Secretary Chao, who did resign, I believe,

12   were you -- did you have any conversations either with or about members of the Cabinet

13    potentially resigning?

14           A     No.     I remember we were appointing Chao to one of the boards.      And

15   when she resigned, I asked if we were still putting her on that board, but --
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 1

 2    [4:20 p.m.]

 3                   B~

 4           Q      And what was the answer?

 5           A      Cipollone said, yeah, just keep it.    So --

 6           Q      And --

 7           A      --we did.

 8           Q      -- did it happen?

 9           A      Yeah.

10           Q      Okay.

11           A      It may have already happened.         It was in the process of happening.   You

12    know, it was all around this time people were getting appointed.        So I just kind of asked,

13    like, what are we doing with that?     But he said, just let it go.

14           Q      Okay.

15           Have you had any conversation with any other witnesses in our investigation

16    regarding our investigation?

17           A      Very briefly, yes.

18           Q      What was that?

19           A      When I first heard of the subpoena happening, I asked, like, Kayleigh and

20    Nick and some of the others what was going on, if we were getting served or if I should

21   expect something.

22           And then, recently, I spoke to Kash for about 1 minute and just said, "Oh, have you

23    had to do this yet?    I have to do this in the coming weeks."

24           Q      Okay.

25           A      And he said, "Yeah," not really any details, but --
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                                                                                               179




 1           Q    Okay.       Did they tell you anything about what you should or shouldn't say to

 2    us?

 3           A    No.

 4           Q    Did they tell you anything about their interviews with us?

 5           A    No.      Just, Kash told me it was, like, 6 hours long.

 6           Q    Okay.

 7           Have you talked to President Trump about the fact that you're meeting with us?

 8           A    No.      But he does know because he saw the article with my name in it.

 9           Q    How do you know that he saw that?

10           A    It was brought up when I was in his office when Scavino and some others

11   were talking about getting subpoenas or fighting subpoenas or something like that.       So I

12    know he's aware --

13           Q    Okay.

14           A    -- I'm part of this.

15           Q    So were you physically with President Trump at the time?

16           A    Yeah.

17           Q    Where was that?

18           A    It was in Mar-a-Lago.

19           Q    And who else was there?

20           A    I think it was just me and Scavino and him and maybe his assistant --

21           Q    And who --

22           A    -- Molly.

23           Q    -- is his assistant now?     Is that still --

24           A    Molly.

25           Q    -- Molly Michael?
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                                                                                              180




 1           A    Yeah.     Yeah.

 2           Q    Okay.

 3           And what did Dan Scavino say?

 4           A    Scavino mentioned that he has good lawyers and that he's fighting

 5   something.    And I was sort of sitting and waiting for a meeting, but the President

 6   acknowledged that I was sort of part of this because Molly, me, and him had all been

 7   subpoenaed, so --

 8           Q    Okay.     What did Molly Michael say?

 9           A    She didn't say anything.

10           Q    Okay.     What did you say?

11           A     I don't even know if I said anything.

12           Q    Okay.     What did President Trump say?

13           A    Something like, "Don't worry about it," you know.    "This is nothing.    Don't

14   worry about it."     And then I moved on from it.

15           Q    Okay.     What was your understanding of what he meant by, "Don't worry

16   about it, this is nothing"?

17           A     I mean, I don't think he wanted people to get, you know, super-, I don't

18    know, emotional about the whole process or scared or -- you know, I don't know.

19           Q    Okay.     Did he say anything about what you should or shouldn't say to us?

20           A     No.

21           Q    Okay.

22           Is anyone paying your attorneys' fees?

23           A    Yes.

24           Q     Who's paying the attorneys' fees?

25           A    The Trump PAC.
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                                                                                                   181




 1           Q     Okay.

 2                            Take a break?

 3          -               Yeah, why don't we take a short break.        Let's take a 5-minute break.

 4          The Witness.       Okay.

 5           [Recess.]

 6                          Okay.      We'll go back on the record.

 7                   BY
 8           Q     I have a couple more questions about your recent meeting with

 9    President Trump, Dan Scavino, and Molly Michael.

10           Did any of them say anything about what you should expect at this deposition?

11           A     No.

12           Q     Did the President say anything about the committee?

13           A     Yeah.     He spoke negatively about it.

14           Q     To the best of your recollection, what did he say?

15           A     Just, like, what he usually says:    the "unselect committee" and, you know,

16   "it's bullshit," "don't worry about it," that kind of thing.

17           Q     What's your understanding of what he meant by "it's bullshit"?

18           A     I think it's another -- you know, he views it as another thing to try to take

19    him down -- two impeachments, the Russia, the -- you know.

20           Q     Okay.     Did you interpret him as suggesting that you shouldn't take it

21   seriously?

22           A     No.     Just that I shouldn't, like, worry about it.

23           Q     Okay.     Did he say anything regarding any specific members of the

24   committee?

25           A     No.
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                                                                                                         182




 1            Q    Okay.

 2            Going back to the question I asked you about your attorneys' fees, and you said

 3   the Trump PAC was paying for it, do you recall, is that the Make America Great Again PAC

 4   or the Save America PAC?

 5            Mr. Warrington.    So let me ask you this,_            I've just got to ask, why is this

 6    relevant?

 7                         It's non privileged information that can relate to how the witness

 8   could potentially be influenced.

 9            Mr. Warrington.    That's a stretch.

10

11

12            Q    You can go ahead and answer it, if you know the answer.

13            A    Dave knows better than me.        I don't know.     I don't know which entity

14    pays.

15            Q    Okay.    Do you know who your contact is at the PAC that's paying for it?

16            A    Yeah.    Susie Wiles.

17            Q    And did you tell her anything about what you would be saying to us?

18            A    No.

19            Q    Okay.

20            I want to ask some questions about the speech, the videotaped speech, that the

21    President gave on January 7, 2021.    And we'll bring up a draft of his remarks, and we will

22    mark this as exhibit 49.

23            So this appears to be draft remarks.    It's called "Remarks on National Healing."

24   And we believe this is a draft of a videotaped statement that the President gave on

25   January 7, 2021.
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 1           First of all, if you look that over, do you know whether that's the same speech that

 2   you were talking about earlier where Jared Kushner told you, you know, to encourage

 3    him to go along with giving the speech?

 4           A    I don't know.

 5           Q    Okay.     Do you recognize the handwriting there?

 6           A    Yeah.

 7           Q    Whose handwriting is that?

 8           A    President Trump.

 9           Q    And did you review that draft speech?

10           A    I don't remember reviewing this particular speech.            Could I see more of it?

11           Q    Sure.

12           A    I don't recall.

13           Q    So it sounds like you've had several conversations with the President about

14   the events of January 6, 2021.       Has his view of the events --

15           Mr. Warrington.        1111--1111--
16          -              Yes?

17           Mr. Warrington.        -- I think that mischaracterizes what he said.     You said

18   "several" conversations about January 6, 2021.             I think there were not several but

19    maybe a couple.

20          ~              Okay.      Well, I'll rephrase it.

21                  BY
22           Q    You have had conversations with President Trump about the events of

23   January 6, 2021.     Has his view of the events of that day changed at all over time, as far

24   as you can tell?

25           A    The only time I've talked to him that has to do with January 6th was what I
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 1   talked to you about, when he said "this committee" and "don't worry about it."         I talk to

 2    him now, but we never talk about January 6th.

 3           Q     I asked you earlier about pardons.     Did the President ever mention the

 4    possibility of pardoning himself?

 5           A     I know he mentioned a blanket pardon for everyone, but I don't know if he

 6   specifically said himself.

 7           Q     Okay.      And that's the conversation you mentioned earlier where, was it

 8    Pat Cipollone discouraged him from doing that?

 9           A     Yeah.

10           Q     Okay.      Do you know if the President had a conversation with former

11   Attorney General Barr regarding potential pardons?

12           A     I don't.

13           Q     Okay.      Do you know whether the President had any conversations about

14    potentially pardoning family members?

15           A     I know he had hinted at a blanket pardon for the January 6th thing for

16   anybody, but I think he had, for all the staff and everyone involved -- not with

17   January 6th, but just before he left office, I know he had talked about that.

18           Q     Can you explain what that means?       If it's not related to January 6th, what

19   would it be for?

20           A     Yeah, that was kind of the -- I remember Cipollone questioning on that,

21   "Well, why does anyone need a pardon?"         And he referred to, like, "Well, just so they

22   can't go after them for any little thing."   And I think Cipollone said, "Yeah, but no one

23    here has done anything wrong."       And that was kind of the end of it.

24           Q     So did the President say anything about what the scope of such a pardon

25   would be?
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 1              A    No.

 2              Q    But that was the gist of it, a pardon for any crimes that any member of the

 3   staff committed?

 4              A    I think he was referring to any member of his staff, yeah.

 5              Q    And did he mention any staff members by name?

 6              A    No.

 7              [Discussion off the record.]

 8                     BY-:

 9              Q    So, going back to January 6th, you know, you testified that you were at

10    lunch, you heard what was happening, went home.                 Why didn't you go back into the

11   office?

12              A    It just seemed a little -- a little too crazy.

13              Q    And what do you mean by that?

14              A    I mean, I don't know what I could've added to the conversation.          I'm sure,

15    like -- it felt like, you know, the White House would've been a little chaotic at that time, so

16   adding another person into the mix wouldn't have helped.               So I just kind of removed

17    myself.

18              Q    And going back to your conversation with the President that night, so the

19   evening of January 6th, did he reach out to you or did you reach out to him?

20              A    I believe I reached out to him.

21              Q    And was that to give him information about the resignations?

22              A    Yes.

23              Q    Did you talk to Mark Meadows about the resignations?

24              A    I don't recall talking to him about that, no.

25              Q    Okay.    Why wouldn't you -- why didn't you talk to Mark Meadows about it?
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 1              A     I mean, we may have talked about it the next day.       But, that night, I mean,

 2   the only reason I called the President is because O'Brien was adamant that he needs to

 3    know.      So then I called him and let him know.

 4              And then he happened to ask me, "Well, who else?"         And we went through each

 5    person.       But, even that, I would've waited till the next day obviously.

 6              Q     Okay.      Do you recall which people?    I know we talked about some of

 7   them, but do you recall all the people that you talked to him about?

 8              A     I don't.    Only the ones I've mentioned.

 9              Q     Okay.      And tell me again, what was his, sort of, general demeanor on that

10   call?

11              A     Well, he was curious about these resignations and who the people were and

12   then a little in disbelief on the day and events.

13              Q     What was it that he didn't seem to believe about the day?

14              A     Well, just sort of, like, you know, "This is crazy," you know.   I don't know.

15   "This got out of hand.         We'll talk tomorrow."

16              Q     Did he express any regret that his supporters had attacked the Capitol?

17              A     Not that I recall.

18              Q     Did he say anything that suggested whether he, at that time, believed that

19   they were either his supporters or others, such as antifa, that had attacked the Capitol?

20              A     At that time, I don't remember him bringing that up, no.

21              Q     Did he bring it up at some other time?

22              A     It was brought up by other people.       I don't remember if he actually

23   specifically said it.

24              Q     Do you remember who brought it up?

25              A     I don't, but it was that there could've been people that infiltrated or
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 1   something and caused the ruckus and then it led to this.     I don't remember who brought

 2   that up, though.

 3          Q     Okay.     Are you aware of any evidence that it was, in fact, antifa?

 4          A     I'm not aware of any evidence, no.

 5          Q     Is there anything else that you think this committee should know?

 6          A     No.

 7

 8          Q     I just want to ask, that conversation that January 6th evening, I think from

 9   the -- the diary indicates it's a 20-minute-long conversation.   And you described it.

10    Many of the people who resigned that day Mr. Trump didn't even know.         In fact, the

11   ones that he did know didn't resign till the next day.

12          So 20 minutes is a long conversation, Mr. McEntee, and I'm wondering if you could

13   just describe, when you say "disbelief" and "day is crazy," what more color can you add to

14   the feelings of that day as expressed to you?

15          A     You know, it's hard to remember, honestly.      I don't remember any details

16   we went into about it.       I know we went through each person, and I had to explain who

17   each person was, so that took a minute or two on each --

18          Q     Was there an understanding by the President of why people were compelled

19   to resign that day?

20          A     No.      No.

21          Q     Did you explain to him why people were resigning?

22          A     No, I didn't.

23          Q     Why not?

24          A     I'm not even sure I entirely know why they resigned.

25          Q     So it wasn't obvious to you that the events of the day compelled people to
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 1    resign from an administration that they thought was partly responsible for causing the

 2   events of the day?

 3             Mr. Warrington.        That question's argumentative.        He said he didn't even know

 4   why, and so now you're asking him to speculate.

 5                                    I'm asking him to -- yeah.

 6             As head of Personnel Office, when people resign, don't you ask, why are you

 7    resigning?

 8             Mr. Warrington.        And he just told you he didn't know at that time.

 9                                   Well, he didn't answer --

10                      BY

11             Q       Did you ask, why are you resigning?

12             A       None of this was relayed to me.      I only saw it in the media.   Nobody called

13    me and said, I'm resigning.        The only person that called me was O'Brien, to say he's not

14    resigning.

15             Q      So you go through the list -- or, do you convey any disbelief to the President

16   about what you saw that day?

17             A       No.     I mean, I'm agreeable to what we're talking about when he's saying it's

18   crazy.     I'm saying, "Yeah, I know, wow," that kind of a thing.

19             Q      Well, Mr. McEntee, you talked a bit about, kind of, how you were connected

20   to a D.C. network.         That's part of the reason why you became the head of the Personnel

21   Office.       So you --

22             A       More of a Trump network, but yeah.          Go on.

23             Q      You do know Members of Congress, correct?

24             A      A handful.

25             Q      And those people were put in harm's way that day of January 6th, correct?
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 1           A     I suppose, yeah.

 2           Q     Well, weren't they, if there were people coming through the building at the

 3   Capitol?

 4           A     Well, I mean, I don't know of any Member of Congress getting attacked.

 5    But, yeah, it was -- yeah.

 6           Q     Did you convey any concern about the individuals that you knew who were

 7   in the Capitol to the President himself?

 8           A     We did not talk about that, no.

 9           Q     So you did not talk -- did you talk about the events in any detail other than

10   what you described of, this was -- however you described it -- of, this was wild?

11           A     No.

12           -              Did you talk about the fact that -- at least by that point, it was clear

13   that at least one person had died.      Did you talk about loss of life?

14           The Witness.     I don't know if he brought up the woman who was shot or not.

15    He might have.     But, again, it was more like, "We'll talk tomorrow."

16                                 And was there any concern conveyed by the President about

17   the law enforcement officers who were injured that day?

18           The Witness.     We didn't talk about it at that time, no.

19                          Okay.

20           We have nothing else, so we will go off the record, and thank you for your time.

21           The Witness.     Thank you.

22           [Discussion off the record.]

23           -              We'll go back on the record.

24           Mr. Warrington.        Okay.   We just want to note that we consider this to discharge

25    Mr. McEntee's obligations under the subpoena.
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 1                              Well, the deposition --

 2                 Mr. Warrington.    That's our position.

 3                              I understand that's your position.    The deposition is technically

 4   going to be adjourned subject to the call of the chair.          Our hope is that we don't have to

 5   take up any more of your time, but if we were to learn of any --

 6                 Mr. Warrington.    Well, I'm happy to hear that.

 7             -                -- if we were to learn of anything of great significance that forced us

 8   to have to come back and ask you more questions, the chair has the authority to do that.

 9    But, you know, we don't want to take up our time, and we certainly don't want to take up

10   your time, so we won't do that unless we think it's important.

11                 Mr. Warrington.    Fair enough.    Just want to make sure our position is noted for

12   the record.

13             -                We appreciate that.       We understand.

14                 Okay.   And, with that, we'll go off the record.

15                 [Whereupon, at 4:47 p.m., the deposition was recessed, subject to the call of the

16   chair.]
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 1                     Certificate of Deponent/Interviewee

 2

 3

 4       I have read the foregoing _ _ pages, which contain the correct transcript of the

 5   answers made by me to the questions therein recorded.

 6

 7

 8

 9

10                                           Witness Name

11

12

13

14                                                Date

15
